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                      EXHIBIT                        1
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                            L]NITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF FLORIDA

                                        TAMPA DIVISION
  HARRY RYDE& Individually and on ) case No. 8:09-cv-2058-T-27TGw
  Behalf of All Others Similarly Situated, )
                                           )
                           Plaintiff,      )
        VS.
                                           )
                                           )
  DIVERSIFIED AMBULANCE                    )
  BILLING, LLC and DIVERSIFIED             )
  AMBULANCE BILLING _                      )
  SOUTHEAST, INC.,                         )
                                           )
                           Defendants.     )
                                           )
                                           )


   AFFIDAVIT OF STUART A. DAVIDSON, ESQUIRE FILED ON BEHALF'OF
  ROBBINS GELLER RUDMAN & DOWD LLP IN SUPPORT OF APPLICATION
                   YS'F'E             RSEMENT

        BEFORE ME, the undersigned authority personally appeared, Stuart A. Davidson,

 Esquire, who, upon oath, states:

        1.     My name is Stuart A. Davidson.

        2.     I   am over twenty-one years of age, and am fully competent to make the

 statements contained in this Affidavit.
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         3.     I   am a member of the firm of Robbins Geller Rudman      & Dowd LLP. I        am

  submitting this declaration in support of counsel's application for an award, of attorneys'

  fees and expenses in connection with services rendered in the above-entitled action.

        4.      This firm served as one of Plaintiff s counsel in this case.

         5.    The identification and background of my firm and its partners is attached

  hereto as Exhibit A.

        6.     The total number of hours spent on this litigation by my firm          is   151.00.

 The total lodestar amount for attorney/paraprofessional time based on the firm's current

 rates is $80,435.00. The hourly rates reflected in the attached exhibit are the usual and

 customary rates charged for each individual in all of our cases.        A     breakdown of the

 lodestar is attached hereto as Exhibit B.

        7.     My firm incurred a total of $2,080.94 in     expenses   in connection with the
 prosecution of this litigation. These expenses are broken down and attached hereto            as

 Exhibit C.
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        8.     The expenses pertaining to this case are reflected in the books and records

  of this firm. These books and records are prepared from expense vouchers, check records

  and other documents and are   aî   accttrafe record of the expenses.

                   ni,
        Executed
                         -ffiayof January ,2[ll,at Boca Raton, Florida.




  STATE OF   FLORIDA                  )       SS:
  COUNTYOFPALMBEACH                   )

       BEF'ORE ME, the undersigned authority, personally appeared Stuart A. Davidson
 who, upon first being duly sworn, deposes and says that he has read the foregoing and the
 same are true and correct. He is personally kn



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     EXHIBIT A
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                    ROBBINS GELLER RUDMAN & DOWD LLP
ROBBINS GELLER RUDMAN & DOWD LLP (the “Firm”) is a 180-lawyer firm with offices in San Diego, San
Francisco, New York, Boca Raton, Washington, D.C., Philadelphia and Atlanta (www.rgrdlaw.com). The
Firm is actively engaged in complex litigation, emphasizing securities, consumer, insurance, healthcare,
human rights, employment discrimination and antitrust class actions. The Firm’s unparalleled experience
and capabilities in these fields are based upon the talents of its attorneys who have successfully prosecuted
thousands of class-action lawsuits.

This successful track record stems from our experienced attorneys, including many who left partnerships at
other firms or came to the Firm from federal, state and local law enforcement and regulatory agencies,
including dozens of former prosecutors and SEC attorneys. The Firm also includes more than 25 former
federal and state judicial clerks.

The Firm currently represents more institutional investors, including public and multi-employer pension
funds – domestic and international financial institutions – in securities and corporate litigation than any other
firm in the United States.

The Firm is committed to practicing law with the highest level of integrity and in an ethical and professional
manner. We are a diverse firm with lawyers and staff from all walks of life. Our lawyers and other
employees are hired and promoted based on the quality of their work and their ability to enhance our team
and treat others with respect and dignity. Evaluations are never influenced by one’s background, gender,
race, religion or ethnicity.

We also strive to be good corporate citizens and to work with a sense of global responsibility. Contributing
to our communities and our environment is important to us. We raised hundreds of thousands of dollars in
aid for the victims of Hurricane Katrina and we often take cases on a pro bono basis. We are committed to
the rights of workers and to the extent possible, we contract with union vendors. We care about civil rights,
workers’ rights and treatment, workplace safety and environmental protection. Indeed, while we have built
a reputation as the finest securities and consumer class action law firm in the nation, our lawyers have also
worked tirelessly in less high-profile, but no less important, cases involving human rights.

                                             PRACTICE AREAS
Securities Fraud

As recent corporate scandals demonstrate clearly, it has become all too common for companies and their
executives – and often with the help of their advisors, such as bankers, lawyers and accountants – to
manipulate the market price of their securities by misleading the public about the company’s financial
condition or prospects for the future. This misleading information has the effect of artificially inflating the
price of the company’s securities above their true value. When the underlying truth is eventually revealed,
the prices of these securities plummet, harming those innocent investors who relied upon the company’s
misrepresentations.

Robbins Geller Rudman & Dowd LLP is the leader in the fight to provide investors with relief from
corporate securities fraud. We utilize a wide range of federal and state laws to provide investors with

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remedies, either by bringing a class action on behalf of all affected investors or, where appropriate, by
bringing individual cases.

The Firm’s reputation for excellence has been repeatedly noted by courts and has resulted in the
appointment of Firm attorneys to lead roles in hundreds of complex class-action securities and other cases.
In the securities area alone, the Firm’s attorneys have been responsible for a number of outstanding
recoveries on behalf of investors. Currently, Robbins Geller Rudman & Dowd LLP attorneys are lead or
named counsel in approximately 500 securities class action or large institutional-investor cases. Some
current and past cases include:

       •       In re Enron Corp. Sec. Litig., Case No. H-01-3624 (S.D. Tex.). Investors lost billions of
               dollars as a result of the massive fraud at Enron. In appointing Robbins Geller Rudman &
               Dowd LLP lawyers as sole lead counsel to represent the interests of Enron investors, the
               court found that the Firm’s zealous prosecution and level of “insight” set it apart from its
               peers. Robbins Geller Rudman & Dowd LLP attorneys and lead plaintiff The Regents of the
               University of California aggressively pursued numerous defendants, including many of Wall
               Street’s biggest banks, and successfully obtained settlements in excess of $7.3 billion for the
               benefit of investors. This is the largest aggregate class action settlement not only in a
               securities class action, but in class action history.

       •       In re UnitedHealth Group Inc. PSLRA Litig., Case No. 06-CV-1691 (D. Minn.). In the
               UnitedHealth case, Robbins Geller Rudman & Dowd LLP represented the California Public
               Employees’ Retirement System (“CalPERS”) and demonstrated its willingness to vigorously
               advocate for its institutional clients, even under the most difficult circumstances. For
               example, in 2006, the issue of high-level executives backdating stock options made national
               headlines. During that time, many law firms, including Robbins Geller Rudman & Dowd
               LLP, brought shareholder derivative lawsuits against the companies’ boards of directors for
               breaches of their fiduciary duties or for improperly granting backdated options. Rather than
               pursuing a shareholder derivative case, the Firm filed a securities fraud class action against
               the company on behalf of CalPERS. In doing so, Robbins Geller Rudman & Dowd LLP
               faced significant and unprecedented legal obstacles with respect to loss causation, i.e., that
               defendants’ actions were responsible for causing the stock losses. Despite these legal
               hurdles, Robbins Geller Rudman & Dowd LLP obtained an $895 million recovery on behalf
               of the UnitedHealth shareholders. Shortly after reaching the $895 million settlement with
               UnitedHealth, the remaining corporate defendants, including former CEO William A.
               McGuire, also settled. Mr. McGuire paid $30 million and returned stock options
               representing more than three million shares to the shareholders. The total recovery for the
               class was over $925 million, the largest stock option backdating recovery ever, and a
               recovery which is more than four times larger than the next largest options backdating
               recovery. Moreover, Robbins Geller Rudman & Dowd LLP obtained unprecedented
               corporate governance reforms, including election of a shareholder-nominated member to the
               company’s board of directors, a mandatory holding period for shares acquired by executives
               via option exercise, and executive compensation reforms which tie pay to performance.

       •       Jaffe v. Household Int’l, Inc., Case No. 02-C-05893 (N.D. Ill.). Sole lead counsel Robbins
               Geller Rudman & Dowd LLP obtained a jury verdict on May 7, 2009, following a six-week
               trial in the Northern District of Illinois, on behalf of a class of investors led by plaintiffs
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           PACE Industry Union-Management Pension Fund, the International Union of Operating
           Engineers, Local No. 132 Pension Plan, and Glickenhaus & Company. The jury determined
           that Household and the individual defendants made fraudulent misrepresentations concerning
           the Company's predatory lending practices, the quality of its loan portfolio and the
           company's financial results between March 23, 2001 and October 11, 2002. Although
           certain post-trial proceedings are ongoing, plaintiffs' counsel anticipate that the verdict will
           ultimately allow class members to recover in excess of $1 billion in damages. Since the
           enactment of the PSLRA in 1995, trials in securities fraud cases have been rare. According
           to published reports, only nine such cases have gone to verdict since the passage of the
           PSLRA.

     •     Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), Case No. 03
           Civ. 8269 (S.D.N.Y.). Robbins Geller Rudman & Dowd LLP attorneys represented more
           than 50 private and public institutions that opted out of the class action case and sued
           WorldCom’s bankers, officers and directors, and auditors in courts around the country for
           losses related to WorldCom bond offerings from 1998 to 2001. The Firm’s clients included
           major public institutions from across the country such as CalPERS, CalSTRS, the state
           pension funds of Maine, Illinois, New Mexico and West Virginia, union pension funds, and
           private entities such as AIG and Northwestern Mutual. Robbins Geller Rudman & Dowd
           LLP attorneys recovered more than $650 million for their clients on the May 2000 and May
           2001 bond offerings (the primary offerings at issue), substantially more than they would
           have recovered as part of the class.

     •     In re Cardinal Health, Inc. Sec. Litig., Case No. C2-04-575 (S.D. Ohio). As sole lead
           counsel representing Cardinal Health shareholders, Robbins Geller Rudman & Dowd LLP
           obtained a recovery of $600 million for investors. On behalf of the lead plaintiffs,
           Amalgamated Bank, the New Mexico State Investment Council, and the California
           Ironworkers Field Trust Fund, the Firm aggressively pursued class claims and won notable
           courtroom victories, including a favorable decision on defendants’ motion to dismiss. In re
           Cardinal Health, Inc. Sec. Litig., 426 F. Supp. 2d 688 (S.D. Ohio 2006). At the time, the
           $600 million settlement was the tenth largest settlement in the history of securities fraud
           litigation and is the largest-ever recovery in a securities fraud action in the Sixth Circuit.

     •     AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles
           County). Robbins Geller Rudman & Dowd LLP represented The Regents of the University
           of California, six Ohio state pension funds, Rabo Bank (NL), the Scottish Widows
           Investment Partnership, several Australian public and private funds, insurance companies,
           and numerous additional institutional investors, both domestic and international, in state and
           federal court opt-out litigation stemming from Time Warner’s disastrous 2001 merger with
           Internet high flier America Online. Robbins Geller Rudman & Dowd LLP attorneys exposed
           a massive and sophisticated accounting fraud involving America Online’s e-commerce and
           advertising revenue. After almost four years of litigation involving extensive discovery, the
           Firm secured combined settlements for its opt-out clients totaling over $629 million just
           weeks before The Regents’ case pending in California state court was scheduled to go to
           trial. The Regents’ gross recovery of $246 million is the largest individual opt-out securities
           recovery in history.

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     •     In re HealthSouth Corp. Secs. Litig., Case No. CV-03-BE-1500-S (N.D. Ala.). As court-
           appointed co-lead counsel, Robbins Geller Rudman & Dowd LLP attorneys obtained a
           combined recovery of $671 million from HealthSouth, its auditor Ernst & Young, and its
           investment banker, UBS, for the benefit of stockholder plaintiffs. The settlement against
           HealthSouth represents one of the larger settlements in securities class action history and is
           considered among the top 15 settlements achieved after passage of the PSLRA. Likewise,
           the settlement against Ernst & Young is one of the largest securities class action settlements
           entered into by an accounting firm since the passage of the PSLRA. HealthSouth and its
           financial advisors perpetrated one of the largest and most pervasive frauds in the history of
           United States healthcare, prompting Congressional and law enforcement inquiry and
           resulting in guilty pleas of 16 former HealthSouth executives in related federal criminal
           prosecutions.

     •     In re Dynegy Inc. Secs. Litig., Case No. H-02-1571 (S.D. Tex.). As sole lead counsel
           representing The Regents of the University of California and the class of Dynegy investors,
           Robbins Geller Rudman & Dowd LLP attorneys obtained a combined settlement of $474
           million from Dynegy, Citigroup, Inc. and Arthur Andersen LLP for their involvement in a
           clandestine financing scheme known as Project Alpha. Given Dynegy’s limited ability to
           pay, Robbins Geller Rudman & Dowd LLP attorneys structured a settlement (reached shortly
           before the commencement of trial) that maximized plaintiffs’ recovery without bankrupting
           the company. Most notably, the settlement agreement provides that Dynegy will appoint two
           board members to be nominated by The Regents, which Robbins Geller Rudman & Dowd
           LLP and The Regents believe will benefit all of Dynegy’s stockholders.

     •     In re Qwest Commc’ns Int’l, Inc. Sec. Litig., Case No. 01-cv-1451 (D. Colo.). Robbins
           Geller Rudman & Dowd LLP attorneys served as lead counsel for a class of investors that
           purchased Qwest securities. In July 2001, the Firm filed the initial complaint in this action on
           behalf of its clients, long before any investigation into Qwest’s financial statements was
           initiated by the SEC or Department of Justice. After five years of litigation, lead plaintiffs
           entered into a settlement with Qwest and certain individual defendants that provided a $400
           million recovery for the class and created a mechanism that allowed the vast majority of
           class members to share in an additional $250 million recovered by the SEC. In 2008,
           Robbins Geller Rudman & Dowd LLP attorneys recovered an additional $45 million for the
           class in a settlement with defendants Joseph P. Nacchio and Robert S. Woodruff, the CEO
           and CFO, respectively, of Qwest during large portions of the class period.

     •     In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller Rudman & Dowd
           LLP attorneys served as lead counsel for a class of investors that purchased AT&T common
           stock. The case charged defendants AT&T and its former Chairman and CEO, C. Michael
           Armstrong, with violations of the federal securities laws in connection with AT&T’s April
           2000 initial public offering of its wireless tracking stock, the largest IPO in American
           history. After two weeks of trial, and on the eve of scheduled testimony by Armstrong and
           infamous telecom analyst Jack Grubman, defendants agreed to settle the case for $100
           million. In granting approval of the settlement, the court stated the following about the
           Robbins Geller Rudman & Dowd LLP attorneys handling the case:


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                  Lead Counsel are highly skilled attorneys with great experience in
                  prosecuting complex securities action[s], and their professionalism and
                  diligence displayed during [this] litigation substantiates this characterization.
                  The Court notes that Lead Counsel displayed excellent lawyering skills
                  through their consistent preparedness during court proceedings, arguments
                  and the trial, and their well-written and thoroughly researched submissions to
                  the Court. Undoubtedly, the attentive and persistent effort of Lead Counsel
                  was integral in achieving the excellent result for the Class.

           In re AT&T Corp. Sec. Litig., MDL No. 1399, 2005 U.S. Dist. LEXIS 46144, *28-*29
           (D.N.J. Apr. 22, 2005).

     •     In re Dollar General Corp. Sec. Litig., Case No. 01-CV-00388 (M.D. Tenn.). Robbins
           Geller Rudman & Dowd LLP attorneys served as lead counsel in this case in which the Firm
           recovered $172.5 million for investors. The Dollar General settlement was the largest
           shareholder class action recovery ever in Tennessee.

     •     Carpenters Health & Welfare Fund v. Coca-Cola Co., Case No. 00-CV-2838 (N.D. Ga.).
           As co-lead counsel representing Coca-Cola shareholders, Robbins Geller Rudman & Dowd
           LLP attorneys obtained a recovery of $137.5 million after nearly eight years of litigation.
           Robbins Geller Rudman & Dowd LLP attorneys traveled to three continents to uncover the
           evidence that ultimately resulted in the settlement of this hard-fought litigation. The case
           concerned Coca-Cola's shipping of excess concentrate at the end of financial reporting
           periods for the sole purpose of meeting analyst earnings expectations, as well as the
           company's failure to properly account for certain impaired foreign bottling assets.

     •     Schwartz v. TXU Corp., Case No. 02-CV-2243 (N.D. Tex). As co-lead counsel, Robbins
           Geller Rudman & Dowd LLP attorneys obtained a recovery of over $149 million for a class
           of purchasers of TXU securities. The recovery compensated class members for damages
           they incurred as a result of their purchases of TXU securities at inflated prices. Defendants
           had inflated the price of these securities by concealing the fact that TXU's operating earnings
           were declining due to a deteriorating gas pipeline and the failure of the company's European
           operations.

     •     Thurber v. Mattel, Inc., Case No. 99-CV-10368 (C.D. Cal.). Robbins Geller Rudman &
           Dowd LLP attorneys served as co-lead counsel for a class of investors who purchased Mattel
           common stock. When the shareholders approved Mattel’s acquisition of The Learning
           Company, they were misled by defendants’ false statements regarding the financial condition
           of the acquired company. Within months of the close of the transaction, Mattel disclosed
           that The Learning Company had incurred millions in losses, and that instead of adding to
           Mattel’s earnings, earnings would be far less than previously stated. After thorough
           discovery, Robbins Geller Rudman & Dowd attorneys negotiated a settlement of $122
           million plus corporate governance changes.

     •     Brody vs. Hellman (U.S. West Dividend Litigation), Case No. 00-CV-4142 (Dist. Ct. for the
           City & Cty. of Denver, Colo.). Robbins Geller Rudman & Dowd LLP attorneys were court-

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               appointed counsel for the class of former stockholders of U.S. West, Inc. who sought to
               recover a dividend declared by U.S. West before its merger with Qwest. The merger closed
               before the record and payment dates for the dividend, which Qwest did not pay following the
               merger. The case was aggressively litigated and the plaintiffs survived a motion to dismiss,
               two motions for summary judgment and successfully certified the class over vigorous
               opposition from defendants. In certifying the class, the court commented, “Defendants do not
               contest that Plaintiffs’ attorneys are extremely well qualified to represent the putative class.
               This litigation has been ongoing for years; in that time Plaintiffs’ counsel has proven that
               they are more than adequate in ability, determination, and resources to represent the putative
               class.” The case settled for $50 million on the day before trial was scheduled to commence.
               At the August 30, 2005 final approval hearing relating to the settlement, the court noted that
               the case “was litigated by extremely talented lawyers on both sides” and that the settlement
               was “a great result.” In describing the risk taken by the Firm and its co-counsel, the court
               noted, “There wasn’t any other lawyer[] in the United States that took the gamble that these
               people did. Not one other firm anywhere said I’m willing to take that on. I’ll go five years.
               I’ll pay out the expenses. I’ll put my time and effort on the line.” In discussing the
               difficulties facing the Firm in this case, the court said, “There wasn’t any issue that wasn’t
               fought. It took a great deal of skill to get to the point of trial.” In concluding, the court
               remarked that the class was “fortunate they had some lawyers that had the guts to come
               forward and do it.”

Robbins Geller Rudman & Dowd LLP’s Securities Department includes dozens of former federal and state
prosecutors and trial attorneys. The Firm’s securities practice is also strengthened by the existence of a
strong Appellate Department, whose collective work has established numerous legal precedents. The
Securities Department also utilizes an extensive group of in-house economic and damage analysts,
investigators and forensic accountants to aid in the prosecution of complex securities issues.

Corporate Governance

While obtaining monetary recoveries for our clients is our primary focus, Robbins Geller Rudman & Dowd
LLP attorneys have also been at the forefront of securities fraud prevention. The Firm’s prevention efforts
are focused on creating important changes in corporate governance, either as part of the global settlements of
derivative and class cases or through court orders. Recent cases in which such changes were made include:

       •       In re UnitedHealth Group Inc. PSLRA Litig., Case No. 06-CV-1691 (D. Minn.). In the
               UnitedHealth case, our client, CalPERS, obtained sweeping corporate governance
               improvements, including the election of a shareholder-nominated member to the company's
               board of directors, a mandatory holding period for shares acquired by executives via option
               exercises, as well as executive compensation reforms which tie pay to performance. These
               corporate governance reforms were obtained in addition to a $925 million cash recovery for
               UnitedHealth shareholders, the largest stock option backdating recovery ever. The recovery
               included $30 million paid to the class by the CEO out of his own pocket.

       •       Pirelli Armstrong Tire Corp. Retiree Med. Benefits Trust v. Hanover Compressor Co.,
               Case No. H-02-0410 (S.D. Tex.). Groundbreaking corporate governance changes obtained
               include: direct shareholder nomination of two directors; mandatory rotation of the outside
               audit firm; two-thirds of the board required to be independent; audit and other key
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               committees to be filled only by independent directors; and creation and appointment of lead
               independent director with authority to set up board meetings.

       •       In re Sprint Corp. S’holder Litig., Case No. 00-CV-230077 (Cir. Ct. Jackson County, Mo.).
               In connection with the settlement of a derivative action involving Sprint Corporation, the
               company adopted over 60 new corporate governance provisions which, among other things,
               established a truly independent board of directors and narrowly defines “independence” to
               eliminate cronyism between the board and top executives; required outside board directors to
               meet at least twice a year without management present; created an independent director who
               will hold the authority to set the agenda, a power previously reserved for the CEO; and
               imposed new rules to prevent directors and officers from vesting their stock on an
               accelerated basis.

       •       Teachers’ Ret. Sys. of La. v. Occidental Petroleum Corp., Case No. BC185009 (Cal. Super.
               Ct., Los Angeles County). As part of the settlement, corporate governance changes were
               made to the composition of the company’s board of directors, the company’s nominating
               committee, compensation committee and audit committee.

       •       Barry v. E*Trade Group, Inc., Case No. CIV419804 (Cal. Super. Ct., San Mateo County).
               In connection with settlement of derivative suit, excessive compensation of the company’s
               CEO was eliminated (reduced salary from $800,000 to zero; bonuses reduced and to be
               repaid if company restates earnings; reduction of stock option grant; and elimination of
               future stock option grants) and important governance enhancements were obtained, including
               the appointment of a new unaffiliated outside director as chair of board’s compensation
               committee.

Through these efforts, Robbins Geller Rudman & Dowd LLP has been able to create substantial shareholder
guarantees to prevent future securities fraud. The Firm works closely with noted corporate governance
consultant Robert Monks and his firm, LENS Governance Advisors, to shape corporate governance
remedies for the benefit of investors.

Shareholder Derivative Litigation

The Firm’s shareholder derivative practice is focused on preserving corporate assets, restoring
accountability, improving transparency, strengthening the shareholder franchise and protecting long-term
investor value. Often brought by large institutional investors, these actions typically address executive
malfeasance that resulted in violations of the nation’s securities, environmental, labor, health & safety and
wage & hour laws, coupled with self-dealing. Corporate governance therapeutics recently obtained in the
following actions was valued by the market in the billions of dollars:

       •       BP plc Shareholder Litigation, No. 3AN-06-11929CI (Sup. Ct. Alaska). Successfully
               prosecuted a shareholder derivative action on behalf of the London-based BP plc. The
               action, filed in late 2006, arose out of the misconduct of certain of BP’s officers and directors
               who’s gross dereliction of duty and failure to oversee BP’s U.S. operations exposed the
               Company to significant criminal and civil liability in connection with the 2005 Texas City
               refinery explosion (where 15 workers were killed and 170 more were injured), the 2006
               Prudhoe Bay oil spill (where 200,000 gallons of crude were spilled on the Alaska tundra) and
                                                                             Robbins Geller Rudman & Dowd LLP
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           the Federal Commodities Trade Commission energy trading manipulation charges (where BP
           and its traders were charged with intentionally inflating the price of propane, the primary
           heating source in the northeastern U.S.). BP ultimately pled guilty to several felony and
           misdemeanor criminal charges, paid over $373 million in criminal fines and penalties and
           agreed to serve five years felony corporate probation, and paid over $2 billion in civil
           damages for its failure to properly fund or oversee maintenance and operations at its U.S.
           facilities. As part of the settlement of the shareholder derivative action, BP agreed to:

           •      Improved Operational Safety Oversight in the U.S.: BP adopted a six-point plan to
                  enhance the operational integrity and safety oversight function; formed two new
                  board-level operations committees to facilitate the flow of important safety and
                  operations information; put in place a new management team in Alaska; and
                  oversight responsibility over compliance, safety and operational integrity at BP’s
                  U.S. operations.

           •      Increased Shareholder Input: BP agreed to hold annual meetings with the Company’s
                  top 20 shareholders – including ADR holders – to engage in discussions concerning
                  BP’s ongoing commitment to good corporate governance.

           •      Site Inspections: BP agreed to facilitate regular visits for BP board members to the
                  Company’s operational sites around the globe.

           •      Safety as an Executive Compensation Metric: BP agreed to include operational
                  health, safety and environmental performance in the principles used to calculate
                  performance pay for executives.

           •      Strengthened the Shareholder Voting Franchise: BP agreed to take measures to
                  improve shareholder access to the proxy, web cast the annual shareholder meeting
                  and remove impediments that prevent ADR holders from putting up resolutions at the
                  annual meeting.

     •     Royal Dutch Shell Shareholder Litigation, No. 04-CV-3603 (D.N.J.). Successfully
           prosecuted and settled a shareholder derivative action on behalf of the London-based Royal
           Dutch Shell plc., achieving very unique and quite valuable transatlantic corporate
           governance reforms. The suit, filed June 25, 2004, charged that misconduct by executives
           and board members that resulted in four separate misstatements of Shell’s oil and gas
           reserves – which collectively erased billions of gallons of previously improperly reported
           “proven reserves” – was due in large part to inadequate internal controls. To settle the
           derivative litigation, the complicit executives agreed to:

           •      Improved Governance Standards: The Dutch and English Company committed to
                  changes that extend well beyond the corporate governance requirements of the New
                  York Stock Exchange listing requirements, while preserving the important
                  characteristics of Dutch and English corporate law.

           •      Shareholder Participation in the Nomination of Board Members: Important
                  governance changes were made regarding solicitation of shareholder input on
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                  Supervisory Board nominees going forward, making Shell corporate directors more
                  accountable to shareholders in the governing process and producing highly qualified
                  candidates for election to the Shell Board.

           •      Board Independence Standards: Shell agreed to a significant strengthening of the
                  Companies' board independence standards and a requirement that a majority of its
                  board members qualify as independent under those rigorous standards.

           •      Stock Ownership Requirements: The Company implemented enhanced director stock
                  ownership standards and adopted a requirement that Shell's officers or directors hold
                  stock options for two years before exercising them.

           •      Improved Compensation Practices: Cash incentive compensation plans for Shell’s
                  senior management must now be designed to link pay to performance and prohibit
                  the payment of bonuses based on reported levels of hydrocarbon reserves.

           •      Full Compliance with U.S. GAAP: In addition to international accounting standards,
                  Shell agreed to comply in all respects with the Generally Accepted Accounting
                  Principles of the United States.

     •     EDS Shareholder Derivative Litigation, No. 6:04-CV-77 (E.D. Tex.). Prosecuted
           shareholder derivative action on behalf of Electronic Data Systems alleging EDS’s senior
           executives breached their fiduciary duties by improperly using percentage-of-completion
           accounting to inflate EDS’s financial results, by improperly recognizing hundreds of millions
           of dollars in revenue and concealing millions of dollars in losses on its contract with the U.S.
           Navy Marine Corps, by failing in their oversight responsibilities, and by making and/or
           permitting material, false and misleading statements to be made concerning EDS’s business
           prospects, financial condition and expected financial results in connection with EDS’s
           contracts with the United States Navy Marine Corps and WorldCom. In settlement of the
           action, EDS agreed, among other provisions, to:

           •      limits on the number of current EDS employees that may serve as board members
                  and limits on the number of non-independent directors;

           •      limits on the number of other boards on which independent directors may serve;

           •      requirements for the Compensation and Benefits Committee to retain an independent
                  expert consultant to review executive officer compensation;

           •      formalizing certain responsibilities of the Audit Committee in connection with its
                  role of assisting the Board of Directors in its oversight of the integrity of the
                  Company’s financial statements;

           •      a requirement for new directors to complete an orientation program, which shall
                  include information about principles of corporate governance;


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               •      a prohibition on repricing stock options at a lower exercise price without shareholder
                      approval;

               •      change of director election standards from a plurality standard to a majority vote
                      standard;

               •      change from classified board to annual election of directors;

               •      elimination of all supermajority voting requirements;

               •      termination of rights plan; and

               •      adopting corporate governance guidelines, including: requirement that a substantial
                      majority of directors be outside, independent directors with no significant financial or
                      personal tie to EDS; that all Board committees be composed entirely of independent
                      directors; and other significant additional practices and policies to assist the Board in
                      the performance of its duties and the exercise of its responsibilities to shareholders.

Robbins Geller Rudman & Dowd LLP lawyers are also currently prosecuting shareholder derivative actions
against executives at several companies charged with violating the Foreign Corrupt Practices Act and have
obtained an injunction preventing the recipient of the illegally-paid bribe payments at one prominent
international arms manufacturer from removing those funds from the U.S. while the action is pending. In
another ongoing action, Robbins Geller Rudman & Dowd LLP lawyers are prosecuting Audit Committee
members who knowingly authorized the payment of illegal “security payments” to a terrorist group though
expressly prohibited by U.S. law. As artificial beings, corporations only behave – or misbehave – as their
directors and senior executives let them. So they are only as valuable as their corporate governance.
Shareholder derivative litigation enhances value by allowing shareholder-owners to replace chaos and self-
dealing with accountability.

Corporate Takeover Litigation

Robbins Geller Rudman & Dowd LLP has earned a reputation as the leading law firm in representing
shareholders in corporate takeover litigation. Through its aggressive efforts in prosecuting corporate
takeovers, the Firm has secured for shareholders billions of dollars of additional consideration as well as
beneficial changes for shareholders in the context of mergers and acquisitions.

The Firm regularly prosecutes merger and acquisition cases post-merger, often through trial, to maximize
the benefit for its shareholder class. Some of these cases include:

       •       In re Chaparral Resources, Inc. S’holders Litig. (Del. Ch.). After a full trial and a
               subsequent mediation before the Delaware Chancellor, the Firm obtained a common fund
               settlement of $41 million (or 45% increase above merger price) for both class and appraisal
               claims. The Delaware Vice Chancellor who presided over the trial noted that “the
               performance was outstanding, and frankly, without the efforts of counsel, nothing would
               have been achieved. The class would have gotten zero. I don't think that can be more clear.”



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       •      In re TD Banknorth S’holders Litig. (Del. Ch.). After objecting to a modest recovery of
              just a few cents per share, the Firm took over the litigation and obtained a common fund
              settlement of $50 million. The Delaware Vice Chancellor who presided over the case
              expressly noted that “through the sheer diligence and effort of plaintiffs’ counsel,” the Firm’s
              efforts “resulted in substantial awards for plaintiffs, after overcoming serious procedural and
              other barriers.”

       •      In re eMachines, Inc. Merger Litig. (Cal. Super. Ct., Orange County). After four years of
              litigation, the Firm secured a common fund settlement of $24 million on the brink of trial.

       •      In re Prime Hospitality, Inc. S’holders Litig. (Del. Ch.). The Firm objected to a settlement
              that was unfair to the class and proceeded to litigate breach of fiduciary duty issues involving
              a sale of hotels to a private equity firm. The litigation yielded a common fund of $25 million
              for shareholders. The Delaware Chancellor presiding over the case noted that “had it not
              been for the intervention of [Robbins Geller Rudman & Dowd LLP] . . . there would not
              have been a settlement that would have generated actual cash for the shareholders. . . . That’s
              quite an achievement.”

       •      In re Dollar General Corp. S’holder Litig. (Circuit Ct., Davidson County, Tn.). As lead
              counsel, the Firm secured a recovery of up to $57 million in cash for former Dollar General
              shareholders on the eve of trial.

       •      In re UnitedGlobalCom, Inc. S’holder Litig. (Del. Ch.). The Firm secured a common fund
              settlement of $25 million just weeks before trial.

Robbins Geller Rudman & Dowd LLP has also obtained significant benefits for shareholders, including
increases in consideration and significant improvements to merger terms. Some of these cases include:

       •      Harrah’s Entertainment (District Court, Clark County, Nev.). The Firm’s active
              prosecution of the case on several fronts, both in federal and state court, assisted Harrah’s
              shareholders in securing an additional $1.65 billion in merger consideration.

       •      In re Chiron S’holder Deal Litig. (Cal. Super. Ct., Alameda County). The Firm’s efforts
              helped to obtain an additional $800 million in increased merger consideration for Chiron
              shareholders.

       •      In re PeopleSoft, Inc. S'holder Litig. (Cal. Super. Ct., Alameda County). The Firm
              successfully objected to a proposed compromise of class claims arising from takeover
              defenses by PeopleSoft, Inc. to thwart an acquisition by Oracle Corp., resulting in
              shareholders receiving an increase of over $900 million in merger consideration.

       •      ACS S'holder Litig. (County Court, Dallas, Tex). The Firm forced ACS’s acquirer, Xerox,
              to make significant concessions by which shareholders would not be locked out of receiving
              more money from another buyer. The New York Times Deal Professor deemed this result
              both “far reaching” and “unprecedented.”


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Options Backdating Litigation

As has been widely reported in the media, the stock options backdating scandal suddenly engulfed hundreds
of publicly traded companies throughout the country. Robbins Geller Rudman & Dowd LLP is at the
forefront of investigating and prosecuting options backdating derivative and securities cases. Robbins
Geller Rudman & Dowd LLP’s lawyers have recovered over $1 billion in damages on behalf of injured
companies and shareholders. Robbins Geller Rudman & Dowd LLP have served as lead counsel in several
large stock option backdating actions, including actions involving Affiliated Computer Services, Extreme
Networks, Inc., KLA-Tencor Corp., KB Home, Inc., Marvell Technology Group, Inc., McAfee, Inc. and
UnitedHealth Group, Inc.

       •      In re PMC-Sierra, Inc. Derivative Litig., Case No. C-06-05330 (N.D. Cal.). As lead
              counsel for lead plaintiff, Robbins Geller Rudman & Dowd LLP obtained substantial relief
              for nominal party PMC-Sierra in the form of extensive corporate governance measures,
              including improved stock option granting practices and procedures and an executive
              compensation “claw-back” in the event of a future restatement.

       •      In re KLA-Tencor Corp. S’holder Derivative Litig., Case No. C-06-03445 (N.D. Cal.).
              After successfully opposing the Special Litigation Committee of the Board of Directors’
              motion to terminate the derivative claims, Robbins Geller Rudman & Dowd LLP recovered
              $43.6 million in direct financial benefits for KLA-Tencor, including $33.2 million in cash
              payments by certain former executives and their directors’ and officers’ insurance carriers.

       •      In re Marvell Technology Group Ltd. Derivative Litig., Case No. C-06-03894 (N.D. Cal.).
              In this stock option backdating derivative action, Robbins Geller Rudman & Dowd LLP
              recovered $54.9 million in financial benefits, including $14.6 million in cash, for Marvell, in
              addition to extensive corporate governance reforms related to Marvell’s stock option
              granting practices, board of directors’ procedures and executive compensation. At the time,
              the recovery in Marvell represented one of the largest of its kind in shareholder derivative
              action.

       •      In re KB Home S’holder Derivative Litig., Case No. 06-CV-05148 (C.D. Cal.). Robbins
              Geller Rudman & Dowd LLP served as co-lead counsel for the plaintiffs and recovered more
              than $31 million in financial benefits, including $21.5 million in cash, for KB Home, plus
              substantial corporate governance enhancements relating to KB Home’s stock option granting
              practices, director elections and executive compensation practices.

       •      In re Affiliated Computer Services Derivative Litig., Case No. 06-CV-1110 (N.D. Tex.).
              Robbins Geller Rudman & Dowd LLP served a counsel for the federal plaintiffs. After
              defeating the defendants’ dismissal motions and opposing the Special Litigation Committee
              of the Board of Directors’ motion to terminate the federal derivative claims, Robbins Geller
              Rudman & Dowd LLP recovered $30 million in cash for Affiliated Computer Services. This
              amount exceeded the cash recovery anticipated for the company in the settlement negotiated
              by the Special Litigation Committee in a parallel state court stock option backdating
              proceeding.


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       •       In re Ditech Networks, Inc. Derivative Litig., Case No. C-06-05157 (N.D. Cal.). Robbins
               Geller Rudman & Dowd LLP served as co-lead counsel for plaintiffs in this stock option
               backdating derivative action. The prosecution and settlement of the action resulted in the
               adoption of substantial corporate governance measures designed to enhance Ditech
               Network’s stock option granting practices and improve the overall responsiveness of the
               Ditech Networks Board to shareholder concerns.

       •       In re F5 Networks, Inc. Derivative Litig., Case No. 81817-7 (Wash. Sup. Ct.). Robbins
               Geller Rudman & Dowd LLP represented the plaintiffs in this precedent setting stock option
               backdating derivative action. Adopting the plaintiffs’ arguments, the Washington Supreme
               Court unanimously held that shareholders of Washington corporations need not make a pre-
               suit litigation demand upon the board of directors where such a demand would be a futile act.
               The Washington Supreme Court also adopted Delaware’s less-stringent pleading standard for
               establishing backdating and futility of demand in a shareholder derivative action, as urged by
               the plaintiffs.

Insurance

Fraud and collusion in the insurance industry by executives, agents, brokers, lenders and others is one of the
most costly crimes in the United States. Some experts have estimated the annual cost of white collar crime
in the insurance industry to be over $120 billion nationally. Recent legislative proposals seek to curtail anti-
competitive behavior within the industry. However, in the absence of comprehensive regulation, Robbins
Geller Rudman & Dowd LLP has played a critical role as private attorney general in protecting the rights of
consumers against insurance fraud and other unfair business practices within the insurance industry.

Robbins Geller Rudman & Dowd LLP attorneys were among the first to expose illegal and improper bid-
rigging and kickbacks between insurance companies and brokers. The Firm is a leader in representing
businesses, individuals, school districts, counties and the State of California in numerous actions in state and
federal courts nationwide to stop these practices. To date, the Firm has helped recover over $200 million on
behalf of insureds.

Robbins Geller Rudman & Dowd LLP attorneys have long been at the forefront of litigating race
discrimination issues within the life insurance industry. For example, the Firm has fought the practice by
certain insurers of charging African-Americans and other people of color more for life insurance than
similarly situated Caucasians. The Firm recovered over $400 million for African-Americans and other
minorities as redress for civil rights abuses, including landmark recoveries in McNeil v. American General
Life & Accident Insurance Company; Thompson v. Metropolitan Life Insurance Company; and Williams v.
United Insurance Company of America.

The Firm’s attorneys fight on behalf of elderly victims targeted for the sale of deferred annuity products with
hidden sales loads and illusory bonus features. Sales agents for life insurance companies such as Allianz
Life Insurance Company of North America, Midland National Life Insurance Company, and National
Western Life Insurance Company have targeted senior citizens for these annuities with lengthy investment
horizons and high sales commissions. The Firm has recovered millions of dollars for elderly victims and
seeks to ensure that senior citizens are afforded full and accurate information regarding deferred annuities.


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Robbins Geller Rudman & Dowd LLP attorneys also stopped the fraudulent sale of life insurance policies
based on misrepresentations about how the life insurance policy would perform, the costs of the policy, and
whether premiums would “vanish.” Purchasers were also misled about the financing of a new life insurance
policy, falling victim to a “replacement” or “churning” sales scheme where they were convinced to use
loans, partial surrenders or withdrawals of cash values from an existing permanent life insurance policy to
purchase a new policy.

       •       Brokerage “Pay to Play” Cases. On behalf of individuals, governmental entities,
               businesses, and non-profits, Robbins Geller Rudman & Dowd LLP has sued the largest
               commercial and employee benefit insurance brokers and insurers for unfair and deceptive
               business practices. While purporting to provide independent, unbiased advice as to the best
               policy, the brokers failed to adequately disclose that they had entered into separate “pay to
               play” agreements with certain third-party insurance companies. These agreements provide
               additional compensation to the brokers based on such factors as profitability, growth and the
               volume of insurance that they place with a particular insurer, and are akin to a profit-sharing
               arrangement between the brokers and the insurance companies. These agreements create a
               conflict of interest since the brokers have a direct financial interest in selling their customers
               only the insurance products offered by those insurance companies with which the brokers
               have such agreements.

               Robbins Geller Rudman & Dowd LLP attorneys were among the first to uncover and pursue
               the allegations of these practices in the insurance industry in both state and federal courts.
               On behalf of the California Insurance Commissioner, the Firm brought an injunctive case
               against the biggest employee benefit insurers and local San Diego brokerage, ULR, which
               resulted in major changes to the way they did business. The Firm also sued on behalf of the
               City and County of San Francisco to recover losses due to these practices. Finally, Robbins
               Geller Rudman & Dowd LLP represents a putative nationwide class of individuals,
               businesses, employers, and governmental entities against the largest brokerage houses and
               insurers in the nation. To date, the Firm has obtained over $200 million on behalf of
               policyholders and enacted landmark business reforms.

       •       Discriminatory Credit Scoring and Redlining Cases. Robbins Geller Rudman & Dowd
               LLP attorneys have prosecuted cases concerning countrywide schemes of alleged
               discrimination carried out by Nationwide, Allstate and other insurance companies against
               African-American and other persons of color who are purchasers of homeowner and
               automobile insurance policies. Such discrimination includes alleged redlining and the
               improper use of “credit scores,” which disparately impact minority communities. Plaintiffs in
               these actions have alleged that the insurance companies’ corporate driven scheme of
               intentional racial discrimination includes refusing coverage and/or charging them higher
               premiums for homeowners and automobile insurance. On behalf of the class of aggrieved
               policyholders, the Firm has recovered over $400 million for these predatory and racist
               policies.

       •       Senior Annuities. Insurance companies and their agents target senior citizens for the sale of
               long-term deferred annuity products and misrepresent or otherwise fail to disclose the
               extremely high costs, including sales commissions. These annuities and their high costs are
               particularly harmful to seniors because they do not mature for 15 or 20 years, often beyond
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              the elderly person's life expectancy. Also, they carry exorbitant surrender charges if cashed
              in before they mature. As a result, the annuitant's money is locked up for years, and the
              victims or their loved ones are forced to pay high surrender charges if they need to get it out
              early. Nevertheless, many companies and their sales agents intentionally target the elderly
              for their deferred annuity products, holding seminars in retirement centers and nursing
              homes, and through pretexts such as wills and estate planning or financial advice. The Firm
              has filed lawsuits against a number of life insurance companies, including Allianz Life
              Insurance Company of North America, Midland National Life Insurance Company, and
              Jackson National Insurance Company, in connection with the marketing and sales of
              deferred annuities to senior citizens. We are investigating similar practices by other
              companies. Information that you have may be valuable so please contact us by filling out the
              form below.

       •      State Farm. State Farm and other automobile insurance companies in California have
              illegally charged monthly policyholders more premiums than they are required to pay.
              Because automobile insurance is required under law, it is closely regulated. State Farm and
              others bring in millions of dollars each year by concealing up front that policyholders must
              pay an extra charge if they opt for a monthly plan, and they later tack on the extra charge
              without revealing it as a premium as they must do under state law. Robbins Geller Rudman
              & Dowd LLP’s attorneys have fought this practice, recovering millions of dollars on behalf
              of policyholders.

Antitrust

Robbins Geller Rudman & Dowd LLP’s antitrust practice focuses on representing businesses and
individuals who have been the victims of price-fixing, unlawful monopolization, market allocation, tying
and other anti-competitive conduct. The Firm has taken a leading role in many of the largest federal and
state price-fixing, monopolization, market allocation and tying cases throughout the United States.

       •      In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., 05 MDL
              No. 1720 (E.D.N.Y.). Robbins Geller Rudman & Dowd LLP attorneys are co-lead counsel
              in one of the country’s largest antitrust actions, in which merchants allege Visa, MasterCard
              and their member banks, including Bank of America, Citibank, JPMorgan Chase, Capital
              One, Wells Fargo and HSBC, among others, have collectively imposed and set the level of
              interchange fees paid by merchants on each Visa and MasterCard credit and debit
              transaction, in violation of federal and state antitrust laws. Fact discovery has closed, and
              plaintiffs’ motion for class certification and the defendants’ motions to dismiss are under
              submission.

       •      In re Currency Conversion Fee Antitrust Litig., 01 MDL No. 1409 (S.D.N.Y.). Robbins
              Geller Rudman & Dowd LLP attorneys recovered $336 million for credit and debit
              cardholders in this multi-district litigation in which the Firm served as co-lead counsel.
              Plaintiffs alleged that Visa and MasterCard, and certain leading member banks of Visa and
              MasterCard, conspired to fix and maintain the foreign currency conversion fee charged to
              United States cardholders, and failed to disclose adequately the fee in violation of federal
              law. In October 2009, the trial court granted final approval of the $336 million settlement
              and described the Firm as a “highly competent and experienced” law firm. The court
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           specifically commented: “Class Counsel provided extraordinarily high-quality
           representation. This case raised a number of unique and complex legal issues including the
           effect of arbitration clauses on consumer antitrust class actions, and collusive activity in the
           context of joint ventures.” The court further praised the Firm as “indefatigable” and noted
           that the Firm lawyers “represented the Class with a high degree of professionalism, and
           vigorously litigated every issue against some of the ablest lawyers in the antitrust defense
           bar.” The trial court’s final approval decision is currently on appeal.

     •     The Apple iPod iTunes Antitrust Litig., Case No. C-05-00037-JW (N.D. Cal.). Robbins
           Geller Rudman & Dowd LLP attorneys are co-lead counsel for a proposed class of iPod
           purchasers. Plaintiffs assert that Apple illegally maintained its monopolies in the digital
           music and portable player markets by designing and revising its products to render any
           competing player or digital music incompatible. This conduct locked Apple's competitors
           out of the market and allowed Apple to inflate the price at which iPods were sold. Discovery
           is ongoing.

     •     In re Aftermarket Automotive Lighting Products Antitrust Litig., MDL No. 2007 (C.D.
           Cal.). Robbins Geller Rudman & Dowd LLP attorneys are co-lead counsel in this multi-
           district litigation in which plaintiffs allege that defendants conspired to fix prices and
           allocate markets for automotive lighting products. Discovery is ongoing.

     •     Dahl v. Bain Capital Partners, LLC, Case No. 07-cv-12388-EFH (D. Mass). Robbins
           Geller Rudman & Dowd LLP attorneys are co-lead counsel on behalf of shareholders in this
           action against the nation’s largest private equity firms who have colluded to restrain
           competition to suppress prices paid to shareholders of public companies in connection with
           leveraged buyouts. The trial court denied the defendants’ motion to dismiss and discovery is
           ongoing.

     •     In re Digital Music Antitrust Litig., 06 MDL No. 1780 (S.D.N.Y.). Robbins Geller Rudman
           & Dowd LLP attorneys are co-lead counsel in an action against the major music labels
           (Sony-BMG, EMI, Universal and Warner Music Group) in a case involving music that can
           be downloaded digitally from the Internet. Plaintiffs allege that defendants restrained the
           development of digital downloads and agreed to fix the distribution price of digital
           downloads at supracompetitive prices. Plaintiffs also allege that as a result of defendants’
           restraint of the development of digital downloads, and the market and price for downloads,
           defendants were able to maintain the prices of their CDs at supracompetitive levels. The
           Second Circuit Court of Appeals recently upheld plaintiffs’ complaint, reversing the trial
           court’s dismissal.

     •     In re NASDAQ Market-Makers Antitrust Litig., MDL No. 1023 (S.D.N.Y.). Robbins
           Geller Rudman & Dowd LLP attorneys served as co-lead counsel in this case in which
           investors alleged that NASDAQ market-makers set and maintained artificially wide spreads
           pursuant to an industry-wide conspiracy. After three and one half years of intense litigation,
           the case settled for a total of $1.027 billion, at the time the largest ever antitrust settlement.
           The court commended counsel for its work, saying:


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                      Counsel for the Plaintiffs are preeminent in the field of class action litigation,
                      and the roster of counsel for the Defendants includes some of the largest,
                      most successful and well regarded law firms in the country. It is difficult to
                      conceive of better representation than the parties to this action achieved.

See In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D. 465, 474 (S.D.N.Y. 1998).

       •      Hall v. NCAA (Restricted Earnings Coach Antitrust Litigation), Case No. 94-2392-KHV
              (D. Kan.). Robbins Geller Rudman & Dowd LLP attorneys served as lead counsel and lead
              trial counsel for one of three classes of coaches who alleged that the National Collegiate
              Athletic Association illegally fixed their compensation by instituting the “restricted earnings
              coach” rule. On May 4, 1998, the jury returned verdicts in favor of the three classes for more
              than $70 million.

       •      Thomas & Thomas Rodmakers, Inc. v. Newport Adhesives and Composites, Inc. (Carbon
              Fiber Antitrust Litigation), Case No. CV-99-7796 (C.D. Cal.). Robbins Geller Rudman &
              Dowd LLP attorneys were co-lead counsel (with one other firm) in this consolidated class
              action in which a class of purchasers alleged that the major producers of carbon fiber fixed
              its price from 1993 to 1999. The case settled for $67.5 million.

       •      In re Carbon Black Antitrust Litig., MDL No. 1543 (D. Mass.). Robbins Geller Rudman &
              Dowd LLP attorneys recovered $20 million for the class in this multi-district litigation in
              which the Firm served as co-lead counsel. Plaintiffs purchased carbon black from major
              producers that unlawfully conspired to fix the price of carbon black, which is used in the
              manufacture of tires, rubber and plastic products, inks and other products, from 1999 to
              2005.

       •      In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 02 MDL No. 1486 (N.D.
              Cal.). Robbins Geller Rudman & Dowd LLP attorneys served on the executive committee in
              this multi-district class action in which a class of purchasers of dynamic random access
              memory (or DRAM) chips alleged that the leading manufacturers of semiconductor products
              fixed the price of DRAM chips from the fall of 2001 through at least the end of June 2002.
              The case settled for more than $300 million.

       •      Microsoft I-V Cases, J.C.C.P. No. 4106 (Cal. Super. Ct., San Francisco County). Robbins
              Geller Rudman & Dowd LLP attorneys served on the executive committee in these
              consolidated cases in which California indirect purchasers challenged Microsoft’s illegal
              exercise of monopoly power in the operating system, word processing and spreadsheet
              markets. In a settlement approved by the court, class counsel obtained an unprecedented
              $1.1 billion worth of relief for the business and consumer class members who purchased the
              Microsoft products.

Consumer Fraud

In our consumer-based economy, working families who purchase products and services must receive truthful
information so they can make meaningful choices about how to spend their hard-earned money. When
financial institutions and other corporations deceive consumers or take advantage of unequal bargaining
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power, class action suits provide, in many instances, the only realistic means for an individual to right a
corporate wrong.

Robbins Geller Rudman & Dowd LLP’s attorneys represent consumers around the country in a variety of
important, complex class actions. Our attorneys have taken a leading role in many of the largest federal and
state consumer fraud, environmental, human rights and public health cases throughout the U.S. The Firm is
also actively involved in many cases relating to banks and the financial services industry, pursuing claims on
behalf of individuals victimized by abusive telemarketing practices, abusive mortgage lending practices,
market timing violations in the sale of variable annuities, and deceptive consumer credit lending practices in
violation of the Truth-In-Lending Act. Below are a few representative samples of our robust, nationwide
consumer practice.

       •       Bank Overdraft Fees. The banking industry charges consumers exorbitant amounts for
               “overdraft” of their checking accounts, even if the customer did not authorize a charge
               beyond the available balance and even if they would not have overdrawn the account if the
               transactions were ordered chronologically as they occurred–that is, banks reorder
               transactions to maximize such fees. In fact, it is reported that Americans spent more money
               on bank overdraft fees than on vegetables last year. The Firm has brought lawsuits against
               major banks to stop this practice and recover the hundreds of millions, if not billions, of
               dollars in overdraft fees. We are investigating other banks that engage in this practice.

       •       In re Vertrue Sales and Marketing Practices Litigation. Telemarketing companies use a
               deceptive telemarketing practice they call “upselling.” In the Vertrue Sales Practices
               Litigation, after purchasing products (including Nad’s, vitamins, knives, Q-Ray bracelets,
               Edgemaster paint roller, Simoniz car washer, flowers, dance videos, AB Slider, ultrasonic
               toothbrushes and OxiClean) via an infomercial, consumers were told they were being sent a
               free 30-day trial membership in an unrelated buying club. Those consumers who did not
               refuse the 30-day membership were charged between $60 and $150 annually for this so-
               called “gift.” We have filed suit in 21 states.

       •       CHASE Bank Home Equity Line of Credit Litigation. In October 2008, after receiving $25
               billion in TARP funding to encourage lending institutions to provide businesses and
               consumers with access to credit, Chase Bank began unilaterally suspending its customers’
               Home Equity Lines of Credit. Plaintiffs charge that Chase Bank did so using an unreliable
               computer model that did not reliably estimate the actual value of its customers’ homes in
               breach of the borrowers’ contracts. The Firm has brought a lawsuit to secure damages on
               behalf of borrowers whose credit lines were improperly suspended.

       •       Pacific Gas & Electric Trespass Litigation. Robbins Geller Rudman & Dowd LLP’s
               attorneys have filed suit on behalf of property owners alleging that PG&E has trespassed on
               their land. In short, PG&E’s has electricity easements giving them access for the purposes of
               building towers and stringing lines related to the transmission of electricity. PG&E has
               recently installed a fiber-optic telecommunications network which it has leased to telephone
               and Internet services, despite the fact that the electricity easements do not allow PG&E to
               use plaintiffs’ property to engage in general telecommunications business. Through their
               lawsuit, plaintiffs seek damages to compensate them for PG&E’s trespass.

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Settlements

       •      Visa and MasterCard Fees. After years of litigation and a six-month trial, Robbins Geller
              Rudman & Dowd LLP attorneys won one of the largest consumer-protection verdicts ever
              awarded in the United States. The Firm’s attorneys represented California consumers in an
              action against Visa and MasterCard for intentionally imposing and concealing a fee from
              cardholders. The court ordered Visa and MasterCard to return $800,000,000 in cardholder
              losses, which represented 100% of the amount illegally taken, plus 2% interest. In addition,
              the court ordered full disclosure of the hidden fee.

       •      Drivers’ Privacy Case. In a cutting edge consumer case, Robbins Geller Rudman & Dowd
              LLP attorneys brought a case on behalf of a half-million Florida drivers against a national
              bank for purchasing their private information from the state department of motor vehicles for
              marketing purposes. After years of litigation that included appeals to the United States
              Supreme Court, the Firm’s attorneys successfully negotiated a $50 million all cash
              settlement in this cutting-edge case involving consumer privacy rights. The published
              decision in Kehoe v. Fidelity Fed. Bank & Trust, 421 F.3d 1209 (S.D. Fla. 2005), cert
              denied, 547 U.S. 1051 (2006), one of the first opinions construing the Federal Drivers
              Privacy Protection Act, was a victory for the Firm's clients and has been cited over 50 times
              by other courts since its publication in 2005.

       •      Lifescan Diabetic Systems. Robbins Geller Rudman & Dowd LLP attorneys were
              responsible for achieving a $45 million all cash settlement with Johnson & Johnson and its
              wholly owned subsidiary, Lifescan, Inc., over claims that Lifescan deceptively marketed and
              sold a defective blood-glucose monitoring system for diabetics. The Lifescan settlement was
              noted by the court as providing “exceptional results” for members of the class.

       •      West Telemarketing Case. Robbins Geller Rudman & Dowd LLP attorneys secured a $39
              million settlement for class members caught up in a telemarketing scheme where consumers
              were charged for an unwanted membership program after purchasing Tae-Bo exercise
              videos. Under the settlement, consumers were entitled to claim between one and one-half to
              three times the amount of all fees they unknowingly paid.

       •      Dannon Activia®. Robbins Geller Rudman & Dowd LLP attorneys secured the largest ever
              settlement for a false advertising case involving a food product. The case alleged that
              Dannon’s advertising for its Activia® and DanActive® branded products and their benefits
              from “probiotic” bacteria were overstated. As part of the nationwide settlement, Dannon
              agreed to modify its advertising and establish a fund of up to $45 million to compensate
              consumers for their purchases of Activia® and DanActive®.

       •      Out-of-Network Emergency Room Doctors. In a case that changed the way out-of-network
              emergency room physicians are paid by insurance carriers in Florida, Robbins Geller
              Rudman & Dowd LLP successfully represented a class of physicians who claimed their
              reimbursements for emergency services were unfair. As a result of the case, these physicians
              were guaranteed approximately double the rate of reimbursement they received prior to the
              case being pursued, resulting in a recovery of nearly $20 million and important business
              reforms.
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       •      Mattel Lead Paint Toys. In 2006-2007, toy manufacturing giant, Mattel and its subsidiary
              Fisher-Price, announced the recall of over 14 million toys made in China due to hazardous
              lead and dangerous magnets. Robbins Geller Rudman & Dowd LLP attorneys filed lawsuits
              on behalf of millions of parents and other consumers who purchased or received toys for
              children that were marketed as safe but were later recalled because they were dangerous.
              The Firm’s attorneys reached a landmark settlement for millions of dollars in refunds and
              lead testing reimbursements, as well as important testing requirements to ensure that Mattel’s
              toys are safe for consumers in the future.

       •      Tenet Healthcare Cases. Robbins Geller Rudman & Dowd LLP attorneys were co-lead
              counsel in a class action alleging a fraudulent scheme of corporate misconduct, resulting in
              the overcharging of uninsured patients by the Tenet chain of hospitals. The Firm’s attorneys
              represented uninsured patients of Tenet hospitals nationwide who were overcharged by
              Tenet’s admittedly “aggressive pricing strategy,” which resulted in price gouging of the
              uninsured. The case was settled with Tenet changing its practices and making refunds to
              patients.

Human Rights, Labor Practices and Public Policy

Robbins Geller Rudman & Dowd LLP attorneys have a long tradition of representing the victims of unfair
labor practices and violations of human rights. These include:

       •      Does I v. The Gap, Inc., Case No. 01 0031 (D. N. Mariana Islands). In this groundbreaking
              case, Robbins Geller Rudman & Dowd LLP attorneys represented a class of 30,000 garment
              workers who alleged that they had worked under sweatshop conditions in garment factories
              in Saipan that produced clothing for top United States retailers such as The Gap, Target and
              J.C. Penney. In the first action of its kind, Robbins Geller Rudman & Dowd LLP attorneys
              pursued claims against the factories and the retailers alleging violations of RICO, the Alien
              Tort Claims Act and the Law of Nations based on the alleged systemic labor and human
              rights abuses occurring in Saipan. This case was a companion to two other actions: Does I v.
              Advance Textile Corp., Case No. 99 0002 (D. N. Mariana Islands), which alleged overtime
              violations by the garment factories under the Fair Labor Standards Act and local labor law,
              and UNITE v. The Gap, Inc., Case No. 300474 (Cal. Super. Ct., San Francisco County),
              which alleged violations of California’s Unfair Practices Law by the United States retailers.
              These actions resulted in a settlement of approximately $20 million that included a
              comprehensive monitoring program to address past violations by the factories and prevent
              future ones. The members of the litigation team were honored as Trial Lawyers of the Year
              by the Trial Lawyers for Public Justice in recognition of the team’s efforts at bringing about
              the precedent-setting settlement of the actions.

       •      Kasky v. Nike, Inc., 27 Cal. 4th 939 (2002). The California Supreme Court upheld claims
              that an apparel manufacturer misled the public regarding its exploitative labor practices,
              thereby violating California statutes prohibiting unfair competition and false advertising.
              The Court rejected defense contentions that any misconduct was protected by the First
              Amendment, finding the heightened constitutional protection afforded to noncommercial
              speech inappropriate in such a circumstance.

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       •       World War II-Era Slave Labor. Against steep odds, the Firm’s lawyers took up the claims
               of people forced to work as slave labor for Japanese corporations during the Second World
               War. Their human rights case ran into trouble when the Ninth Circuit agreed with the Bush
               administration that any claims against Japanese corporations and their subsidiaries were
               preempted by the federal government’s foreign-affairs power. See Deutsch v. Turner, 324
               F.3d 692 (9th Cir. 2003). The case nonetheless demonstrates the lawyers’ dedication to
               prosecuting human-rights violations against the challenge of formidable political opposition.

       •       The Cintas Litigation. Brought against one of the nation’s largest commercial laundries for
               violations of the Fair Labor Standards Act for misclassifying truck drivers as salesmen to
               avoid payment of overtime.

       •       Taco Bell workers. Robbins Geller Rudman & Dowd LLP attorneys represented over 2,300
               Taco Bell workers who were denied thousands of hours of overtime pay because, among
               other reasons, they were improperly classified as overtime-exempt employees.

Shareholder derivative litigation brought by Robbins Geller Rudman & Dowd LLP attorneys at times also
involves stopping anti-union activities, including:

       •       Southern Pacific/Overnite. A shareholder action stemming from several hundred million
               dollars in loss of value in the company due to systematic violations by Overnite of United
               States labor laws.

       •       Massey Energy. A shareholder action against an anti-union employer for flagrant violations
               of environmental laws resulting in multi-million dollar penalties.

       •       Crown Petroleum. A shareholder action against a Texas-based oil company for self-dealing
               and breach of fiduciary duty while also involved in a union lockout.

Environment and Public Health

Robbins Geller Rudman & Dowd LLP attorneys have also represented plaintiffs in class actions related to
environmental law. The Firm’s attorneys represented, on a pro bono basis, the Sierra Club and the National
Economic Development and Law Center as amici curiae in a federal suit designed to uphold the federal and
state use of project labor agreements (“PLAs”). The suit represented a legal challenge to President Bush’s
Executive Order 13202, which prohibits the use of project labor agreements on construction projects
receiving federal funds. Our amici brief in the matter outlined and stressed the significant environmental
and socio-economic benefits associated with the use of PLAs on large-scale construction projects.

Attorneys with Robbins Geller Rudman & Dowd LLP have been involved in several other significant
environmental cases, including:

       •       Public Citizen v. U.S. D.O.T. Robbins Geller Rudman & Dowd LLP attorneys represented a
               coalition of labor, environmental, industry and public health organizations including Public
               Citizen, The International Brotherhood of Teamsters, California AFL-CIO and California
               Trucking Industry in a challenge to a decision by the Bush Administration to lift a
               congressionally-imposed “moratorium” on cross-border trucking from Mexico on the basis
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               that such trucks do not conform to emission controls under the Clean Air Act, and further,
               that the Administration did not first complete a comprehensive environmental impact
               analysis as required by the National Environmental Policy Act. The suit was dismissed by
               the Supreme Court, the Court holding that because the D.O.T. lacked discretion to prevent
               cross-border trucking, an environmental assessment was not required.

       •       Sierra Club v. AK Steel. Brought on behalf of the Sierra Club for massive emissions of air
               and water pollution by a steel mill, including homes of workers living in the adjacent
               communities, in violation of the Federal Clean Air Act, Resource Conservation Recovery
               Act and the Clean Water Act.

       •       MTBE Litigation. Brought on behalf of various water districts for befouling public drinking
               water with MTBE, a gasoline additive linked to cancer.

       •       Exxon Valdez. Brought on behalf of fisherman and Alaska residents for billions of dollars in
               damages resulting from the greatest oil spill in United States history.

       •       Avilla Beach. A citizens’ suit against UNOCAL for leakage from the oil company pipeline
               so severe it literally destroyed the town of Avilla Beach, California.

Federal laws such as the Clean Water Act, the Clean Air Act, the Resource Conservation and Recovery Act
and state laws such as California Proposition 65 exist to protect the environment and the public from abuses
by corporate and government organizations. Companies can be found liable for negligence, trespass or
intentional environmental damage, be forced to pay for reparations and to come into compliance with
existing laws. Prominent cases litigated by Robbins Geller Rudman & Dowd LLP attorneys include
representing more than 4,000 individuals suing for personal injury and property damage related to the
Stringfellow Dump Site in Southern California, participation in the Exxon Valdez oil spill litigation and the
toxic spill arising from a Southern Pacific train derailment near Dunsmuir, California.

Robbins Geller Rudman & Dowd LLP attorneys have led the fight against Big Tobacco since 1991. As an
example, Robbins Geller Rudman & Dowd LLP attorneys filed the case that helped get rid of Joe Camel
representing various public and private plaintiffs, including the State of Arkansas, the general public in
California, the cities of San Francisco, Los Angeles and Birmingham, 14 counties in California and the
working men and women of this country in the Union Pension and Welfare Fund cases that have been filed
in 40 states. In 1992, Robbins Geller Rudman & Dowd LLP attorneys filed the first case in the country that
alleged a conspiracy by the Big Tobacco companies.

Intellectual Property

Individual inventors, universities and research organizations provide the fundamental research behind many
existing and emerging technologies. Every year, the majority of U.S. patents are issued to this group of
inventors. Through this fundamental research, these inventors provide a significant competitive advantage
to this country. Unfortunately, while responsible for most of the inventions that issue into U.S. patents every
year, individual inventors, universities and research organizations receive very little of the licensing
revenues for U.S. patents. Large companies reap 99% of all patent licensing revenues.



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Robbins Geller Rudman & Dowd LLP enforces the rights of these inventors by filing and litigating patent
infringement cases against infringing entities. Our attorneys have decades of patent litigation experience in
a variety of technical applications. This experience, combined with the Firm's extensive resources, gives
individual inventors the ability to enforce their patent rights against even the largest infringing companies.

Our attorneys have experience handling cases involving a broad range of technologies, including:

       •       biochemistry

       •       telecommunications

       •       medical devices

       •       medical diagnostics

       •       networking systems

       •       computer hardware devices and software

       •       mechanical devices

       •       video gaming technologies

       •       audio and video recording devices

Current intellectual property cases include:

       •       vTRAX Technologies Licensing, Inc. v. Siemens Communications, Inc., et al., Case No.
               9:10-CV-80369-KLR (S.D. Fl.). Counsel for plaintiff vTRAX Technologies in a patent
               infringement action involving U.S. Patent No. 6,865,268 for “Dynamic, Real-Time Call
               Tracking for Web-Based Customer Relationship Management.”

       •       U.S. Ethernet Innovations. Counsel for plaintiff U.S. Ethernet Innovations, owner of the
               3Com Ethernet Patent Portfolio, in multiple patent infringement actions involving U.S.
               Patent Nos. 5,307,459 for “Network Adapter with Host Indication Optimization,” 5,434,872
               for “Apparatus for Automatic Initiation of Data Transmission,” 5,732,094 for “Method for
               Automatic Initiation of Data Transmission,” and 5,299,313 for “Network Interface with Host
               Independent Buffer Management.”

       •       SIPCO, LLC v. Johnson Controls, Inc., et al., Case No. 6:09-CV-532 (E.D. Tex.). Counsel
               for plaintiff SIPCO in a patent infringement action involving U.S. Patent Nos. 7,103,511 for
               “Wireless Communications Networks for Providing Remote Monitoring of Devices” and
               6,437,692 and 7,468,661 for “System and Method for Monitoring and Controlling Remote
               Devices.”

       •       SIPCO, LLC v. Florida Power & Light Company, et al., Case No. 1:09-CV-22209-FAM
               (S.D. Fla.). Counsel for plaintiff SIPCO, LLC in a patent infringement action involving U.S.

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              Patent Nos. 6,437,692, 7,053,767 and 7,468,661, entitled “System and Method for
              Monitoring and Controlling Remote Devices.”

       •      IPCO, LLC v. Cellnet Technology, Inc., Case No. 1:05-CV-2658 (N.D. Ga.). Counsel for
              plaintiff IPCO, LLC in a patent infringement action involving U.S. Patent No. 6,044,062 for
              a “Wireless Network System and Method for Providing Same” and U.S. Patent No.
              6,249,516 for a “Wireless Network Gateway and Method for Providing Same.”

       •      IPCO, LLC v. Tropos Networks, Inc., Case No. 1:06-CV-585 (N.D. Ga.). Counsel for
              plaintiff IPCO, LLC in a patent infringement action involving U.S. Patent No. 6,044,062 for
              a “Wireless Network System and Method for Providing Same” and U.S. Patent No.
              6,249,516 for a “Wireless Network Gateway and Method for Providing Same.”

       •      Cary Jardin v. Datallegro, Inc. and Stuart Frost, Case No. 08-CV-01462-IEG-RBB (S.D.
              Cal.). Counsel for plaintiff Cary Jardin in a patent infringement action involving U.S. Patent
              No. 7,177,874 for a “System and Method for Generating and Processing Results Data in a
              Distributed System.”

       •      NorthPeak Wireless, LLC v. 3Com Corporation, et al., Case No. CV-08-J-1813-NE (N.D.
              Ala.). Counsel for plaintiff NorthPeak Wireless, LLC in a multi-defendant patent
              infringement action involving U.S. Patent Nos. 4,977,577 and 5,987,058 related to spread
              spectrum devices.

       •      PageMelding, Inc. v. Feeva Technology, Inc., Hitwise USA, Inc., Kindsight, Inc.,
              Microsoft Corporation and NebuAd, Inc., Case No. 08-CV-03484 CRB (N.D. Cal.).
              Counsel for plaintiff PageMelding, Inc. in a patent infringement action involving U.S. Patent
              No. 6,442,577 for a “Method and Apparatus for Dynamically Forming Customized Web
              Pages for Web Sites.”

       •      SIPCO, LLC v. Amazon.com, Inc., et al., Case No. 2:08-CV-359 (E.D. Tex.). Counsel for
              plaintiff SIPCO in a multi-defendant patent infringement action involving U.S. Patent No.
              6,891,838 for a “System and Method for Monitoring and Controlling Residential Devices”
              and U.S. Patent No. 7,103,511 for “Wireless Communication Networks for Providing
              Remote Monitoring Devices.”

       •      IPCO, LLC d/b/a Intus IQ v. Oncor Electric Delivery Co. LLC, Reliant Energy Inc., et al.,
              Case No. 2:09-CV-00037 (E.D. Tex.). Counsel for plaintiff Intus IQ in a patent infringement
              action involving U.S. Patent Nos. 6,249,516 and 7,054,271 for a "Wireless Network System
              and Method for Providing Same."

Pro Bono

Robbins Geller Rudman & Dowd LLP attorneys have a distinguished record of pro bono work. In 1999,
the Firm’s lawyers were finalists for the San Diego Volunteer Lawyer Program’s 1999 Pro Bono Law Firm
of the Year Award, for their work on a disability-rights case. In 2003, when the Firm’s lawyers were
nominated for the California State Bar President’s Pro Bono Law Firm of the Year award, the State Bar

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President praised them for “dedication to the provision of pro bono legal services to the poor” and
“extending legal services to underserved communities.”

More recently, one of the Firm’s lawyers obtained political asylum, after an initial application for political
asylum had been denied, for an impoverished Somali family whose ethnic minority faced systematic
persecution and genocidal violence in Somalia. The family’s female children also faced forced genital
mutilation if returned to Somalia.

The Firm’s lawyers worked as cooperating attorneys with the ACLU in a class action filed on behalf of
welfare applicants subject to San Diego County’s “Project 100%” program, which sent investigators from
the D.A.’s office (Public Assistance Fraud Division) to enter and search the home of every person applying
for welfare benefits, and to interrogate neighbors and employers – never explaining they had no reason to
suspect wrongdoing. Real relief was had when the County admitted that food-stamp eligibility could not
hinge upon the Project 100% “home visits,” and again when the district court ruled that unconsented
“collateral contacts” violated state regulations. The district court’s ruling that CalWORKs aid to needy
families could be made contingent upon consent to the D.A.’s “home visits” and “walk throughs,” was
affirmed by the Ninth Circuit with eight judges vigorously dissenting from denial of en banc rehearing.
Sanchez v. County of San Diego, 464 F.3d 916, (9th Cir. 2006), reh’g denied 483 F.3d 965, 966 (9th Cir.
2007). The decision was noted by the Harvard Law Review, The New York Times, and even The Colbert
Report.

The Firm’s lawyers also have represented groups such as the Sierra Club and the National Economic
Development and Law Center as amici curiae before the United States Supreme Court.

Senior appellate partner Eric Alan Isaacson has in a variety of cases filed amicus curiae briefs on behalf of
religious organizations and clergy supporting civil rights, opposing government-backed religious-viewpoint
discrimination, and generally upholding the American traditions of religious freedom and church-state
separation. Organizations represented as amici curiae in such matters have included the California Council
of Churches, Union for Reform Judaism, Jewish Reconstructionist Federation, United Church of Christ,
Unitarian Universalist Association of Congregations, Unitarian Universalist Legislative Ministry –
California, and California Faith for Equality.

                                     JUDICIAL COMMENDATIONS
Robbins Geller Rudman & Dowd LLP attorneys have been commended by countless judges all over the
country for the quality of their representation in class-action lawsuits.

•      In March 2009, Judge Karon Bowdre commented in the HealthSouth class certification opinion that
       “[t]he court has had many opportunities since November 2001 to examine the work of class counsel
       and the supervision by the Class Representatives. The court find both to be far more than adequate.”

       In re HealthSouth Corp. Sec. Litig., Case No. CV-03-BE-1500-S, Memorandum Opinion (S.D. Ala.
       Mar. 31, 2009).

•      In October 2007, a $600 million settlement for shareholders in the securities fraud class action
       against Ohio’s biggest drug distributor, Cardinal Health, Inc., was approved – the largest settlement
       in the Sixth Circuit. Judge Marbley commented:
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               The quality of representation in this case was superb. Lead Counsel, [Robbins Geller
               Rudman & Dowd LLP], are nationally recognized leaders in complex securities
               litigation class actions. The quality of the representation is demonstrated by the
               substantial benefit achieved for the Class and the efficient, effective prosecution and
               resolution of this action. Lead Counsel defeated a volley of motions to dismiss,
               thwarting well-formed challenges from prominent and capable attorneys from six
               different law firms.

In Re: Cardinal Health Inc. Sec. Litig., 528 F. Supp. 2d 752 (2007).

•      In the Enron securities class action, Robbins Geller Rudman & Dowd LLP attorneys and lead
       plaintiff The Regents of the University of California successfully recovered over $7.3 billion on
       behalf of Enron investors. The Court overseeing this action had utmost praise for Robbins Geller
       Rudman & Dowd LLP’s efforts and stated that “[t]he experience, ability, and reputation of the
       attorneys of [Robbins Geller Rudman & Dowd LLP] is not disputed; it is one of the most successful
       law firms in securities class actions, if not the preeminent one, in the country.” In re Enron Corp.
       Sec., Derivative & “ERISA” Litig., MDL No. 1446, Order at 130 (S.D. Tex. Sept. 8, 2008).

       The Court further commented, “In the face of extraordinary obstacles, the skills, expertise,
       commitment, and tenacity of [Robbins Geller Rudman & Dowd LLP] in this litigation cannot be
       overstated. Not to be overlooked are the unparalleled results, … which demonstrate counsel’s
       clearly superlative litigating and negotiating skills.” Id. at 112-13.

       In addition, the Court noted, “This Court considers [Robbins Geller Rudman & Dowd LLP] ‘a lion’
       at the securities bar on the national level,” noting that the Lead Plaintiff selected Robbins Geller
       Rudman & Dowd LLP because of the Firm’s “outstanding reputation, experience, and success in
       securities litigation nationwide.” Id. at 115.

•      In Stanley v. Safeskin Corp., Case No. 99 CV 454-BTM (S.D. Cal. May 25, 2004), where Robbins
       Geller Rudman & Dowd LLP attorneys obtained $55 million for the class of investors, Judge
       Moskowitz stated:

               I said this once before, and I’ll say it again. I thought the way that your firm handled
               this case was outstanding. This was not an easy case. It was a complicated case, and
               every step of the way, I thought they did a very professional job.

•      In April 2005, in granting final approval of a $100 million settlement obtained after two weeks of
       trial in In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.), Judge Garret E. Brown, Jr. stated the
       following about the Robbins Geller Rudman & Dowd LLP attorneys prosecuting the case:

               Lead Counsel are highly skilled attorneys with great experience in prosecuting
               complex securities action[s], and their professionalism and diligence displayed
               during litigation substantiates this characterization. The Court notes that Lead
               Counsel displayed excellent lawyering skills through their consistent preparedness
               during court proceedings, arguments and the trial, and their well-written and
               thoroughly researched submissions to the Court. Undoubtedly, the attentive and


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             persistent effort of Lead Counsel was integral in achieving the excellent result for the
             Class.

•    In a December 2006 hearing on the $50 million consumer privacy class action settlement in Kehoe v.
     Fidelity Fed., Case No. 03-80593-CIV (S.D. Fla.), United States District Court Judge Daniel T.K.
     Hurley said the following:

             First, I thank counsel. As I said repeatedly on both sides we have been very, very
             fortunate. We have had fine lawyers on both sides. The issues in the case are
             significant issues. We are talking about issues dealing with consumer protection and
             privacy -- something that is increasingly important today in our society. [I] want you
             to know I thought long and hard about this. I am absolutely satisfied that the
             settlement is a fair and reasonable settlement. [I] thank the lawyers on both sides for
             the extraordinary effort that has been brought to bear here.

•    In July 2007, the Honorable Richard Owen of the Southern District of New York approved the $129
     million settlement of the In re Doral Fin. Corp. Sec. Litig., MDL No. 1706 (S.D.N.Y.) finding in his
     Order that:

             The services provided by Lead Counsel [Robbins Geller Rudman & Dowd LLP]
     were efficient and highly successful, resulting in an outstanding recovery for the Class
     without the substantial expense, risk and delay of continued litigation. Such efficiency and
     effectiveness supports the requested fee percentage.

            []Cases brought under the federal securities laws are notably difficult and notoriously
     uncertain. . . . Despite the novelty and difficulty of the issues raised, Lead Plaintiffs' counsel
     secured an excellent result for the Class.

            . . . Based upon Lead Plaintiff's counsel's diligent efforts on behalf of the Class, as
     well as their skill and reputations, Lead Plaintiff's counsel were able to negotiate a very
     favorable result for the Class. . . . The ability of [Robbins Geller Rudman & Dowd LLP] to
     obtain such a favorable partial settlement for the Class in the face of such formidable
     opposition confirms the superior quality of their representation.

                                         NOTABLE CLIENTS
                                          Public Fund Clients

•    Alaska State Pension Investment Board.

•    California Public Employees’ Retirement System.

•    California State Teachers’ Retirement System.

•    Teachers’ Retirement System of the State of Illinois.

•    Illinois Municipal Retirement Fund.

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•    Illinois State Board of Investment.

•    Los Angeles County Employees Retirement Association.

•    Maine State Retirement System.

•    The Maryland-National Capital Park & Planning Commission Employees’ Retirement System.

•    Milwaukee Employees’ Retirement System.

•    Minnesota State Board of Investment.

•    New Hampshire Retirement System.

•    New Mexico Public Funds (New Mexico Educational Retirement Board, New Mexico Public
     Employees Retirement Association, and New Mexico State Investment Council).

•    Ohio Public Funds (Ohio Public Employees Retirement System, State Teachers Retirement System
     of Ohio, School Employees Retirement System of Ohio, Ohio Police and Fire Pension Fund, Ohio
     State Highway Patrol Retirement System, and Ohio Bureau of Workers’ Compensation).

•    The Regents of the University of California.

•    State Universities Retirement System of Illinois.

•    State of Wisconsin Investment Board.

•    Tennessee Consolidated Retirement System.

•    Washington State Investment Board.

•    Wayne County Employees' Retirement System.

•    West Virginia Investment Management Board.

                                       Multi-Employer Clients

•    Alaska Electrical Pension Fund.

•    Alaska Hotel & Restaurant Employees Pension Trust Fund.

•    Alaska Ironworkers Pension Trust.

•    Carpenters Pension Fund of West Virginia.

•    Carpenters Health & Welfare Fund of Philadelphia & Vicinity.

•    Carpenters Pension Fund of Baltimore, Maryland.
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•    Carpenters Pension Fund of Illinois.

•    Southwest Carpenters Pension Trust.

•    Central States, Southeast and Southwest Areas Pension Fund.

•    Employer-Teamsters Local Nos. 175 & 505 Pension Trust Fund.

•    Heavy & General Laborers’ Local 472 & 172 Pension & Annuity Funds.

•    1199 SEIU Greater New York Pension Fund.

•    Massachusetts State Carpenters Pension and Annuity Funds.

•    Massachusetts State Guaranteed Fund.

•    New England Health Care Employees Pension Fund.

•    SEIU Staff Fund.

•    Southern California Lathing Industry Pension Fund.

•    United Brotherhood of Carpenters Pension Fund.

                                  Additional Institutional Investors

•    Bank of Ireland Asset Management.

•    Northwestern Mutual Life Insurance Company.

•    Standard Life Investments.




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                   PROMINENT CASES AND PRECEDENT-SETTING DECISIONS
                                              Prominent Cases

    • In re Enron Corp. Sec. Litig., Case No. H-01-3624 (S.D. Tex.). Investors lost billions of dollars as a
result of the massive fraud at Enron. In appointing Robbins Geller Rudman & Dowd LLP lawyers as sole
lead counsel to represent the interests of Enron investors, the court found that the Firm’s zealous prosecution
and level of “insight” set it apart from its peers. Robbins Geller Rudman & Dowd LLP attorneys and lead
plaintiff The Regents of the University of California aggressively pursued numerous defendants, including
many of Wall Street’s biggest banks, and successfully obtained settlements in excess of $7.3 billion for the
benefit of investors. This is the largest aggregate class action settlement not only in a securities class
action, but in class action history.

    • In re UnitedHealth Group Inc. PSLRA Litig., Case No. 06-CV-1691 (D. Minn.). In the
UnitedHealth case, Robbins Geller Rudman & Dowd LLP represented the California Public Employees’
Retirement System (“CalPERS”) and demonstrated its willingness to vigorously advocate for its institutional
clients, even under the most difficult circumstances. For example, in 2006, the issue of high-level
executives backdating stock options made national headlines. During that time, many law firms, including
Robbins Geller Rudman & Dowd LLP, brought shareholder derivative lawsuits against the companies’
boards of directors for breaches of their fiduciary duties or for improperly granting backdated options.
Rather than pursuing a shareholder derivative case, the Firm filed a securities fraud class action against the
company on behalf of CalPERS. In doing so, Robbins Geller Rudman & Dowd LLP faced significant and
unprecedented legal obstacles with respect to loss causation, i.e., that defendants’ actions were responsible
for causing the stock losses. Despite these legal hurdles, Robbins Geller Rudman & Dowd LLP obtained an
$895 million recovery on behalf of the UnitedHealth shareholders. Shortly after reaching the $895 million
settlement with UnitedHealth, the remaining corporate defendants, including former CEO William A.
McGuire, also settled. Mr. McGuire paid $30 million and returned stock options representing more than
three million shares to the shareholders. The total recovery for the class was over $925 million, the largest
stock option backdating recovery ever, and a recovery which is more than four times larger than the next
largest options backdating recovery. Moreover, Robbins Geller Rudman & Dowd LLP obtained
unprecedented corporate governance reforms, including election of a shareholder-nominated member to the
company’s board of directors, a mandatory holding period for shares acquired by executives via option
exercise, and executive compensation reforms which tie pay to performance.

     • Jaffe v. Household Int’l, Inc., Case No. 02-C-05893 (N.D. Ill.). Sole lead counsel Robbins Geller
Rudman & Dowd LLP obtained a jury verdict on May 7, 2009, following a six-week trial in the Northern
District of Illinois, on behalf of a class of investors led by plaintiffs PACE Industry Union-Management
Pension Fund, the International Union of Operating Engineers, Local No. 132 Pension Plan, and
Glickenhaus & Company. The jury determined that Household and the individual defendants made
fraudulent misrepresentations concerning the Company's predatory lending practices, the quality of its loan
portfolio and the company's financial results between March 23, 2001 and October 11, 2002. Although
certain post-trial proceedings are ongoing, plaintiffs' counsel anticipate that the verdict will ultimately allow
class members to recover in excess of $1 billion in damages. Since the enactment of the PSLRA in 1995,
trials in securities fraud cases have been rare. According to published reports, only nine such cases have
gone to verdict since the passage of the PSLRA.


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    • Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), Case No. 03 Civ. 8269
(S.D.N.Y.). Robbins Geller Rudman & Dowd LLP attorneys represented more than 50 private and public
institutions that opted out of the class action case and sued WorldCom’s bankers, officers and directors, and
auditors in courts around the country for losses related to WorldCom bond offerings from 1998 to 2001. The
Firm’s clients included major public institutions from across the country such as CalPERS, CalSTRS, the
state pension funds of Maine, Illinois, New Mexico and West Virginia, union pension funds, and private
entities such as AIG and Northwestern Mutual. Robbins Geller Rudman & Dowd LLP attorneys recovered
more than $650 million for their clients on the May 2000 and May 2001 bond offerings (the primary
offerings at issue), substantially more than they would have recovered as part of the class.

    • In re Cardinal Health, Inc. Sec. Litig., Case No. C2-04-575 (S.D. Ohio). As sole lead counsel
representing Cardinal Health shareholders, Robbins Geller Rudman & Dowd LLP obtained a recovery of
$600 million for investors. On behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State
Investment Council, and the California Ironworkers Field Trust Fund, the Firm aggressively pursued class
claims and won notable courtroom victories, including a favorable decision on defendants’ motion to
dismiss. In re Cardinal Health, Inc. Sec. Litig., 426 F. Supp. 2d 688 (S.D. Ohio 2006). At the time, the $600
million settlement was the tenth largest settlement in the history of securities fraud litigation and is the
largest-ever recovery in a securities fraud action in the Sixth Circuit.

    • AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles County).
Robbins Geller Rudman & Dowd LLP represented The Regents of the University of California, six Ohio
state pension funds, Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian
public and private funds, insurance companies, and numerous additional institutional investors, both
domestic and international, in state and federal court opt-out litigation stemming from Time Warner’s
disastrous 2001 merger with Internet high flier America Online. Robbins Geller Rudman & Dowd LLP
attorneys exposed a massive and sophisticated accounting fraud involving America Online’s e-commerce
and advertising revenue. After almost four years of litigation involving extensive discovery, the Firm
secured combined settlements for its opt-out clients totaling over $629 million just weeks before The
Regents’ case pending in California state court was scheduled to go to trial. The Regents’ gross recovery of
$246 million is the largest individual opt-out securities recovery in history.

    • In re HealthSouth Corp. Secs. Litig., Case No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed
co-lead counsel, Robbins Geller Rudman & Dowd LLP attorneys have obtained a combined recovery of
$554 million from HealthSouth and its auditor Ernst & Young for the benefit of stockholder plaintiffs. The
settlement against HealthSouth ($445 million) represents one of the larger settlements in securities class
action history and is considered among the top 15 settlements achieved after passage of the PSLRA.
Likewise, the settlement against Ernst & Young ($109 million) is the eighth largest securities class action
settlement entered into by an accounting firm since the passage of the PSLRA. HealthSouth, Ernst & Young
and HealthSouth’s investment banker, UBS, perpetrated one of the largest and most pervasive frauds in the
history of United States healthcare, prompting Congressional and law enforcement inquiry and resulting in
guilty pleas of 16 former HealthSouth executives in related federal criminal prosecutions. Robbins Geller
Rudman & Dowd LLP attorneys continue to prosecute the case against former HealthSouth CEO Richard
Scrushy, as well as UBS, to win further large recoveries for the victims of this immense fraud.

   • In re Dynegy Inc. Secs. Litig., Case No. H-02-1571 (S.D. Tex.). As sole lead counsel representing
The Regents of the University of California and the class of Dynegy investors, Robbins Geller Rudman &
Dowd LLP attorneys obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc. and
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Arthur Andersen LLP for their involvement in a clandestine financing scheme known as Project Alpha.
Given Dynegy’s limited ability to pay, Robbins Geller Rudman & Dowd LLP attorneys structured a
settlement (reached shortly before the commencement of trial) that maximized plaintiffs’ recovery without
bankrupting the company. Most notably, the settlement agreement provides that Dynegy will appoint two
board members to be nominated by The Regents, which Robbins Geller Rudman & Dowd LLP and The
Regents believe will benefit all of Dynegy’s stockholders.

    • In re Qwest Commc’ns Int’l, Inc. Sec. Litig., Case No. 01-cv-1451 (D. Colo.). Robbins Geller
Rudman & Dowd LLP attorneys served as lead counsel for a class of investors that purchased Qwest
securities. In July 2001, the Firm filed the initial complaint in this action on behalf of its clients, long before
any investigation into Qwest’s financial statements was initiated by the SEC or Department of Justice. After
five years of litigation, lead plaintiffs entered into a settlement with Qwest and certain individual defendants
that provided a $400 million recovery for the class and created a mechanism that allowed the vast majority
of class members to share in an additional $250 million recovered by the SEC. In 2008, Robbins Geller
Rudman & Dowd LLP attorneys recovered an additional $45 million for the class in a settlement with
defendants Joseph P. Nacchio and Robert S. Woodruff, the CEO and CFO, respectively, of Qwest during
large portions of the class period.

    • In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller Rudman & Dowd LLP
attorneys served as lead counsel for a class of investors that purchased AT&T common stock. The case
charged defendants AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the
federal securities laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking
stock, the largest IPO in American history. After two weeks of trial, and on the eve of scheduled testimony
by Armstrong and infamous telecom analyst Jack Grubman, defendants agreed to settle the case for $100
million. In granting approval of the settlement, the court stated the following about the Robbins Geller
Rudman & Dowd LLP attorneys handling the case:

    Lead Counsel are highly skilled attorneys with great experience in prosecuting complex
    securities action[s], and their professionalism and diligence displayed during [this] litigation
    substantiates this characterization. The Court notes that Lead Counsel displayed excellent
    lawyering skills through their consistent preparedness during court proceedings, arguments and
    the trial, and their well-written and thoroughly researched submissions to the Court.
    Undoubtedly, the attentive and persistent effort of Lead Counsel was integral in achieving the
    excellent result for the Class.

In re AT&T Corp. Sec. Litig., MDL No. 1399, 2005 U.S. Dist. LEXIS 46144, *28-*29 (D.N.J. Apr. 22,
2005).

    • In re Dollar General Corp. Sec. Litig., Case No. 01-CV-00388 (M.D. Tenn.). Robbins Geller
Rudman & Dowd LLP attorneys served as lead counsel in this case in which the Firm recovered $172.5
million for investors. The Dollar General settlement was the largest shareholder class action recovery ever
in Tennessee.

    • Carpenters Health & Welfare Fund v. Coca-Cola Co., Case No. 00-CV-2838 (N.D. Ga.). As co-
lead counsel representing Coca-Cola shareholders, Robbins Geller Rudman & Dowd LLP attorneys
obtained a recovery of $137.5 million after nearly eight years of litigation. Robbins Geller Rudman &
Dowd LLP attorneys traveled to three continents to uncover the evidence that ultimately resulted in the
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settlement of this hard-fought litigation. The case concerned Coca-Cola's shipping of excess concentrate at
the end of financial reporting periods for the sole purpose of meeting analyst earnings expectations, as well
as the company's failure to properly account for certain impaired foreign bottling assets.

    • Schwartz v. TXU Corp., Case No. 02-CV-2243 (N.D. Tex). As co-lead counsel, Robbins Geller
Rudman & Dowd LLP attorneys obtained a recovery of over $149 million for a class of purchasers of TXU
securities. The recovery compensated class members for damages they incurred as a result of their
purchases of TXU securities at inflated prices. Defendants had inflated the price of these securities by
concealing the fact that TXU's operating earnings were declining due to a deteriorating gas pipeline and the
failure of the company's European operations.

    • Thurber v. Mattel, Inc., Case No. 99-CV-10368 (C.D. Cal.). Robbins Geller Rudman & Dowd LLP
attorneys served as co-lead counsel for a class of investors who purchased Mattel common stock. When the
shareholders approved Mattel’s acquisition of The Learning Company, they were misled by defendants’
false statements regarding the financial condition of the acquired company. Within months of the close of
the transaction, Mattel disclosed that The Learning Company had incurred millions in losses, and that
instead of adding to Mattel’s earnings, earnings would be far less than previously stated. After thorough
discovery, Robbins Geller Rudman & Dowd attorneys negotiated a settlement of $122 million plus corporate
governance changes.

    • Brody vs. Hellman (U.S. West Dividend Litigation), Case No. 00-CV-4142 (Dist. Ct. for the City &
Cty. of Denver, Colo.). Robbins Geller Rudman & Dowd LLP attorneys were court-appointed counsel for
the class of former stockholders of U.S. West, Inc. who sought to recover a dividend declared by U.S. West
before its merger with Qwest. The merger closed before the record and payment dates for the dividend,
which Qwest did not pay following the merger. The case was aggressively litigated and the plaintiffs
survived a motion to dismiss, two motions for summary judgment and successfully certified the class over
vigorous opposition from defendants. In certifying the class, the court commented, “Defendants do not
contest that Plaintiffs’ attorneys are extremely well qualified to represent the putative class. This litigation
has been ongoing for years; in that time Plaintiffs’ counsel has proven that they are more than adequate in
ability, determination, and resources to represent the putative class.” The case settled for $50 million on the
day before trial was scheduled to commence. At the August 30, 2005 final approval hearing relating to the
settlement, the court noted that the case “was litigated by extremely talented lawyers on both sides” and that
the settlement was “a great result.” In describing the risk taken by the Firm and its co-counsel, the court
noted, “There wasn’t any other lawyer[] in the United States that took the gamble that these people did. Not
one other firm anywhere said I’m willing to take that on. I’ll go five years. I’ll pay out the expenses. I’ll put
my time and effort on the line.” In discussing the difficulties facing the Firm in this case, the court said,
“There wasn’t any issue that wasn’t fought. It took a great deal of skill to get to the point of trial.” In
concluding, the court remarked that the class was “fortunate they had some lawyers that had the guts to
come forward and do it.”

    • In re NASDAQ Market-Makers Antitrust Litig., MDL No. 1023 (S.D.N.Y.). Robbins Geller
Rudman & Dowd LLP attorneys served as court-appointed co-lead counsel for a class of investors. The class
alleged that the NASDAQ market-makers set and maintained wide spreads pursuant to an industry wide
conspiracy in one of the largest and most important antitrust cases in recent history. After three and one half
years of intense litigation, the case was settled for a total of $1.027 billion, the largest antitrust settlement
ever. An excerpt from the court’s opinion reads:

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   Counsel for the Plaintiffs are preeminent in the field of class action litigation, and the roster of
   counsel for the Defendants includes some of the largest, most successful and well regarded law
   firms in the country. It is difficult to conceive of better representation than the parties to this
   action achieved.

In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D. 465, 474 (S.D.N.Y. 1998).

    • In re Exxon Valdez, Case No. A89 095 Civ. (D. Alaska), and In re Exxon Valdez Oil Spill Litig.,
Case No. 3 AN 89 2533 (Alaska Super. Ct., 3d Jud. Dist.). Robbins Geller Rudman & Dowd LLP attorneys
served on the Plaintiffs’ Coordinating Committee and Plaintiffs’ Law Committee in this massive litigation
resulting from the Exxon Valdez oil spill in Alaska in March 1989. The jury awarded hundreds of millions
in compensatory damages, as well as $5 billion in punitive damages (the latter were later reduced by the
U.S. Supreme Court to $507 million).

    • In re 3Com, Inc. Sec. Litig., Case No. C-97-21083-JW (N.D. Cal.). A hard-fought class action
alleging violations of the federal securities laws in which Robbins Geller Rudman & Dowd LLP attorneys
served as lead counsel for the class and obtained a recovery totaling $259 million.

    • Mangini v. R.J. Reynolds Tobacco Co., Case No. 939359 (Cal. Super. Ct., San Francisco County).
In this case, R.J. Reynolds admitted, “the Mangini action, and the way that it was vigorously litigated, was
an early, significant and unique driver of the overall legal and social controversy regarding underage
smoking that led to the decision to phase out the Joe Camel Campaign.”

    • Cordova v. Liggett Group, Inc., Case No. 651824 (Cal. Super. Ct., San Diego County), and People
v. Philip Morris, Inc., Case No. 980864 (Cal. Super. Ct., San Francisco County). Robbins Geller Rudman &
Dowd LLP attorneys, as lead counsel in both these actions, played a key role in these cases which were
settled with the Attorneys General global agreement with the tobacco industry, bringing $26 billion to the
State of California as a whole and $12.5 billion to the cities and counties within California.

    • Does I v. The Gap, Inc., Case No. 01 0031 (D. N. Mariana Islands). In this ground-breaking case,
Robbins Geller Rudman & Dowd LLP attorneys represented a class of 30,000 garment workers who alleged
that they had worked under sweatshop conditions in garment factories in Saipan that produced clothing for
top United States retailers such as The Gap, Target and J.C. Penney. In the first action of its kind, Robbins
Geller Rudman & Dowd LLP attorneys pursued claims against the factories and the retailers alleging
violations of RICO, the Alien Tort Claims Act and the Law of Nations based on the alleged systemic labor
and human rights abuses occurring in Saipan. This case was a companion to two other actions: Does I v.
Advance Textile Corp., Case No. 99 0002 (D. N. Mariana Islands), which alleged overtime violations by the
garment factories under the Fair Labor Standards Act, and UNITE v. The Gap, Inc., Case No. 300474 (Cal.
Super. Ct., San Francisco County), which alleged violations of California’s Unfair Practices Law by the
United States retailers. These actions resulted in a settlement of approximately $20 million that included a
comprehensive monitoring program to address past violations by the factories and prevent future ones. The
members of the litigation team were honored as Trial Lawyers of the Year by the Trial Lawyers for Public
Justice in recognition of the team’s efforts in bringing about the precedent-setting settlement of the actions.

    • Hall v. NCAA (Restricted Earnings Coach Antitrust Litigation), Case No. 94-2392-KHV (D. Kan.).
Robbins Geller Rudman & Dowd LLP attorneys were lead counsel and lead trial counsel for one of three
classes of coaches in these consolidated price fixing actions against the National Collegiate Athletic
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Association. On May 4, 1998, the jury returned verdicts in favor of the three classes for more than $70
million.

   • In re Prison Realty Sec. Litig., Case No. 3:99-0452 (M.D. Tenn.). Robbins Geller Rudman & Dowd
LLP attorneys served as lead counsel for the class, obtaining a $105 million recovery.

   • In re Honeywell Int’l, Inc. Sec. Litig., Case No. 00-cv-03605 (DRD) (D.N.J.). Robbins Geller
Rudman & Dowd LLP attorneys served as lead counsel for a class of investors that purchased Honeywell
common stock. The case charged Honeywell and its top officers with violations of the federal securities
laws, alleging the defendants made false public statements concerning Honeywell’s merger with Allied
Signal, Inc. and that defendants falsified Honeywell’s financial statements. After extensive discovery,
Robbins Geller Rudman & Dowd LLP attorneys obtained a $100 million settlement for the class.

   • In re Reliance Acceptance Group, Inc. Sec. Litig., MDL No. 1304 (D. Del.). Robbins Geller
Rudman & Dowd LLP attorneys served as co-lead counsel and obtained a recovery of $39 million.

     • Schwartz v. Visa Int'l, Case No. 822404-4 (Cal. Super. Ct., Alameda County). After years of
litigation and a six-month trial, Robbins Geller Rudman & Dowd LLP attorneys won one of the largest
consumer protection verdicts ever awarded in the United States. Robbins Geller Rudman & Dowd LLP
attorneys represented California consumers in an action against Visa and MasterCard for intentionally
imposing and concealing a fee from their cardholders. The court ordered Visa and MasterCard to return
$800,000,000 in cardholder losses, which represented 100% of the amount illegally taken, plus 2% interest.
In addition, the court ordered full disclosure of the hidden fee.

   • Thompson v. Metro. Life Ins. Co., Case No. 00-cv-5071 (HB) (S.D.N.Y.). Robbins Geller Rudman
& Dowd LLP attorneys served as lead counsel and obtained $145 million for the class in a settlement
involving racial discrimination claims in the sale of life insurance.

    • In re Prudential Ins. Co. of Am. Sales Practices Litig., MDL No. 1061(D.N.J.). In one of the first
cases of its kind, Robbins Geller Rudman & Dowd LLP attorneys obtained a settlement of $4 billion for
deceptive sales practices in connection with the sale of life insurance involving the “vanishing premium”
sales scheme.

                                        Precedent-Setting Decisions

Investor and Shareholder Rights

    • In re Constar Int’l Inc. Sec Litig., 585 F.3d 774 (3d Cir. 2009). The Third Circuit flatly rejected
defense contentions that where relief is sought under §11 of the Securities Act of 1933, which imposes
liability when securities are issued pursuant to an incomplete or misleading registration statement, class
certification should depend upon findings concerning market efficiency and loss causation.

    • Siracusano v. Matrixx Initiatives, Inc., 585 F.3d 1167 (9th Cir. 2009). In a securities fraud action,
the Ninth Circuit rejected reliance upon a bright-line “statistical significance” materiality standard, agreeing
with plaintiffs that defendants had omitted a material fact by failing to disclose a possible link between the
company’s popular cold remedy and the loss of sense of smell in some users.

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    • Alaska Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221 (5th Cir. 2009). Aided by former
Supreme Court Justice O’Connor’s presence on the panel, the Fifth Circuit reversed a district court order
denying class certification and also reversed an order granting summary judgment to defendants. The court
held that the district court applied an incorrect fact-for-fact standard of loss causation, and that genuine
issues of fact on loss causation precluded summary judgment.

    • In re F5 Networks, Inc. Derivative Litig., 207 P.3d 433 (Wash. 2009). In a derivative action
alleging unlawful stock option backdating, the Supreme Court of Washington ruled that shareholders need
not make a presuit demand on the board of directors where this step would be futile, agreeing with plaintiffs
that favorable Delaware case law should be followed as persuasive authority.

    • Lormand v. U.S. Unwired, Inc., 565 F.3d 228 (5th Cir. 2009). In a rare win for investors in the Fifth
Circuit, the court reversed an order of dismissal, holding that safe harbor warnings were not meaningful
when the facts alleged established a strong inference that defendants knew their forecasts were false. The
court also held that plaintiffs sufficiently alleged loss causation.

    • Institutional Investors Group v. Avaya, Inc., 564 F.3d 242 (3d Cir. 2009). In a victory for investors
in the Third Circuit, the court reversed an order of dismissal, holding that shareholders pled with
particularity why the company’s repeated denials of price discounts on products were false and misleading
when the totality of facts alleged established a strong inference that defendants knew their denials were
false.

    • Alaska Elec. Pension Fund v. Pharmacia Corp., 554 F.3d 342 (3d Cir. 2009). The Third Circuit
held that claims filed for violation of §10(b) of the Securities Exchange Act of 1934 were timely, adopting
investors’ argument that because scienter is a critical element of the claims, the time for filing them cannot
begin to run until the defendants’ fraudulent state of mind should be apparent.

    • Rael v. Page, 222 P.3d 678 (N.M. Ct. App. 2009). In this shareholder class and derivative action,
Robbins Geller Rudman & Dowd LLP attorneys obtained an appellate decision reversing the trial court’s
dismissal of the complaint alleging serious director misconduct in connection with the merger of SunCal
Companies and Westland Development Co., Inc., a New Mexico company with large and historic
landholdings and other assets in the Albuquerque area. The appellate court held that plaintiff’s claims for
breach of fiduciary duty were direct, not derivative, because they constituted an attack on the validity or
fairness of the merger and the conduct of the directors. Although New Mexico law had not addressed this
question directly, at the urging of the Firm’s attorneys, the court relied on Delaware law for guidance,
rejecting the “special injury” test for determining the direct versus derivative inquiry and instead applying
more recent Delaware case law.

   • Luther v. Countrywide Home Loans Servicing LP, 533 F.3d 1031 (9th Cir. 2008). In a case of first
impression, the Ninth Circuit held that the Securities Act of 1933’s specific non-removal features had not
been trumped by the general removal provisions of the Class Action Fairness Act of 2005.

    • St. Clare v. Gilead Sciences, Inc. (In re Gilead Sciences Sec. Litig.), 536 F.3d 1049 (9th Cir. 2008).
The Ninth Circuit upheld defrauded investors’ loss causation theory as plausible, ruling that a limited
temporal gap between the time defendants’ misrepresentation was publicly revealed and the subsequent
decline in stock value was reasonable where the public had not immediately understood the impact of
defendants’ fraud.
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    • Fidel v. Farley, 534 F.3d 508 (6th Cir. 2008). The Sixth Circuit upheld class-notice procedures,
rejecting an objector’s contentions that class action settlements should be set aside because his own
stockbroker had failed to forward timely notice of the settlement to him.

     • Cal. Pub. Employees’ Ret. Sys. v. Caboto-Gruppo Intesa, BCI (In re WorldCom Sec. Litig.), 496
F.3d 245 (2d Cir. 2007). The Second Circuit held that the filing of a class action complaint tolls the
limitations period for all members of the class, including those who choose to opt out of the class action and
file their own individual actions without waiting to see whether the district court certifies a class – reversing
the decision below and effectively overruling multiple district court rulings that American Pipe tolling did
not apply under these circumstances.

    • In re Merck & Co., Inc., Sec., Derivative & ERISA Litig., 493 F.3d 393 (3d Cir. 2007). In a
shareholder derivative suit appeal, the Third Circuit held that the general rule that discovery may not be used
to supplement demand-futility allegations does not apply where the defendants enter a voluntary stipulation
to produce materials relevant to demand futility without providing for any limitation as to their use.

    • Crandon Capital Partners v. Shelk, 157 P.3d 176 (Or. 2007). Oregon’s Supreme Court ruled that a
shareholder plaintiff in a derivative action may still seek attorney fees even if the defendants took actions to
moot the underlying claims. The Firm’s attorneys convinced Oregon’s highest court to take the case, and
reverse, despite the contrary position articulated by both the trial court and the Oregon Court of Appeals.

   • In re Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006). In a case of first impression, the
Tenth Circuit held that a corporation’s deliberate release of purportedly privileged materials to governmental
agencies was not a “selective waiver” of the privileges such that the corporation could refuse to produce the
same materials to non-governmental plaintiffs in private securities fraud litigation.

    • Ritter v. Dollens (In re Guidant S’holders Derivative Litig.), 841 N.E.2d 571 (Ind. 2006).
Answering a certified question from a federal court, the Supreme Court of Indiana unanimously held that a
pre-suit demand in a derivative action is excused if the demand would be a futile gesture. The court adopted
a “demand futility” standard and rejected the defendants’ call for a “universal demand” standard that might
have immediately ended the case.

    • Denver Area Meat Cutters and Employers Pension Plan v. Clayton, 209 S.W.3d 584 (Tenn. Ct.
App. 2006). The Tennessee Court of Appeals rejected an objector’s challenge to a class action settlement
arising out of Warren Buffet’s 2003 acquisition of Tennessee-based Clayton Homes. In their effort to secure
relief for Clayton Homes stockholders, the firm’s attorneys obtained a temporary injunction of the Buffet
acquisition for six weeks in 2003 while the matter was litigated in the courts. The temporary halt to Buffet’s
acquisition received national press attention.

    • DeJulius v. New England Health Care Employees Pension Fund, 429 F.3d 935 (10th Cir. 2005).
The Tenth Circuit held that the multi-faceted notice of a $50 million settlement in a securities fraud class
action had been the best notice practicable under the circumstances, and thus satisfied both constitutional
due process and Rule 23 of the Federal Rules of Civil Procedure.

    • Alaska Elec. Pension Fund v. Brown, 941 A.2d 1011 (Del. 2007). The Supreme Court of Delaware
held that the Alaska Electrical Pension Fund, for purposes of the “corporate benefit” attorney-fee doctrine,
was presumed to have caused a substantial increase in the tender offer price paid in a “going private” buyout
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transaction. The Court of Chancery originally ruled that Alaska’s counsel, Robbins Geller Rudman & Dowd
LLP, was not entitled to an award of attorney fees, but Delaware’s high court, in its published opinion,
reversed and remanded for further proceedings.

    • Sparling v. Daou (In re Daou Sys.), 411 F.3d 1006 (9th Cir. 2005). The Ninth Circuit sustained
investors’ allegations of accounting fraud and ruled that loss causation was adequately alleged by pleading
that the value of the stock they purchased declined when the issuer’s true financial condition was revealed.

    • Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir. 2005), reh’g denied and opinion modified,
409 F.3d 653 (5th Cir. 2005). The Fifth Circuit upheld investors’ accounting-fraud claims, holding that
fraud is pled as to both defendants when one knowingly utters a false statement and the other knowingly
fails to correct it, even if the complaint does not specify who spoke and who listened.

    • Illinois Municipal Ret. Fund v. Citigroup, Inc., 391 F.3d 844 (7th Cir. 2004). The Seventh Circuit
upheld a district court’s decision that the Illinois Municipal Retirement Fund was entitled to litigate its
claims under the Securities Act of 1933 against WorldCom’s underwriters before a state court rather than
before the federal forum sought by the defendants.

    • Nursing Home Pension Fund, Local 144 v. Oracle Corp., 380 F.3d 1226 (9th Cir. 2004). The
Ninth Circuit ruled that defendants’ fraudulent intent could be inferred from allegations concerning their
false representations, insider stock sales and improper accounting methods.

    • Pirraglia v. Novell, Inc., 339 F.3d 1182 (10th Cir. 2003). The Tenth Circuit upheld investors’
accounting-fraud claims, holding that plaintiffs could not be expected to plead details of documents from
defendants’ files, that the materiality of defendants’ false statements is usually not resolvable at the pleading
stage, and that the absence of insider trading by individual defendants did not mean they lacked a motive to
commit fraud.

    • No. 84 Employer-Teamster Joint Council Pension Trust Fund v. Am. West Holding Corp., 320
F.3d 920 (9th Cir. 2003). The Ninth Circuit upheld investors’ fraud claims, ruling that the materiality of
defendants’ fraud was not reflected in the stock’s market price until the full economic effects of defendants’
fraud were finally revealed, and that a lack of stock sales by defendants is not dispositive as to scienter.

    • Herrgott v. U.S. Dist. Court for the N. Dist. of Cal. (In re Cavanaugh), 306 F.3d 726 (9th Cir.
2002). The Ninth Circuit disallowed judicial auctions to select lead plaintiffs in securities class actions and
protected lead plaintiffs’ right to select the lead counsel they desire to represent them.

    • Lone Star Ladies Inv. Club v. Schlotzsky’s Inc., 238 F.3d 363 (5th Cir. 2001). The Fifth Circuit
upheld investors’ claims that securities offering documents were incomplete and misleading, reversing a
district court order that had applied inappropriate pleading standards to dismiss the case.

    • City of Monroe Employees Ret. Sys. v. Bridgestone Corp., 387 F.3d 468 (6th Cir. 2004). The Sixth
Circuit held that a statement regarding objective data supposedly supporting a corporation's belief that its
tires were safe was actionable where jurors could have found a reasonable basis to believe the corporation
was aware of undisclosed facts seriously undermining the statement's accuracy.


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    • Southland Sec. Corp. v. INSpire Ins. Solutions Inc., 365 F.3d 353 (5th Cir. 2004). The Fifth Circuit
sustained allegations that an issuer’s CEO made fraudulent statements in connection with a contract
announcement.

    • Fox v. JAMDAT Mobile, Inc., 185 Cal. App. 4th 1068 (2010). Concluding that Delaware's
shareholder ratification doctrine did not bar the claims, the California Court of Appeal reversed dismissal of
a shareholder class action alleging breach of fiduciary duty in a corporate merger.

Insurance

    • Lebrilla v. Farmers Group, Inc., 119 Cal. App. 4th 1070 (2004). Reversing the trial court, the
California Court of Appeal ordered class certification of a suit against Farmers, one of the largest automobile
insurers in California and ruled that Farmers’ standard automobile policy requires it to provide parts that are
as good as those made by vehicle’s manufacturer. The case involved Farmers' practice of using inferior
imitation parts when repairing insureds’ vehicles.

    • Dehoyos v. Allstate Corp., 345 F.3d 290 (5th Cir. 2003). The Fifth Circuit Court of Appeals held that
claims under federal civil rights statutes involving the sale of racially discriminatory insurance policies
based upon the use of credit scoring did not interfere with state insurance statutes or regulatory goals and
were not preempted under the McCarran-Ferguson Act. Specifically, the Appellate Court affirmed the
district court’s ruling that the McCarran-Ferguson Act does not preempt civil-rights claims under the Civil
Rights Act of 1866 and the Fair Housing Act for racially discriminatory business practices in the sale of
automobile and homeowners insurance. The United States Supreme Court denied defendants’ petition for
certiorari and plaintiffs can now proceed with their challenge of defendants’ allegedly discriminatory credit
scoring system used in pricing of automobile and homeowners insurance policies.

    • In re Monumental Life Ins. Co., 365 F.3d 408 (5th Cir. 2004). The Fifth Circuit Court of Appeals
reversed a district court’s denial of class certification in a case filed by African-Americans seeking to
remedy racially discriminatory insurance practices. The Fifth Circuit held that a monetary relief claim is
viable in a Rule 23(b)(2) class if it flows directly from liability to the class as a whole and is capable of
classwide “computation by means of objective standards and not dependent in any significant way on the
intangible, subjective differences of each class member's circumstances.”

    • Moore v. Liberty Nat’l Life Ins. Co., 267 F.3d 1209 (11th Cir. 2001). The Eleventh Circuit affirmed
the district court’s denial of the defendant’s motion for judgment on the pleadings, rejecting contentions that
insurance policyholders’ claims of racial discrimination were barred by Alabama’s common law doctrine of
repose. The Eleventh Circuit also rejected the insurer’s argument that the McCarran-Ferguson Act mandated
preemption of plaintiffs’ federal civil rights claims under 42 U.S.C. §§1981 and 1982.

    • Mass. Mut. Life Ins. Co. v. Super. Ct., 97 Cal. App. 4th 1282 (2002). The California Court of
Appeal affirmed a trial court’s Order certifying a class in an action by purchasers of so-called “vanishing
premium” life-insurance policies who claimed violations of California’s consumer-protection statutes. The
Court held that common issues predominate where plaintiffs allege a uniform failure to disclose material
information about policy dividend rates.

    • Smith v. Am. Family Mut. Ins. Co., 289 S.W.3d 675 (W.D. Mo. 2009). Capping nearly a decade
of hotly contested litigation, the Missouri Court of Appeals reversed the trial court’s judgment
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notwithstanding the verdict for auto insurer American Family and reinstated a unanimous jury verdict for the
plaintiff class.

    • Troyk v. Farmers Group, Inc., 171 Cal. App. 4th 1305 (2009). The California Court of Appeal held
that Farmers Insurance’s practice of levying a “service charge” on one-month auto insurance policies,
without specifying the charge in the policy, violated California’s Insurance Code.

Consumer Protection

    • Sanford v. MemberWorks, Inc., 483 F.3d 956 (9th Cir. 2007). In a telemarketing-fraud case, where
the plaintiff consumer insisted she had never entered the contractual arrangement that defendants said bound
her to arbitrate individual claims to the exclusion of pursuing class claims, the Ninth Circuit reversed an
order compelling arbitration – allowing the plaintiff to litigate on behalf of a class.

    • Benson v. Kwikset Corp., 152 Cal. App. 4th 1254 (2007). In the first published decision to apply
California’s “Made in the USA” statute, the California Court of Appeal ruled that the statute had been
violated and that judgment should be re-entered against Kwikset provided the plaintiff can satisfy
Proposition 64’s amendments to the Unfair Competition Law. The case is now pending now before the
California Supreme Court on the issue of whether the initiative’s new standing requirements were met.

    • Haw. Med. Ass'n v. Haw. Med. Serv. Ass'n, 148 P.3d 1179 (Haw. 2006). The Supreme Court of
Hawaii ruled that claims of unfair competition were not subject to arbitration and that claims of tortious
interference with prospective economic advantage were adequately alleged.

    • Branick v. Downey Sav. & Loan Ass’n, 39 Cal. 4th 235 (2006). Robbins Geller Rudman & Dowd
LLP attorneys were part of a team of lawyers that briefed this case at the Supreme Court of California. The
Court issued a unanimous decision holding that new plaintiffs may be substituted, if necessary, to preserve
actions pending when Proposition 64 was passed by California voters in 2004. Proposition 64 amended
California’s Unfair Competition Law and was aggressively cited by defense lawyers in an effort to dismiss
cases after the initiative was adopted.

    • McKell v. Washington Mut. Inc., 142 Cal. App. 4th 1457 (2006). The California Court of Appeal
reversed the trial court, holding that plaintiff’s theories attacking a variety of allegedly inflated mortgage
related fees were actionable.

     • West Corp. v. Super. Ct., 116 Cal. App. 4th 1167 (2004). The California Court of Appeal upheld the
trial court’s finding that jurisdiction in California was appropriate over the out-of-state corporate defendant
whose telemarketing was aimed at California residents. Exercise of jurisdiction was found to be in keeping
with considerations of fair play and substantial justice.

    • Ritt v. Billy Blanks Enters., 870 N.E.2d 212 (Ohio Ct. App. 2007). In the Ohio analog to the West
case, the Ohio Court of Appeals approved certification of a class of Ohio residents seeking relief under
Ohio’s consumer protection laws for the same telemarketing fraud.

  • Kruse v. Wells Fargo Home Mortgage, Inc., 383 F.3d 49 (2d Cir. 2004) and Santiago v. GMAC
Mortgage Group, Inc., 417 F.3d 384 (3d Cir. 2005). In two groundbreaking federal appellate decisions, the

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Second and Third Circuits each ruled that the Real Estate Settlement Practices Act prohibits marking up
home loan-related fees and charges.

    • Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496 (2003). The California Court of Appeal
issued an extensive opinion elaborating, for the first time in California law, the meaning of the “reasonable
consumer” standard. The Court announced a balanced approach that has enabled actions under California’s
leading consumer protection statutes when necessary to protect the public from acts of unfair business
competition.

    • Kasky v. Nike, Inc., 27 Cal. 4th 939 (2002). The California Supreme Court upheld claims that an
apparel manufacturer misled the public regarding its exploitative labor practices, thereby violating California
statutes prohibiting unfair competition and false advertising. The Court rejected defense contentions that
such misconduct was protected by the First Amendment.

    • Spielholz v. Superior Court, 86 Cal. App. 4th 1366 (2001). The California Court of Appeal held that
false advertising claims against a wireless communications provider are not preempted by the Federal
Communications Act of 1934.

    • Safeco Ins. Co. of Am. v. Super. Ct., 173 Cal. App. 4th 814 (2009). In a class action against auto
insurer Safeco, the California Court of Appeal agreed that the plaintiff should have access to discovery to
identify a new class representative after her standing to sue was challenged.

    • Koponen v. Pacific Gas & Electric, 165 Cal. App. 4th 345 (2008). The firm’s attorneys obtained a
published decision reversing the trial court’s dismissal of the action, and holding that the plaintiff’s claims
for damages arising from the utility’s unauthorized use of rights-of-way or easements obtained from the
plaintiff and other landowners were not barred by a statute limiting the authority of California courts to
review or correct decisions of the California Public Utilities Commission.

   • Consumer Privacy Cases, 175 Cal. App. 4th 545 (2009). The California Court of Appeal rejected
objections to a nationwide class action settlement benefiting Bank of America customers.




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                                         THE FIRM’S PARTNERS
MARIO ALBA earned his Bachelor of Science              Cir. 2005), reh’g denied, 409 F.3d 653 (5th Cir.
degree in Finance from St. John’s University, with     2005) (reversal of district court dismissal of
the distinction of being on the Dean’s List during     securities fraud complaint, focused on scienter);
three of his four years of attendance. Upon            and Pirraglia v. Novell, Inc., 339 F.3d 1182 (10th
completion of his undergraduate degree, Mr. Alba       Cir. 2003) (reversal of district court dismissal of
earned his Juris Doctor degree from the Hofstra        securities fraud complaint, focused on scienter).
University School of Law in 2002. During his law
school career, he was selected to participate in the   Ms. Alexander’s prior appellate work was with
Hofstra Moot Court Seminar and was an active           the California Appellate Project (“CAP”), where
member of the Student Bar Association. Mr. Alba        she prepared appeals and petitions for writs of
also studied abroad in Nice, France, where he          habeas corpus on behalf of individuals sentenced
studied under Judge Pierre Leval of the United         to death, as well as supervised private attorneys in
States Court of Appeals for the Second Circuit in      their preparation of appeals and habeas corpus
New York.                                              petitions. At CAP, and subsequently in private
                                                       practice, Ms. Alexander litigated and consulted on
During his summers between law school, Mr.             death penalty direct and collateral appeals for 10
Alba clerked at the Firm. His experience included      years. Representative results include In re Brown,
investigating and researching potential securities     17 Cal. 4th 873 (1998) (reversal of first degree
class actions and antitrust law suits.                 murder conviction, special circumstance finding,
                                                       and death penalty), and Odle v. Woodford, 238
Prior to joining Robbins Geller Rudman & Dowd          F.3d 1084 (9th Cir. 2001) (remand of death
LLP, Mr. Alba was involved in civil litigation in      penalty conviction for retrospective competency
the area of no-fault insurance as well as              hearing). Ms. Alexander was previously
contractual work.                                      associated with Bronson, Bronson & McKinnon,
                                                       where she litigated professional malpractice and
At the Firm, Mr. Alba is responsible for initiating,   product liability cases on behalf of attorneys,
investigating, researching and filing securities and   doctors, and automobile manufacturers, including
consumer fraud class actions. He is also an            defense verdicts in two jury trials.
integral member of a team that is in constant
contact with clients who wish to become actively       Ms. Alexander graduated with honors from
involved in the litigation of securities fraud. In     Stanford University in 1983 and earned her Juris
addition, Mr. Alba is active in all phases of the      Doctor degree from the University of California,
Firm’s lead plaintiff motion practice.                 Los Angeles in 1986. Ms. Alexander is a member
                                                       of the Bars of the State of California, the United
SUSAN K. ALEXANDER specializes in federal              States Supreme Court, the United States Court of
appeals of securities fraud class actions on behalf    Appeals, Second, Fifth, Eighth, Ninth, Tenth and
of investors. With over twenty years of federal        Eleventh Circuits, and the United States District
appellate experience, Ms. Alexander has argued         Courts for the Northern, Central, Eastern and
on behalf of defrauded investors in the Second,        Southern Districts of California and the District of
Fifth, Ninth, Tenth and Eleventh Circuits.             Utah. In 2009, Ms. Alexander was selected as an
Representative results include In re Gilead Scis.      appellate delegate to the Ninth Circuit Judicial
Sec. Litig., 536 F.3d 1049 (9th Cir. 2008)             Conference and is also a member of the Federal
(reversal of district court dismissal of securities    Bar Association, Appellate Division, as well as
fraud complaint, focused on loss causation);           the Appellate Practice Section of the Bar
Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th    Association of San Francisco.
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Ms. Alexander is married with three teenage            Navy’s Judge Advocate General’s Corps. In that
children.                                              capacity, Mr. Astley was the Senior Defense
                                                       Counsel for the Naval Legal Service Office Pearl
X. JAY ALVAREZ graduated from the University           Harbor Detachment where he was the lead trial
of California, Berkeley, with a Bachelor of Arts       defense counsel in numerous court-martials and
degree in Political Science in 1984. He earned his     oversaw the operations of a large Navy legal
Juris Doctor degree from the University of             department, including its attorneys and support
California, Berkeley, Boalt Hall, in 1987 and          staff. Mr. Astley currently holds the rank of
entered private practice in San Diego, California      Lieutenant.
that same year.
                                                       A substantial portion of Mr. Astley’s current
Mr. Alvarez served as an Assistant United States       practice is devoted to representing shareholders in
Attorney for the Southern District of California       actions brought under the federal securities laws.
from 1991-2003. As an Assistant United States
Attorney, Mr. Alvarez obtained extensive trial         Mr. Astley is admitted to practice law in Florida,
experience, including the prosecution of bank          California, and Washington, D.C.. He has been
fraud, money laundering, and complex narcotics         admitted to practice before the United States
conspiracy cases. During his tenure as an              Court of Appeals for the First and Eleventh
Assistant United States Attorney, Mr. Alvarez          Circuits, the Southern and Middle Districts of
also briefed and argued numerous appeals before        Florida, the United States Court of Appeals for the
the Ninth Circuit Court of Appeals.                    Armed Forces, and the United States Tax Court.
                                                       Mr. Astley is a licensed CPA in Florida.
At Robbins Geller Rudman & Dowd LLP, Mr.
Alvarez’s practice areas include securities fraud      A. RICK ATWOOD, JR. has successfully
litigation and other complex litigation.               represented shareholders in securities class
                                                       actions, merger-related class actions, and
STEPHEN R. ASTLEY earned his Bachelor of               shareholder derivative suits in federal and state
Science degree in Communication from Florida           courts in numerous jurisdictions, including
State University and his Masters degree in             Alabama, Arizona, California, Colorado,
Accounting from the University of Hawaii at            Delaware, Georgia, Hawaii, Illinois, Iowa, Idaho,
Manoa. He also attended the University of Miami        Kentucky, Maryland, Missouri, Nevada, New
School of Law where he earned his Juris Doctor         York, New Jersey, North Carolina, Oregon,
degree, cum laude. From 2002-2003, Mr. Astley          Pennsylvania, South Dakota, Tennessee, Texas,
clerked for the Honorable Peter T. Fay, U.S.           Utah, Virginia, Washington, and Washington,
Court of Appeals for the Eleventh Circuit.             D.C. Through his litigation efforts at both the
                                                       trial and appellate levels, Mr. Atwood has helped
Prior to joining Robbins Geller Rudman & Dowd          recover billions of dollars for public shareholders.
LLP, Mr. Astley was a senior associate with the
Miami office of Hunton & Williams, where he            Significant reported opinions include: Crandon
concentrated his practice on class action defense,     Capital Partners v. Shelk, 342 Ore. 555 (2007)
including securities class actions, and white collar   (reversing dismissal of action); Ind. State Dist.
criminal defense. Mr. Astley also represented          Council of Laborers and HOD Carriers Pension
numerous corporate clients accused of engaging         Fund v. Renal Care Group, Inc., No. 3:05-0451,
in unfair and deceptive practices.                     2005 U.S. Dist. LEXIS 24210 (M.D. Tenn. Aug.
                                                       18, 2005) (successfully obtaining remand of case
Prior to joining Hunton & Williams, Mr. Astley         improperly removed to federal court under the
was an active duty member of the United States         Class Action Fairness Act); Pipefitters Locals 522
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& 633 Pension Trust Fund v. Salem Commc'ns           hundreds of cases prosecuted by the Firm on
Corp., No. CV 05-2730-RGK (MCx), 2005 U.S.           behalf of hundreds of clients. Ms. Bandman
Dist. LEXIS 14202 (C.D. Cal. June 28, 2005)          received her Juris Doctor degree from the
(successfully obtaining remand of case improperly    University of Southern California and her
removed to federal court under the Securities        Bachelor of Arts degree in English from the
Litigation Uniform Standards Act of 1998); In re     University of California at Los Angeles.
Prime Hospitality, Inc. S'holders Litig., No. 652-
N, 2005 Del. Ch. LEXIS 61 (Del. Ch. May 4,           Using her extensive experience, Ms. Bandman
2005) (successfully objecting to unfair settlement   lectures and advises public and multi-employer
and thereafter obtaining $25 million recovery for    pension funds, fund managers, banks, hedge funds
shareholders); Ind. State Dist. Council of           and insurance companies, both domestically and
Laborers v. Brukardt, No. M2007-02271-COA-           internationally, on their options for seeking
R3-CV, 2009 Tenn. App. LEXIS 269 (Tenn. Ct.          redress for losses due to fraud sustained in their
App. Feb. 19, 2009) (reversing dismissal of          portfolios. These clients include various States
action); Pate v. Elloway, No. 01-03-00187-CV,        and Municipalities, as well as trades such as
2003 Tex. App. LEXIS 9681 (Tex. App. Houston         Teamsters, the Entertainment Industry, Sheet
1st Dist. Nov. 13, 2003) (upholding grant of class   Metal, Construction, Air Conditioning, Food and
certification and denial of motion to dismiss).      Hospitality, Nursing and Plumbers.

Mr. Atwood was born in Nashville, Tennessee in       Ms. Bandman has represented hundreds of
1965. In 1987, he earned a Bachelor of Arts          institutional investors, including domestic and
degree, with honors, in Political Science from the   non-U.S. investors in some of the largest and most
University of Tennessee at Knoxville. In 1988, he    successful shareholder actions ever prosecuted,
earned a Bachelor of Arts degree, with great         resulting in billions of dollars of recoveries, both
distinction, in Philosophy from the Katholieke       as private opt-out and class actions, and involving
Universiteit Leuven in Leuven, Belgium. Mr.          such companies as Enron, WorldCom, AOL Time
Atwood earned his Juris Doctor degree in 1991        Warner, Unocal and Boeing. Ms. Bandman
from Vanderbilt University Law School, where he      initiated the class action against Vivendi, which
served as Authorities Editor on the Vanderbilt       resulted in one of the first and most successful
Journal of Transnational Law. Mr. Atwood was         decisions recognizing a worldwide class of
admitted to the California Bar in 1991, and is       investors. Ms. Bandman was also instrumental in
licensed to practice before the United States        the landmark 1998 state settlement with the
District Courts for the Southern, Central, and       tobacco companies for $12.5 billion.
Northern Districts of California.
                                                     RANDALL J. BARON specializes in securities
RANDI D. BANDMAN is a partner in the Firm's          litigation, corporate takeover litigation and breach
New York office whose responsibilities include       of fiduciary duty actions. For more than a decade,
directing the prosecution of numerous complex        Mr. Baron has headed up a team of lawyers who
securities cases, such as In re BP plc Derivative    have been instrumental in shaping merger and
Litigation, a case brought to address the alleged    acquisition, and breach of fiduciary duty litigation
utter failure of BP to ensure the safety of its      throughout the country. By focusing on an in
operations in the U.S., which resulted in the        depth understanding of merger and acquisition
Deepwater Horizon oil spill, the worst               and breach of fiduciary duty law, an ability to
environmental disaster in history. Ms. Bandman       work under extreme time pressures and the
is also involved in the coordination of the Firm's   experience and willingness to take a case through
Institutional Investor Department and overseeing     trial, Mr. Baron has been responsible for obtaining
the quarterly litigation updates of the status of
                                                                      Robbins Geller Rudman & Dowd LLP
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hundreds of millions of dollars in additional            over 70 felony cases. From 1990-1994, Mr.
consideration for shareholders.                          Baron was part of the Special Investigation
                                                         Division of the Los Angeles District Attorneys
A few recent notable achievements include: In re         office, where he investigated and prosecuted
Chapparal Res., Inc. S’holder Litig., (Del. Ch.),        public corruption cases. Mr. Baron received his
where Mr. Baron was one of the lead trial counsel,       Bachelor of Arts degree from University of
resulted in a common fund settlement of $41              Colorado at Boulder in 1987 and his Juris Doctor
million (or 45% increase above merger price)             degree, cum laude, from the University of San
after a full trial and a subsequent mediation before     Diego School of Law in 1990.
the Delaware Chancellor. The Delaware Vice
Chancellor who presided over the trial noted that        DOUGLAS R. BRITTON was born in Los Angeles,
“the performance [of the attorneys on the case]          California, in 1968. Mr. Britton received his
was outstanding, and frankly, without the efforts        Bachelor of Business Administration degree from
of counsel, nothing would have been achieved.”           Washburn University in Topeka, Kansas in 1991
In re Prime Hospitality, Inc. S’holder Litig., (Del.     and his Juris Doctor degree, cum laude, from
Ch.), where Mr. Baron led a team of lawyers who          Pepperdine University Law School in 1996.
objected to a settlement that was unfair to the
class and proceeded to litigate breach of fiduciary      Mr. Britton was admitted to the Nevada Bar in
duty issues involving a sale of hotels to a private      1996 and to the California Bar in 1997. He is
equity firm. The litigation resulted in a common         admitted to practice in all of the state courts in
fund settlement of $25 million for shareholders.         California, as well as the United States District
As the Delaware Chancellor presiding over the            Courts for the Northern, Southern, Eastern and
case noted: “[H]ad it not been for the intervention      Central Districts of California.
of [Robbins Geller Rudman & Dowd LLP] . . .
there would not have been a settlement that would        Mr. Britton has been litigating securities class
have generated actual cash for the shareholders.”        action lawsuits since his admission to the Bar in
Dollar Gen. S’holder Litig. (Cir. Ct., Davidson          1996.     Mr. Britton has been involved in
County, Tenn.), where Mr. Baron was lead trial           settlements exceeding $1 billion and has secured
counsel and helped to secure a settlement of up to       significant corporate governance enhancements to
a $57 million in a common fund shortly before            improve corporate functioning.
trial. ACS S’holder Litig. (Dallas County Ct,
Dallas, Tex), where Mr. Baron led the                    LUKE O. BROOKS is a partner in the Firm's
negotiations and obtained significant concessions        securities litigation practice group. Mr. Brooks
from ACS’s acquirer, Xerox, by which                     earned his Bachelor of Arts degree from the
shareholders would not be locked out of receiving        University of Massachusetts at Amherst in 1997
more money from another buyer. The New York              and his Juris Doctor degree from the University of
Times Deal Professor deemed this result both “far        San Francisco in 2000, where he was a member of
reaching” and “unprecedented.” WorldCom Sec.             the University of San Francisco Law Review. In
Litig. (S.D.N.Y.), where Mr. Baron was one of the        1999, Mr. Brooks externed for the Honorable
lead attorneys representing over 60 public and           Vaughn R. Walker, United States District Court,
private institutional investors that filed and settled   Northern District of California.
individual actions.
                                                         Mr. Brooks focuses primarily on securities fraud
Formerly, Mr. Baron served as a Deputy District          litigation on behalf of individual and institutional
Attorney in Los Angeles County. From 1990-               investors, including state and municipal pension
1994, he was a trial deputy in numerous offices          funds, Taft-Hartley funds, and private retirement
throughout Los Angeles County, where he tried            and investment funds. Mr. Brooks was on the
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trial team that won a jury verdict in Jaffe v.          JOY ANN BULL received her Juris Doctor degree,
Household Int’l, No. 02-C-5893 (N.D. Ill.), a           magna cum laude, from the University of San
securities fraud class action against one of the        Diego in 1988. She was a member of the
world's largest subprime lenders. Although the          University of San Diego National Trial
litigation is ongoing, the Household verdict is         Competition Team and the San Diego Law
expected to yield in excess of $1 billion for the       Review. Ms. Bull focuses on the litigation of
plaintiff class.                                        complex securities and consumer class actions.

Mr. Brooks is admitted to all California courts,        For nine years, Ms. Bull has concentrated her
the United States District Court for the Northern,      practice in negotiating and documenting complex
Central and Southern Districts of California and        settlement agreements and obtaining the required
the Northern District of Illinois.                      court approval of the settlements and payment of
                                                        attorneys’ fees. These settlements include: In re
ANDREW J. BROWN received his Bachelor of Arts           Dole S’holders Litig., Case No. BC281949 (Cal.
degree from the University of Chicago in 1988           Super. Ct., Los Angeles County) ($172 million
and received his Juris Doctor degree from the           recovery plus injunctive relief); Lindmark v. Am.
University of California, Hastings College of Law       Express, Case No. 00-8658-JFW(CWx) (C.D.
in 1992. Upon passing the Bar, Mr. Brown                Cal.) ($38 million cash payment plus injunctive
worked as a trial lawyer for the San Diego County       relief); In re Disposable Contact Lens Antitrust
Public Defender's Office. In 1997, he opened his        Litig., MDL No. 1030 (M.D. Fla.) ($89 million);
own firm in San Diego, representing consumers           In re LifeScan, Inc. Consumer Litig., Case No. C-
and insureds in lawsuits against major insurance        98-20321-JF(EAI) (N.D. Cal.) ($45 million cash
companies. He joined Robbins Geller Rudman &            recovery); In re Bergen Brunswig Corp. Sec.
Dowd LLP's predecessor firm in 2000.                    Litig., Case No. SACV-99-1305-AHS(ANx)
                                                        (C.D. Cal.) ($27.9 million cash recovery); Hall v.
As a partner of the Firm, Mr. Brown prosecutes          NCAA, Case No. 94-2392-KHV (D. Kan.) (more
complex securities fraud and shareholder                than $70 million cash recovery); In re Glen Ivy
derivative actions against executives and               Resorts, Inc., Case No. SD92-16083MG (Banker.
corporations. His efforts have resulted in              Ct. C.D. Cal.) ($31 million cash recovery); and In
numerous multi-million dollar recoveries to             re Advanced Micro Devices Sec. Litig., Case No.
shareholders and precedent-setting changes in           C-93-20662-RPA(PVT) (N.D. Cal.) ($34 million
corporate practices. Recent examples include:           cash recovery).
Batwin v. Occam Networks, Inc., No. CV 07-
2750, 2008 U.S. Dist. LEXIS 52365 (C.D. Cal.            SPENCER A. BURKHOLZ received his Bachelor of
July 1, 2008); In re Constar Int’l, Inc. Sec. Litig.,   Arts degree in Economics, cum laude, from Clark
585 F. 3d 774 (3rd Cir. 2009); In re                    University in 1985, where he was elected to Phi
Unumprovident Corp. Sec. Litig., 396 F. Supp. 2d        Beta Kappa, and received his Juris Doctor degree
858 (E.D. Tenn. 2005); and In re UnitedHealth           from the University of Virginia School of Law in
Group Inc. PSLRA Litig., No. 06-CV-1691, 2007           1989. Mr. Burkholz specializes in securities class
U.S. Dist. LEXIS 94616 (D. Minn. Dec. 26,               actions and has been involved in some of the most
2007). Mr. Brown has been responsible for               high-profile cases in the nation in the past decade.
recovering more than a billion dollars for
defrauded investors.                                    Mr. Burkholz was one of the lead trial attorneys in
                                                        the high-profile Household securities class action
Mr. Brown is admitted to the Bars of California         case that resulted in a jury verdict on liability and
and the United States District Courts for all           per share damages in favor of investors in May
Districts in California.                                2009. Jaffe et al. v. HSBC. Mr. Burkholz has
                                                                         Robbins Geller Rudman & Dowd LLP
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also represented public and private institutional     He also clerked for Presiding Justice Daniel J.
investors in the Enron, WorldCom, Qwest, and          Kremer of the California Court of Appeal from
Cisco securities class actions, which have            1985-1987 and to Associate Justice Don R. Work
recovered billions of dollars for investors.          of the California Court of Appeal from 1984-
                                                      1985. He has co-authored No Single Cause:
Mr. Burkholz is a member of the California Bar        Juvenile Delinquency and the Search for Effective
and has been admitted to practice in numerous         Treatment (1985), and authored Comment, Equal
federal courts throughout the country.                Right of Access in Matters of Transboundary
                                                      Pollution: Its Prospects in Industrial and
JAMES CAPUTO has focused his practice on the          Developing Countries, 14 Cal. West. Intl. L. J.
prosecution of complex litigation involving           192 (1984). Mr. Caputo has also given numerous
securities fraud and corporate misfeasance,           presentations to various legal and professional
consumer actions, unfair business practices,          groups regarding complex and class action
contamination and toxic torts, and employment         litigation.
and labor law violations. He has successfully
served as lead or co-lead counsel in numerous         He is admitted to practice in the State of
class and consumer action litigation matters,         California and the United States District Courts
including, for example: In re S3 Sec. Litig., Case    for the Southern, Central and Northern Districts of
No. CV770003 (Super. Ct., Santa Clara Cty);           California, as well as numerous other
Santiago v. Kia Motors Am., Case No.                  jurisdictions. Mr. Caputo is a member of the San
01CC01438 (Super. Ct., Orange Cty); In re             Diego County and American Bar Associations,
Fleming Cos., Inc. Sec. and Deriv. Litig., Case       the Consumer Attorneys of California, and the
No. 03-MD-1530 (TJW) (E.D. Tex.); In re               Association of Trial Lawyers of America.
Capstead Mortgage Corp. Sec. Litig., Case No.
98-CV-1716 (N.D. Tex.); In re Valence Tech. Sec.      CHRIS COLLINS earned his Bachelor of Arts
Litig., Case No. C95-20459 (JW)(EAI) (N.D.            degree in History from Sonoma State University
Cal.); In re THQ, Inc. Sec. Litig., Master File No.   in 1988 and his Juris Doctor degree from Thomas
CV-00-01783-JFW (C.D. Cal.); and In re ICN            Jefferson School of Law. His practice areas
Pharm. Corp. Sec. Litig., Case No. SACV-95-           include antitrust and consumer protection. Mr.
0128 (C.D. Cal.).                                     Collins first joined the firm in 1994 and was a part
                                                      of the trial teams that successfully prosecuted the
Mr. Caputo was formerly a partner at Spector          tobacco industry. Mr. Collins left the firm and
Roseman & Kodroff. He was one of the trial            served as a Deputy District Attorney for the
counsel in the year-long trial of Newman v.           Imperial County where he was in charge of the
Stringfellow, a toxic exposure case involving         Domestic Violence Unit. Mr. Collins is currently
nearly 4,000 plaintiffs. That case ultimately         counsel on the California Energy Manipulation
settled for approximately $110 million. He was        antitrust litigation, the Memberworks upsell
co-trial counsel in an employment law class action    litigation, as well as a number of consumer
against Taco Bell, which settled for $14 million.     actions alleging false and misleading advertising
                                                      and unfair business practices against major
Mr. Caputo received a Bachelor of Science degree      corporations.
from the University of Pittsburgh in 1970 and a
Masters of Arts degree from the University of         Mr. Collins is a member of the American Bar
Iowa in 1975. In 1984, he received his Juris          Association, the Federal Bar Association, the
Doctor degree, magna cum laude, from California       California Bar Association, and the Consumer
Western School of Law, where he served as             Attorneys of California and San Diego.
Editor-In-Chief of the International Law Journal.
                                                                       Robbins Geller Rudman & Dowd LLP
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JOSEPH D. DALEY received his Juris Doctor             Jurisprudence      Award       in     Professional
degree from the University of San Diego School        Responsibility.
of Law. Mr. Daley is a member of the Firm's
Appellate Practice Group, where his practice          Mr. Daley was admitted to the California Bar in
concentrates on federal appeals. Precedents           1996. He is admitted to practice before the
include: Siracusano v. Matrixx Initiatives, Inc.,     Supreme Court of the United States, and the
585 F.3d 1167 (9th Cir. 2009); In re HealthSouth      United States Courts of Appeals for the First,
Corp. Secs. Litig., 2009 U.S. App. LEXIS 13035        Second, Third, Fourth, Fifth, Sixth, Seventh,
(11th Cir. June 17, 2009); Frank v. Dana Corp.,       Eighth, Ninth, Tenth, Eleventh and District of
547 F.3d 564, (6th Cir. 2008); Luther v.              Columbia Circuits.
Countrywide Home Loans Servicing LP, 533 F.3d
1031 (9th Cir. 2008); In re Merck & Co., Inc., 493    PATRICK W. DANIELS is a founding partner of the
F.3d 393 (3d Cir. 2007); In re Qwest Commc'ns         Firm and the global director of business
Int’l, 450 F.3d 1179 (10th Cir. 2006); DeJulius v.    development. He received his Bachelor of Arts
New England Health Care Employees Pension             degree from the University of California,
Fund, 429 F.3d 935 (10th Cir. 2005); Southland        Berkeley, cum laude, and his Juris Doctor degree
Sec. Corp. v. INSpire Ins. Solutions Inc., 365 F.3d   from the University of San Diego School of Law.
353 (5th Cir. 2004).
                                                      Mr. Daniels is widely recognized as a leading
Mr. Daley is a past editor of the award-winning       corporate governance and investor advocate. The
Federal Bar Association Newsletter (San Diego         Editorial Board of the preeminent legal publisher
chapter) and has served as the Chair of San           in California named Mr. Daniels one of the 20
Diego's Co-operative Federal Appellate                most influential lawyers in the state under 40
Committees (“COFACS”).            Mr. Daley co-       years of age. And Yale School of Management’s
authored What's Brewing in Dura v. Broudo? The        Millstein Center for Corporate Governance &
Plaintiffs' Attorneys Review the Supreme Court's      Performance awarded Mr. Daniels its “Rising Star
Opinion and Its Import for Securities-Fraud           of Corporate Governance” for his outstanding
Litigation, 37 Loy. U. Chi. L.J. 1 (2005), and The    leadership in shareholder advocacy and activism.
Nonretroactivity of the Private Securities
                                                      Mr. Daniels is an advisor to political and financial
Litigation Reform Act of 1995, 25 Sec. Regulation
                                                      leaders throughout the world. He counsels state
L.J. 60 (1997), reprinted in 3 Sec. Reform Act
                                                      government pension funds, central banks and fund
Litig. Rep. 258 (1997) and 25 RICO L. Rep. 819
                                                      managers in the United States, Australia, United
(1997).
                                                      Arab Emirates, United Kingdom, the Netherlands
While attending law school, Mr. Daley was a           and other countries within the European Union on
member of the USD Appellate Moot Court Board          issues related to corporate fraud in the United
and received several awards for written and oral      States securities markets and “best practices” in
advocacy, including: Order of the Barristers,         the corporate governance of publicly traded
Roger J. Traynor Constitutional Law Moot Court        companies. Mr. Daniels has represented dozens
Competition (Best Advocate Award); Philip C.          of institutional investors in some of the largest
Jessup International Law Moot Court Competition       and most significant shareholder actions in the
(United States National Champions); USD               United States, including, UBS, Enron,
Alumni Torts Moot Court Competition (First            WorldCom, AOL Time Warner and BP, to name
Place Overall and Best Brief); the USD Jessup         just a few.
International Law Moot Court Competition (First
                                                      In advancing international standards on human
Place Overall and Best Brief); and the American
                                                      rights, Mr. Daniels was a lead counsel in an
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international coalition of attorneys and human          shareholders of public corporations whose shares
rights groups that won a historic settlement with       were to be acquired through leveraged buyouts,
major United States clothing retailers and              mergers, tender offers, and other “change of
manufacturers, including The Gap, Ralph Lauren,         control” transactions, as well as derivative
Donna Karan and Calvin Klein, on behalf of a            lawsuits filed against corporate boards, seeking to
class of over 50,000 predominantly female               impose corporate governance reforms aimed at
Chinese garment workers on the island of Saipan         protecting shareholders and eliminating corporate
in an action seeking to hold the Saipan garment         waste and abuse. Mr. Davidson also represented
industry responsible for creating a system of           consumers in numerous cases in which allegations
indentured servitude and forced labor in the            of consumer fraud and deceptive trade practices
island’s garment factories. The coalition obtained      were alleged.
an unprecedented agreement for supervision of
working conditions in the Saipan factories by an        Prior to joining Geller Rudman, Mr. Davidson
independent NGO, as well as a substantial multi-        was an associate at a private law firm in Boca
million dollar compensation award for the               Raton, Florida, where he gained substantial
workers.                                                experience in all aspects of securities litigation,
                                                        including, among other things, SEC and NASD
Mr. Daniels is based at the Firm’s headquarters in      enforcement proceedings, securities regulatory
San Diego and is also a managing partner of the         proceedings by state and self-regulatory
Firm's Manhattan office.                                organizations, federal criminal securities fraud
                                                        prosecutions, federal securities appellate
STUART A. DAVIDSON is admitted to practice law          litigation, and NASD customer arbitration
in the state courts of Florida, as well as the United   proceedings, as well as acting as counsel for
States District Courts for the Southern, Middle,        court-appointed receivers in complex federal
and Northern Districts of Florida, the Northern         securities and franchise litigation proceedings. In
District of Texas, the Northern District of Indiana,    addition, Mr. Davidson is an experienced trial
the Third, Eighth, Tenth and Eleventh Circuit           lawyer, having been a former lead assistant public
Courts of Appeals, and the United States Supreme        defender in the Felony Division of the Broward
Court.                                                  County, Florida Public Defender’s Office. During
                                                        his tenure at the Public Defender’s Office, Mr.
Mr. Davidson earned his Bachelor of Arts degree         Davidson tried over 30 jury trials, conducted
in Political Science from the State University of       hundreds of depositions, handled numerous
New York at Geneseo. He then earned his Juris           evidentiary hearings, engaged in extensive motion
Doctor degree, summa cum laude, from Nova               practice, and defended individuals charged with
Southeastern University Shepard Broad Law               major crimes ranging from third-degree felonies
Center, where he graduated in the top 3% of his         to life and capital felonies.
class. At Nova Law, he was an Associate Editor
of the Nova Law Review, and was the recipient of        A substantial portion of Mr. Davidson’s time is
Book Awards (highest grade) in Trial Advocacy,          currently devoted to the representation of
Criminal Pretrial Practice, and International Law.      investors in class actions involving mergers and
                                                        acquisitions and in prosecuting derivative lawsuits
Before joining the Firm in 2004, Mr. Davidson           on behalf of public corporations. Mr. Davidson is
was an associate with the law firm of Geller            also actively involved in prosecuting a number of
Rudman, PLLC in Boca Raton, Florida, where he           consumer fraud cases throughout the nation. Mr.
also concentrated his practice on the prosecution       Davidson recently served as class counsel in
of class actions. At Geller Rudman, Mr.                 Kehoe v. Fidelity Federal Bank & Trust, a
Davidson handled numerous cases on behalf of            consumer class action alleging privacy violations
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filed in the Southern District of Florida, which       same year. He was admitted to practice in New
was settled for $50 million. In addition, Mr.          York in 1985 and in California in 1988.
Davidson currently serves as court-appointed co-
lead counsel in In re Pet Food Products Liability      Mr. Dowd served as an Assistant United States
Litigation, a multidistrict consumer class action      Attorney in the Southern District of California
pending in the District of New Jersey, where Mr.       from 1987-1991 and again from 1994-1998. As
Davidson represents thousands of aggrieved pet         an Assistant United States Attorney, Mr. Dowd
owners nationwide against some of the nation's         obtained extensive trial experience, including the
largest pet food manufacturers, distributors and       prosecution of bank fraud, bribery, money
retailers.                                             laundering and narcotics cases. He is a recipient
                                                       of the Director’s Award for Superior Performance
JASON C. DAVIS graduated from the University           as an Assistant United States Attorney. Mr.
of California at Berkeley School of Law, Boalt         Dowd has been responsible for prosecuting
Hall in 2002, where he won a Moot Court brief          complex securities cases and obtaining recoveries
writing award, several examination awards, and         for investors, including cases involving AOL
was a teaching fellow. In 2000, Mr. Davis was an       Time Warner, UnitedHealth Group, WorldCom,
extern to Chief Judge Marilyn Hall Patel, U.S.         Qwest, Vesta, U.S. West and Safeskin. Mr. Dowd
District Court, Northern District of California. In    was the lead lawyer for the Robbins Geller
1998, he graduated summa cum laude, with               Rudman & Dowd LLP trial team in In re AT&T
honors, from the Maxwell School of Citizenship         Corp. Sec. Litig., which was tried in the District of
and Public Affairs at Syracuse University, where       New Jersey and settled after two weeks of trial for
he was the International Relations Scholar of the      $100 million. In 2009, Mr. Dowd, with his
Year.                                                  partners Spencer Burkholz and Daniel Drosman,
                                                       tried Jaffe v. Household International in the
Mr. Davis is a member of the New York State Bar        Northern District of Illinois, in which the jury
and California State Bar. His practice focuses on      returned a verdict for plaintiffs on liability and an
securities class actions and complex litigation        award of per share damages. Although the
involving equities, fixed-income, synthetic and        litigation is ongoing, the Household verdict is
structured securities issued in public and private     expected to yield in excess of $1 billion for the
transactions. Mr. Davis was on the trial team that     plaintiff class. Mr. Dowd also participated in the
won a unanimous jury verdict in a class action         prosecution of the Firm’s tobacco cases.
against one of the world’s largest subprime
lenders in Jaffe v. Household Int'l, Inc., No. 02-C-   TRAVIS E. DOWNS III areas of expertise include
5893 (N.D. Ill.). Previously, Mr. Davis focused        prosecution of shareholder and securities
on cross-border transactions, mergers and              litigation, including shareholder derivative
acquisitions at Cravath, Swaine and Moore LLP          litigation on behalf of corporations and
in New York and O'Melveny and Myers LLP in             shareholders injured by wayward corporate
San Francisco.                                         fiduciaries. Recently, Mr. Downs lead a team of
                                                       lawyers who successfully prosecuted over sixty-
MICHAEL J. DOWD graduated from Fordham                 five stock option backdating derivative actions in
University, magna cum laude, with a Bachelor of        federal and state courts across the country,
Arts degree in History and Latin in 1981. While        resulting in hundreds of millions in financial
at Fordham, he was elected to Phi Beta Kappa.          givebacks for the plaintiffs and extensive
He earned his Juris Doctor degree from the             corporate governance enhancements, including
University of Michigan School of Law in 1984           annual directors elections, majority voting for
and entered private practice in New York that          directors and shareholder nomination of directors.

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Mr. Downs specializes in shareholder derivative         practice focuses on securities fraud litigation and
and class action litigation, and has helped recover     other complex civil litigation. Mr. Drosman is
hundreds of millions of dollars for corporations        admitted to practice in New York and California
and shareholders injured by faithless corporate         and before federal courts throughout those states.
fiduciaries. Mr. Downs has extensive experience
in federal and state shareholder litigation.            Mr. Drosman is a native San Diegan who received
Recently, he lead a team of lawyers who                 his Bachelor of Arts degree in Political Science
successfully prosecuted over sixty-five stock           from Reed College in 1990, with honors, and was
option backdating derivative actions pending in         a member of Phi Beta Kappa. He received his
state and federal courts across the country,            Juris Doctor degree from Harvard Law School in
including: In re Marvell Tech. Group, Inc. Deriv.       1993. Following graduation from law school, Mr.
Litig. ($54 million in financial relief and extensive   Drosman served for three years as an Assistant
corporate governance enhancements); In re               District Attorney for the Manhattan District
McAfee, Inc. Deriv. Litig. ($30 million in financial    Attorney’s Office. While there, Mr. Drosman
relief and extensive corporate governance               served in both the appellate section, where he
enhancements); In re Affiliated Computer Servs.,        briefed and argued over 25 cases to the New York
Inc. Deriv. Litig. ($30 million in financial relief     appellate courts, and in the trial section, where he
and      extensive       corporate        governance    prosecuted a wide variety of street crime.
enhancements); In re KB Home Deriv. Litig. ($30
million in financial relief and extensive corporate     From 1996-1997, Mr. Drosman was an associate
governance enhancements); In re Juniper Network         in the New York office of Weil Gotshal &
Deriv. Litig. ($22.7 million in financial relief and    Manges, where he concentrated his practice in
extensive corporate governance enhancements);           civil litigation and white-collar criminal defense.
and In re Nvidia Corp. Deriv. Litig. ($15 million
in financial relief and extensive corporate             In 1997, Mr. Drosman returned to San Diego and
governance enhancements).                               became an Assistant United States Attorney in the
                                                        Southern District of California. In the Southern
Mr. Downs was born in Quonset Point, Rhode              District, Mr. Drosman tried cases before the
Island in 1963. In 1985, he earned a Bachelors of       United States District Court and briefed and
Arts, with honors, in History from Whitworth            argued numerous appeals before the Ninth Circuit
University in Spokane, Washington. After                Court of Appeals. He was a member of the border
college, Mr. Downs worked at Procter & Gamble.          crimes unit, where he was assigned to investigate
In 1990, Mr. Downs earned a Juris Doctor from           and prosecute violations of the federal narcotics
the University of Washington School of Law in           and immigration laws and official corruption
Seattle, Washington. Mr. Downs was admitted to          cases. During his tenure as an Assistant United
the California Bar in 1990, and is admitted to          States Attorney, Mr. Drosman received the
practice before the United States District Courts       Department of Justice Special Achievement
for the Central, Eastern, Northern and Southern         Award in recognition of sustained superior
Districts of California. Mr. Downs is a frequent        performance of duty.
speaker at conferences and seminars and has
lectured on a variety of topics related to              Mr. Drosman’s practice involves representing
shareholder derivative and class action litigation.     defrauded investors in securities class actions, an
                                                        area in which he has co-authored a law journal
DANIEL DROSMAN is a partner with Robbins                article.
Geller Rudman & Dowd LLP. He is a former
federal prosecutor with extensive litigation            THOMAS E. EGLER was born in Pittsburgh,
experience before trial and appellate courts. His       Pennsylvania in 1967. Mr. Egler received his
                                                                         Robbins Geller Rudman & Dowd LLP
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Bachelor of Arts degree from Northwestern             both in 2002 and again in 2005. In July 2006, as
University in 1989. Mr. Egler received his Juris      well as July 2003, Mr. Geller was featured in
Doctor degree in 1995 from Catholic University        Florida Trend magazine as one of Florida’s
of America, Columbus School of Law, where he          “Legal Elite.” Mr. Geller was featured in the
served as Associate Editor for Catholic University    South Florida Business Journal as one of Florida's
Law Review from 1994-1995. From 1995-1997,            top lawyers, and named one of the nation’s top
Mr. Egler was a law clerk to the Honorable            500 lawyers by Lawdragon in August 2006 and
Donald E. Ziegler, Chief Judge, United States         again in May 2010. In June 2007, Mr. Geller was
District Court, Western District of Pennsylvania.     selected by Law & Politics as one of Florida’s top
                                                      lawyers.
Mr. Egler was admitted to the California Bar in
1995 and the Pennsylvania Bar in 1996. He is          Mr. Geller is rated AV by Martindale-Hubbell
admitted to practice before the United States         (the highest rating available) and has served as
District Courts for the Western District of           lead or co-lead counsel in a majority of the
Pennsylvania, the Northern, Southern and Central      securities class actions that have been filed in the
Districts of California and the United States Court   southeastern United States in the past several
of Appeals for the Third and Eleventh Circuits.       years, including cases against Hamilton Bancorp
                                                      ($8.5 million settlement); Prison Realty Trust (co-
PAUL J. GELLER received his Bachelor of Science       lead derivative counsel, total combined settlement
degree in Psychology from the University of           of over $120 million); and Intermedia Corp. ($38
Florida, where he was a member of the University      million settlement). Mr. Geller recently served as
Honors Program. Mr. Geller earned his Juris           one of the court-appointed lead counsel in cases
Doctor degree, with Highest Honors, from Emory        involving the alleged manipulation of the asset
University School of Law. At Emory, Mr. Geller        value of some of the nation's largest mutual funds,
was an Editor of the Law Review, was inducted         including Hicks v. Morgan Stanley & Co.; Abrams
into the Order of the Coif legal honor society, and   v. Van Kampen Funds, Inc.; and In Re Eaton
was awarded multiple American Jurisprudence           Vance Sec. Litig. ($51.5 million aggregate
Book Awards for earning the highest grade in the      settlements).
school in a dozen courses.
                                                      Mr. Geller is also heavily involved in corporate
After spending several years representing blue        governance litigation. For example, Mr. Geller
chip companies in class action lawsuits at one of     recently represented a shareholder of Applica, Inc.
the largest corporate defense firms in the world,     who was concerned with allegedly reckless
Mr. Geller became a founding partner and head of      acquisitions made by the company. Mr. Geller
the Boca Raton office of a national class action      and his partners secured a settlement that required
boutique firm, Geller Rudman, PLLC. In July           Applica, Inc. to establish a new independent
2004, through a merger of the firms, Mr. Geller       Acquisitions Committee charged with conducting
opened the Boca Raton, Florida office of Robbins      due diligence and approving future acquisitions,
Geller Rudman & Dowd LLP.                             even though such a committee is not required by
                                                      SEC regulations. In another corporate governance
In May 2005, Mr. Geller was selected by The           lawsuit, Mr. Geller and his co-counsel challenged
National Law Journal (“NLJ”) as one of the            the independence of certain members of a Special
nation’s top “40 Under 40” – an honor bestowed        Committee empaneled by Oracle Corp. to look
upon 40 of the country’s top lawyers under the        into certain stock sales made by its Chairman and
age of 40. The NLJ previously compiled its “40        CEO, Larry Ellison. After Delaware Chancery
Under 40” list in July 2002, and Mr. Geller is the    Court Vice Chancellor Leo E. Strine issued an
only lawyer in the country selected for inclusion     Order agreeing that the Special Committee was
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“fraught with conflicts,” The Wall Street Journal    Bar Association (former Co-Chair of Pro Bono
called the decision “one of the most far-reaching    Committee).
ever on corporate governance.”
                                                     DAVID J. GEORGE earned his Bachelor of Arts
Mr. Geller has also successfully represented         degree in Political Science from the University of
consumers in class action litigation. He recently    Rhode Island, summa cum laude. Mr. George
settled Kehoe v. Fidelity Fed., a consumer class     then graduated at the top of his class at the
action alleging privacy violations filed in the      University of Richmond School of Law. At the
Southern District of Florida, for $50 million. He    University of Richmond, Mr. George was a
was personal counsel to the lead plaintiff in        member of the Law Review, was the President of
Stoddard v. Advanta, a case that challenged the      the McNeill Law Society/Order of the Coif, and
adequacies of interest rate disclosures by one of    earned numerous academic awards, including
the nation's largest credit card companies ($11      outstanding academic performance in each of his
million settlement), and was personal counsel to     three years there and outstanding graduate.
one of the lead plaintiffs in the American Family
Publishers sweepstakes litigation, which alleged     Before joining the Firm, Mr. George, who is AV
that the defendant misled consumers into thinking    rated by Martindale-Hubbell (the highest rating
they would win a lottery if they purchased           available), was a partner in the Boca Raton office
magazine subscriptions ($38 million settlement).     of Geller Rudman, PLLC. Mr. George, a zealous
                                                     advocate of shareholder rights, has been lead
Mr. Geller is currently representing Emergency       and/or co-lead counsel with respect to various
Room physicians in Florida who are suing four of     securities class action matters, including: In Re
the nation’s largest HMOs for improper payment       Cryo Cell Int’l, Inc. Sec. Litig. ($7 million
calculations. The four related cases have been       settlement); In Re TECO Energy, Inc. Sec. Litig.
through numerous appeals. After Mr. Geller’s         ($17.35 million settlement); In Re Newpark Res.,
most recent appellate victory in the case, he was    Inc. Sec. Litig. ($9.24 million settlement); In Re
presented an award by the America Law Media’s        Mannatech, Inc. Sec. Litig. ($11.5 million
Daily Business Review and named one of               settlement); Reese v. The McGraw Hill
“Florida’s Most Effective Lawyers” in 2006.          Companies, Inc. (S.D.N.Y.); and Kuriakose v.
                                                     Fed. Home Loan Mtg. Co. (S.D.N.Y.). Mr.
During the past few years, several of Mr. Geller's   George has also acted as lead counsel in
cases have received regional and national press      numerous consumer class actions, including:
coverage. Mr. Geller has appeared on CNN             Lewis v. Labor Ready, Inc. ($11 million
Headline News, CNN Moneyline with Lou                settlement); In Re Webloyalty, Inc. Mktg. and
Dobbs, ABC, NBC and FOX network news                 Sales Practices Litig. ($10 million settlement); In
programs. Mr. Geller is regularly quoted in the      Re Navisite Migration Litigation ($1.7 million
financial press, including The New York Times,       settlement); and various cases regarding the
The Wall Street Journal, The Washington Post         Pinecastle Bombing Range (Mo. and Fla. District
and BusinessWeek.                                    Courts, and Fla. State Court). Mr. George was
                                                     also a member of the litigation team in In Re
Mr. Geller has been or is a member of the            UnitedHealth Group, Inc. ($925.5 million
Association of Trial Lawyers of America, the         settlement). Before joining Geller Rudman, Mr.
Practicing Law Institute, the American Bar           George spent more than a decade as a commercial
Association, the Palm Beach County Bar               litigator with two of the largest corporate law
Association (former Member of Bar Grievance          firms in the United States. During that time, Mr.
Committee) and the South Palm Beach County           George aggressively prosecuted and defended a
                                                     wide array of complex commercial litigation
                                                                      Robbins Geller Rudman & Dowd LLP
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matters, including securities class action matters,    Mr. Goldstein is admitted to practice in Colorado
non-compete litigation, fraud claims, and real         (1995) and California (1997).
estate-based litigation matters.
                                                       BENNY C. GOODMAN III'S concentrates his
In 2007, Mr. George was named one of Florida's         practice in shareholder derivative actions and
Most Effective Corporate/Securities Lawyers, and       securities class actions.
was the only plaintiffs' securities class action
counsel recognized.                                    Most recently, Mr. Goodman achieved
                                                       groundbreaking settlements as lead counsel in a
Mr. George is licensed to practice law in the state    number of shareholder derivative actions related
courts of Florida, as well as the United States        to stock option backdating by corporate insiders.
District Courts for the Southern, Middle, and          Notable among Mr. Goodman’s recent backdating
Northern Districts of Florida, and the First and       settlements are: In re KB Home S’holder Deriv.
Fifth Circuit Courts of Appeal. Mr. George is          Litig., No. CV-06-05148-FMC (C.D. Cal.)
currently, or has been, a member of the American       (extensive corporate governance changes, over
Bar Association, the Federal Bar Association, the      $80 million cash back to the company); In re
Academy of Florida Trial Lawyers, the Palm             Affiliated Computer Servs. Deriv. Litig., No. 06-
Beach County Bar Association, and the Southern         CV-1110-M (N.D. Tex.) ($30 million); Gunther v.
Palm Beach County Bar Association.                     Tomasetta, et al., No. 06-CV-02529-R (C.D. Cal.)
                                                       (corporate governance overhaul, including
JONAH H. GOLDSTEIN is a partner with Robbins           shareholder nominated directors, and cash
Geller Rudman & Dowd LLP. Formerly, Mr.                payment to Vitesse from corporate insiders).
Goldstein was an Assistant United States Attorney
in the United States Attorney’s Office for the         Mr. Goodman also recently earned a landmark
Southern District of California, where he obtained     ruling from the Washington State Supreme Court.
extensive trial experience (including a seven-         In In re F5 Networks, Inc. Deriv. Litig., 166
defendant 11-week trial), and briefed and argued       Wn.2d 229 (Wash. 2009), the Washington
appeals before the Ninth Circuit Court of Appeals.     Supreme Court held that Washington applies
Mr. Goldstein has been responsible for                 Delaware’s demand futility standard rather than
prosecuting complex securities cases and               requiring universal demand as advocated by
obtaining recoveries for investors. Mr. Goldstein      defendants. Additionally, the Court held that the
was a member of the Firm’s trial team in In re         reasoning found in Ryan v. Gifford, 918 A.2d 341
AT&T Corp. Sec. Litig., No. 3:00-CV-5364,              (Del. Ch. 2007) regarding demand futility in a
which was tried in the United States District Court    stock option backdating case “follows naturally
for the District of New Jersey and settled after two   from Delaware's demand futility standard” and
weeks of trial for $100 million.                       should be applied in Washington courts.

Mr. Goldstein graduated from Duke University           Mr. Goodman also represented over 60 public and
with a Bachelor of Arts degree in Political            private institutional investors that filed and settled
Science in 1991. He received his Juris Doctor          individual actions in the WorldCom securities
degree from the University of Denver College of        litigation.       Additionally, Mr. Goodman
Law in 1995, where he was the Notes &                  successfully litigated several other notable
Comments Editor of the University of Denver Law        securities class actions against companies such as
Review. Following graduation from law school,          Infonet Services Corporation, Global Crossing,
Mr. Goldstein served as a law clerk for the            and Fleming Companies, Inc., each of which
Honorable William H. Erickson on the Colorado          resulted in significant recoveries for shareholders.
Supreme Court.
                                                                         Robbins Geller Rudman & Dowd LLP
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On the human rights front, Mr. Goodman was             JOHN K. GRANT was born in Provo, Utah in
counsel for a class of over 50,000 Chinese             1961. Mr. Grant received his Bachelor of Arts
garment workers on the island of Saipan in the         degree from Brigham Young University in 1988
Commonwealth of the Northern Mariana Islands           and his Juris Doctor degree from the University of
who were being forced to work as indentured            Texas at Austin in 1990. Mr. Grant was admitted
servants. The lawsuit resulted in a historic           to the California Bar in 1994.
settlement with major United States clothing
retailers and manufacturers, including The Gap,        KEVIN K. GREEN represents defrauded investors
Ralph Lauren, Donna Karan and Calvin Klein that        and consumers in the appellate courts. Mr. Green
included an agreement providing independent            is a partner in the Appellate Practice Group and a
supervision of working conditions in Saipan            Certified Appellate Specialist, State Bar of
garment factories and multi-million dollar             California Board of Legal Specialization. Mr.
compensation for unpaid overtime work                  Green also assists the Firm’s trial litigators with
performed by class members.                            briefing and strategy.

Mr. Goodman earned his Bachelor of Science in          Mr. Green received his Bachelor of Arts degree,
Management Systems from Arizona State                  with honors and distinction, from the University
University in 1994, and his Juris Doctor degree        of California at Berkeley in 1989. He took his
from the University of San Diego in 2000. Mr.          Juris Doctor degree from Notre Dame Law
Goodman is admitted to practice in the all             School, and was admitted to the California Bar, in
California and the District of Columbia courts as      1995. Before entering practice, Mr. Green served
well as the United States Courts of Appeal for the     as law clerk to the Honorable Theodore R. Boehm
Sixth and Seventh Circuits.                            (Supreme Court of Indiana) and the Honorable
                                                       Barry T. Moskowitz (United States District Court,
ELISE J. GRACE is a partner in the Firm's San          Southern District of California).
Diego office and is responsible for advising the
Firm's state and government pension fund clients       After briefing and arguing appeals and writs in
on issues related to securities fraud and corporate    jurisdictions across the country, Mr. Green was
governance. Ms. Grace currently serves as the          named a San Diego Super Lawyer (2008-present).
Editor-in-Chief of the Firm's Corporate                Published decisions in which he played a
Governance Bulletin and is a frequent lecturer on      substantial role include: Fox v. JAMDAT Mobile,
securities fraud, shareholder litigation and options   Inc., 185 Cal. App. 4th 1068 (2010); In re F5
for institutional investors seeking to recover         Networks, Inc., 207 P.3d 433 (Wash. 2009);
losses caused by securities and accounting fraud.      Safeco Ins. Co. of Am. v. Super. Ct., 173 Cal. App.
Ms. Grace has significant experience prosecuting       4th 814 (2009); Smith v. Am. Family Mut. Ins.
securities fraud class actions and was a member of     Co., 289 S.W.3d 675 (W.D. Mo. 2009); Troyk v.
the litigation team that secured a combined $629       Farmers Group, Inc., 171 Cal. App. 4th 1305
million for defrauded shareholders in the AOL          (2009); Alaska Elec. Pension Fund v. Brown, 941
Time Warner state and federal securities opt-out       A.2d 1011 (Del. 2007); Ritt v. Billy Blanks Enter.,
litigations. Prior to joining the Firm, Ms. Grace      870 N.E.2d 212 (Ohio Ct. App. 2007); McKell v.
was an associate at Brobeck Phleger & Harrison         Wash. Mut., Inc., 142 Cal. App. 4th 1457 (2006);
LLP and Clifford Chance LLP, where she                 In re Guidant S’holders Deriv. Litig., 841 N.E.2d
defended various Fortune 500 companies in              571 (Ind. 2006); Denver Area Meat Cutters &
securities class actions and complex business          Employers Pension Plan v. Clayton, 209 S.W.3d
litigation.                                            584 (Tenn. Ct. App. 2006); Lebrilla v. Farmers
                                                       Group, Inc., 119 Cal. App. 4th 1070 (2004); West
                                                       Corp. v. Super. Ct., 116 Cal. App. 4th 1167
                                                                        Robbins Geller Rudman & Dowd LLP
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(2004); and Lavie v. Procter & Gamble Co., 105        Santa Clara University Leavey School of Business
Cal. App. 4th 496 (2003).                             in 2002.

Beyond his appellate practice, Mr. Green is active    Prior to joining the Firm, Mr. Greenstein was a
in professional activities. Mr. Green has served in   judicial extern for the Honorable James Ware,
the leadership of the Appellate Court Committee       United States District Court, Northern District of
of the San Diego County Bar Association (Chair,       California.        He      also    worked      for
2010; Vice Chair, 2009; and Chair, Civil Rules        PricewaterhouseCoopers LLP in its International
Subcommittee, 2007-2008). Mr. Green also sat on       Tax and Legal Services division, and clerked on
the State Bar of California Committee on              the trading floor of the Chicago Mercantile
Appellate Courts (2006-2009). In addition, Mr.        Exchange in the S&P 500 index futures and
Green is a member of Consumer Attorneys of            options division. Mr. Greenstein co-authored
California (Amicus Curiae Committee), State Bar       Post-Enron: Auditor Independence, Regulation
of California Antitrust and Unfair Competition        and Disclosure, published in the Practising Law
Law Section, California Supreme Court Historical      Institute's Hot Securities Litigation Issues in a
Society, American Constitution Society, Federal       Down Economy (2002).
Bar Association and Bench-Bar Coalition. Past
speaking engagements include: State Bar of            Mr. Greenstein's primary practice area is
California 82nd Annual Meeting (September             securities fraud litigation on behalf of individual
2009, Moderator for “Preparing an Appellate           and institutional investors. His clients include
Record: As Important as the Brief?”); and             state, county and municipal pension funds, Taft-
Consumer Attorneys of California 47th Annual          Hartley funds, and private retirement and
Convention (November 2008, Employment                 investment funds. He has been a member of the
Litigation Panel).                                    California Bar since 2001 and is admitted to
                                                      practice in all California state courts, as well as
In the publication area, Mr. Green has authored       federal courts in the Northern, Central and Eastern
three articles: A Tool for Mischief: Preemptive       Districts of California and the Northern District of
Defense Motions Under BCBG Overtime Cases to          Illinois.
Reject Class Certification, Forum (Vol. 38, No. 7,
Jan./Feb. 2009) (with Kimberly A. Kralowec);          TOR GRONBORG was born in Portland, Oregon in
The Unfair Competition Law After Proposition          1969. Mr. Gronborg received his Bachelor of Arts
64: The California Supreme Court Speaks,              degree in 1991 from the University of California
Journal of Competition (Vol. 15, No. 2,               at Santa Barbara and was a recipient of an AFL-
Fall/Winter 2006); and A Vote Properly Cast? The      CIO history scholarship. In 1992, Mr. Gronborg
Constitutionality of the National Voter               did graduate work in international relations and
Registration Act of 1993, 22 Journal of               strategic studies at the University of Lancaster,
Legislation 45 (1996).                                United Kingdom on a Rotary International
                                                      Fellowship. Mr. Gronborg received his Juris
ELI GREENSTEIN is a partner in the Firm's             Doctor degree in 1995 from Boalt Hall at the
securities litigation practice group.         Mr.     University of California at Berkeley where he was
Greenstein received his Bachelor of Arts degree in    a member of the Moot Court Board.
Business Administration in 1997 from the
University of San Diego, where he was a               Since 1997, Mr. Gronborg has worked on
Presidential Scholar. In 2001, Mr. Greenstein         securities fraud actions and has been lead or co-
received his Juris Doctor degree from Santa Clara     lead litigation counsel in cases that have
University School of Law. He also received a          recovered more than $1 billion, including: In re
Master of Business Administration degree from         Cardinal Health, Inc. Sec. Litig. ($600 million);
                                                                       Robbins Geller Rudman & Dowd LLP
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In re Prison Realty Sec. Litig. ($104 million); In       backdating litigation); and In re TD Banknorth
re Accredo Health, Inc. Sec. Litig. ($33 million);       S’holders Litig. (Del. Ct. of Chancery 2009) ($50
and Roth v. Aon Corp. ($30 million). On three            million).
separate occasions, Mr. Gronborg’s pleadings
have been upheld by the federal Courts of                DENNIS J. HERMAN received his Bachelor of
Appeals (Broudo v. Dura Pharms., Inc., 339 F.3d          Science degree from Syracuse University in 1982.
933 (9th Cir. 2003); In re Daou Sys., Inc. Sec.          He is a 1992 graduate of Stanford Law School,
Litig., 411 F.3d 1006 (9th Cir. 2005); Staehr v.         where he received the Order of the Coif and the
The Hartford Financial Services Group, 2008              Urban A. Sontheimer Award for graduating
U.S. App. LEXIS 23551 (2d Cir. 2008)), and he            second in his class. Mr. Herman concentrates his
has been responsible for a number of significant         practice in securities class action litigation.
rulings, including: Roth v. Aon Corp., 2008 U.S.
Dist. LEXIS 18471 (N.D. Ill. 2008); In re                Mr. Herman has lead or been significantly
Cardinal Health Inc., Sec. Litig., 426 F. Supp. 2d       involved in the prosecution of numerous securities
688 (S.D. Ohio 2006); In re Direct Gen. Corp.            fraud claims that have resulted in substantial
Sec. Litig., Case No. 3:05-0077, 2006 U.S. Dist.         recoveries for investors, including settled actions
LEXIS 56128 (M.D. Tenn. 2006); and In re Dura            against the Coca-Cola Company ($137 million),
Pharms., Inc. Sec. Litig., 452 F.Supp. 2d 1005           VeriSign Corp. ($78 million), NorthWestern
(S.D. Cal. 2006).                                        Corp. ($40 million), Specialty Laboratories, Inc.
                                                         ($12 million), Stellent, Inc. ($12 million) and
In addition to his securities litigation practice, Mr.   Threshold Pharmaceuticals, Inc. ($10 million)
Gronborg has lectured on the Federal Rules of            (approval pending).        Mr. Herman led the
Civil Procedure and electronic discovery.                prosecution of the securities action against Lattice
                                                         Semiconductor, Inc., which resulted in a
ELLEN A. GUSIKOFF STEWART received her                   significant, precedent-setting decision regarding
Bachelor of Arts degree in Economics from                the liability of officers who falsely certify the
Muhlenberg College in 1986 and her Juris Doctor          adequacy of internal accounting controls under
degree from Case Western Reserve University in           the Sarbanes-Oxley Act. Mr. Herman has also
1989. Ms. Stewart was admitted to the California         successfully represented the estate of a bankrupt
Bar in 1989 and is admitted to practice before all       company in lawsuits against its former officers
federal courts in California, the Sixth and Ninth        and outside auditor seeking recovery for actions
Circuit Courts of Appeals, the Western District of       that deepened the company’s insolvency before it
Michigan, and the District of Colorado. Ms.              went bankrupt.
Stewart is Peer-Rated by Martindale-Hubbell.
                                                         Previously, Mr. Herman practiced for 10 years in
Ms. Stewart currently practices in the Firm's            Denver, Colorado, where he had a general
settlement    department,       negotiating     and      commercial litigation practice and litigated many
documenting the Firm's complex securities,               fraud and other tort claims cases, as well as a wide
merger, ERISA and stock options backdating               variety of cases involving contract claims, land
derivative actions. Notably, recent settlements          use disputes, environmental issues, inter-
include: In re Forest Labs., Inc. Sec. Litig.            governmental disputes, voting rights, and
(S.D.N.Y. 2009) ($65 million); In re Activision,         intellectual property disputes. Mr. Herman is
Inc. S’holder Deriv. Litig. (C.D. Cal. 2008) ($24.3      admitted to practice in both California and
million in financial benefits to Activision in           Colorado (inactive), and is a member of the bar of
options backdating litigation); In re Affiliated         the United States Courts of Appeals for the Fifth,
Computer Servs. Deriv. Litig. (N.D. Tex. 2009)           Eighth, Ninth and Tenth Circuits, as well as the
($30 million cash benefit to ACS in options              bars of the United States District Courts for
                                                                          Robbins Geller Rudman & Dowd LLP
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Colorado, and the Northern, Central and Southern     In 1986, Mr. Isaacson joined the litigation
Districts of California. Prior to attending law      department of O’Melveny & Myers, where his
school, Mr. Herman was an award-winning              practice included cases involving allegations of
investigative newspaper reporter and editor in       trademark infringement, unfair business practices
California and Connecticut.                          and securities fraud. He served as a member of
                                                     the trial team that successfully prosecuted a major
JOHN HERMAN has spent his career handling            trademark infringement action.
complex litigation, with a particular emphasis on
patent litigation.     His practice focuses on       Mr. Isaacson joined the plaintiffs' bar in 1989, and
vindicating the rights of famous innovators.         has taken part in prosecuting many securities
Noteworthy cases of his include representing         fraud class actions. He was a member of the
renowned inventor Ed Phillips in the landmark        plaintiffs’ trial team in In re Apple Computer Sec.
case of Phillips v. AWH Corp.; representing          Litig., No. C 84-20148(A)-JW (N.D. Cal.). Since
pioneers of mesh technology – David Petite,          the early 1990s, his practice has focused primarily
Edwin Brownrigg and IPCo – in a series of patent     on appellate matters in cases that have produced
infringement cases on multiple patents; as well as   dozens of published precedents. See, e.g., In re
acting as plaintiffs’ counsel in the In Re Home      Constar Int’l, Inc. Sec. Litig., 585 F.3d 774 (3d
Depot shareholder derivative actions pending in      Cir. 2009); Hatfield v. Halifax PLC, 564 F.3d
Fulton County Superior Court.                        1177 (9th Cir. 2009); Alaska Elec. Pension Fund
                                                     v. Pharmacia Corp., 554 F.3d 342 (3d Cir. 2009);
Mr. Herman is recognized by his peers as being       In re NYSE Specialists Sec. Litig. (Cal. Pub.
among the leading intellectual property litigators   Employees’ Ret. Sys. v. N.Y. Stock Exch., Inc.),
in the Southeast. He is regularly named as a         503 F.3d 89 (2d Cir. 2007); In re WorldCom Sec.
Georgia Super Lawyer by Atlanta Magazine, and        Litig. (Cal. Pub. Employees' Ret. Sys. v. Caboto-
in 2007 he was named to the “Top 100” Georgia        Gruppo Intesa, BCI), 496 F. 3d 245 (2d Cir.
Super Lawyers list. Mr. Herman also has been         2007); Sanford v. MemberWorks, Inc., 483 F.3d
named one of "Georgia's Most Effective Lawyers"      956 (9th Cir. 2007); Sanchez v. County of San
by Legal Trend. He is a graduate of Vanderbilt       Diego, 464 F.3d 916 (9th Cir. 2006), rehearing
University Law School (where he was Editor-in-       denied, 483 F.3d 965 (2007); In re Daou Sys.,
Chief of the Vanderbilt Journal and a John Wade      Inc., Sec. Litig. (Sparling v. Daou), 411 F.3d 1006
Scholar), and of Marquette University (B.S.,         (9th Cir. 2005); Ill. Mun. Ret. Fund v. CitiGroup,
Biochemistry, summa cum laude).                      Inc., 391 F.3d 844 (7th Cir. 2004); Deutsch v.
                                                     Turner Corp., 324 F.3d 692 (9th Cir. 2003); Lone
ERIC ALAN ISAACSON received his Bachelor of          Star Ladies Inv. Club v. Schlotzsky’s, Inc., 238
Arts degree summa cum laude from Ohio                F.3d 363 (5th Cir. 2001); Hertzberg v. Dignity
University in 1982. He earned his Juris Doctor       Partners, Inc., 191 F.3d 1076 (9th Cir. 1999);
degree with high honors from Duke University         Warshaw v. Xoma Corp., 74 F.3d 955 (9th Cir.
School of Law in 1985 and was elected to the         1996); Fecht v. Price Co., 70 F.3d 1078 (9th Cir.
Order of the Coif. Mr. Isaacson served as a Note     1995); and Mangini v. R.J. Reynolds Tobacco Co.,
and Comment Editor for the Duke Law Journal          7 Cal. 4th 1057 (1994).
and in his third year of law school became a
member of the Moot Court Board. After                Mr. Isaacson’s publications include: Assaulting
graduation, Mr. Isaacson clerked for the             America’s Mainstream Values: Hans Zeiger’s,
Honorable J. Clifford Wallace of the United          Get Off My Honor: The Assault on the Boy
States Court of Appeals for the Ninth Circuit.       Scouts of America, 5 Pierce Law Review 433
                                                     (2007); Traditional Values, or a New Tradition of
                                                     Prejudice? The Boy Scouts of America vs. The
                                                                      Robbins Geller Rudman & Dowd LLP
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Unitarian      Universalist     Association     of   religious organizations and faith leaders, as amici
Congregations, 17 George Mason Civil Rights          curiae, insisting civil marriage is a civil right that
Law Journal 1 (2006); What's Brewing in Dura v.      California cannot withhold from same-sex
Broudo? A Review of the Supreme Court's              couples. See In re Marriage Cases, 43 Cal. 4th
Opinion and Its Import for Securities-Fraud          757, 773 (2008). Mr. Isaacson then represented
Litigation (co-authored with Patrick J. Coughlin     the California Council of Churches, the General
and Joseph D. Daley), 37 Loyola University           Synod of the United Church of Christ, the
Chicago Law Journal 1 (2005); Pleading Scienter      Episcopal Bishops of California and Los Angeles,
Under Section 21D(b)(2) of the Securities            the Unitarian Universalist Association of
Exchange Act of 1934: Motive, Opportunity,           Congregations and Unitarian Universalist
Recklessness and the Private Securities Litigation   Legislative Ministry California, and the
Reform Act of 1995 (co-authored with William S.      Progressive Jewish Alliance as petitioners and
Lerach), 33 San Diego Law Review 893 (1996);         amici in related proceedings challenging
Securities Class Actions in the United States (co-   Proposition 8’s withdrawal of that fundamental
authored with Patrick J. Coughlin), Litigation       right. See Strauss v. Horton, 46 Cal. 4th 364,
Issues in the Distribution of Securities: An         377-78 (2009); Cal. Council of Churches v.
International     Perspective     399    (Kluwer     Horton, No. S168332 (Cal. July 8, 2009) (order
International/International Bar Association,         denying writ of mandate or prohibition).
1997); Pleading Standards Under the Private
Securities Litigation Reform Act of 1995: The        Mr. Isaacson has received awards for his pro bono
Central District of California’s Chantal Decision    work from the California State Bar and the San
(co-authored with Alan Schulman & Jennifer           Diego Volunteer Lawyer Program, and in 2009 he
Wells), Class Action & Derivative Suits, Summer      received the Unitarian Universalist Association
1996, at 14; Commencing Litigation Under the         President’s Annual Award for Volunteer Service,
Private Securities Litigation Reform Act of 1995     which was awarded by the Rev. William G.
(co-authored with Patrick J. Coughlin), Securities   Sinkford at the Association’s 48th General
Litigation 1996 9-22 (Practising Law Institute       Assembly in Salt Lake City.
1996); The Flag Burning Issue: A Legal Analysis
and Comment, 23 Loyola of Los Angeles Law            From January 2004 to June 2010, Mr. Isaacson
Review 535 (1990).                                   served on the Board of Directors – and from
                                                     March 2005 through June 2008 he was Board
Mr. Isaacson has done extensive pro bono work.       President – of San Diego's Foundation for
He has served as a cooperating attorney with the     Change, an organization dedicated to funding and
American Civil Liberties Union of San Diego and      supporting community-led efforts to promote
Imperial Counties representing indigent San          social equality, economic justice and
Diegans. He also has filed amicus curiae briefs      environmental sustainability. Its grantees have
on behalf of a variety of organizations, including   included groups as diverse as Activist San Diego,
the Social Justice Ministry and Board of Trustees    the Interfaith Committee for Worker Justice, and
of the First Unitarian Universalist Church of San    the Employee Rights Center.
Diego where he teaches Sunday school. In
California’s Marriage Cases, Mr. Isaacson was on     Mr. Isaacson has been a member of the California
the team of attorneys representing the California    Bar since 1985. He is also admitted to practice
Council of Churches, the Union for Reform            before the United States Supreme Court, the
Judaism, the United Church of Christ, the            United States Courts of Appeals for the First,
Unitarian     Universalist     Association      of   Second, Third, Fourth, Fifth, Sixth, Seventh,
Congregations, and the hundreds of other             Eighth, Ninth, Tenth, Eleventh and District of

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Columbia Circuits, and before all federal district    Mr. Jaconette attended San Diego State
courts in the State of California.                    University, receiving his Bachelor of Arts degree
                                                      with honors and distinction in 1989 and his
JAMES I. JACONETTE is one of the founding             M.B.A. in 1992. In 1995, Mr. Jaconette received
partners of Robbins Geller Rudman & Dowd LLP          his Juris Doctor degree, cum laude, from Hastings
and manages cases in the Firm’s securities class      College of the Law, University of California, San
action and shareholder derivative litigation          Francisco. Mr. Jaconette was the Mortar Board
practices. Mr. Jaconette has extensive experience     Vice President from 1988-1989, a member of the
in federal and state securities class action          Hastings Law Journal from 1993-1994, and
litigation. He has served in a primary litigating     Associate Articles Editor from 1994-1995. Mr.
role as one of lead counsel in a variety of           Jaconette authored The Fraud-on-the-Market
securities cases resulting in recoveries of over $8   Theory in State Law Securities Fraud Suits,
billion for individual and institutional investors.   Hastings Law Journal, Volume 46, August 1995.
For example, Mr. Jaconette was one of three           In 1993, Mr. Jaconette served as law clerk to the
partners responsible for the day-to-day               Honorable Barbara J. Gamer, and in 1994, as
prosecution of In re Enron Corp. Sec. Litig. (S.D.    extern to the Honorable William H. Orrick, Jr.,
Tex.) and In re Dynegy Inc. Sec. Litig. (S.D.         District Judge.
Tex.), on behalf of lead plaintiff The Regents of
the University of California and the large classes    Mr. Jaconette has been licensed to practice in the
of public investors represented in those actions.     California Bar since 1995 and has been admitted
                                                      to practice in California state courts, the United
Mr. Jaconette is currently serving as lead counsel    States District Courts in all districts in California,
in securities class actions and shareholder           the United States Court of Appeals for the Ninth
derivative cases, including numerous derivative       Judicial Circuit, and the United States Supreme
actions arising out of alleged stock option           Court.
backdating.      He also advises institutional
investors, including pension funds, hedge funds,      FRANK J. JANECEK, JR. received his Bachelor of
and financial institutions on portfolio monitoring    Science degree in Psychology from the University
and case evaluation.                                  of California at Davis in 1987 and his Juris Doctor
                                                      degree from Loyola Law School in 1991. He is
Favorable reported decisions include: In re           admitted to the Bar of the State of California, the
Informix Corp. Secs. Litig., No. C-97-1289-SBA,       district courts for all districts of California and to
1997 U.S. Dist. LEXIS 23687 (N.D. Cal. Oct. 17,       the United States Court of Appeals for the Sixth,
1997); Schlagal v. Learning Tree Int’l, No. CV        Ninth and Eleventh Circuits. For 11 years, Mr.
98-6384 ABC, 1998 U.S. Dist. LEXIS 20306              Janecek has practiced in the areas of
(C.D. Cal. Dec. 23, 1998); In re Enron Corp. Sec.     consumer/antitrust, Proposition 65, taxpayer and
Litig., 235 F. Supp. 2d 549 (S.D. Tex. 2002); In re   tobacco litigation. He has participated as a
Dynegy, Inc. Sec. Litig., 339 F. Supp. 2d 804         panelist and a speaker in continuing legal
(S.D. Tex. 2004); Belova v. Sharp, No. CV 07-         education programs relating to California’s Unfair
299-MO, 2008 U.S. Dist. LEXIS 19880 (D. Or.           Competition laws, public enforcement, tobacco
Mar. 13, 2008); Bacas v. Way, No. 07-cv-456,          litigation and challenging unconstitutional
2008 U.S. Dist. LEXIS 23025 (S.D. Tex. Mar. 20,       taxation schemes.
2008); In re Cirrus Logic, Inc., No. A-07-CA-
212-SS, 2008 U.S. Dist. LEXIS 71195 (W.D.             Mr. Janecek was co-lead counsel, as well as the
Tex. Aug. 28, 2008); and Alaska Electrical            Court-appointed Liaison Counsel, in Wholesale
Pension Fund v. Olofson, No. 08-2344-CM, 2009         Elec. Antitrust Cases I & II, Judicial Counsel
U.S. Dist. LEXIS 46564 (D. Kan. June 3, 2009).        Coordination Proceedings 4204 & 4205, charging
                                                                        Robbins Geller Rudman & Dowd LLP
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an antitrust conspiracy by wholesale electricity       California Bar Association, the San Diego County
suppliers and traders of electricity in California’s   Bar Association, the Consumer Attorneys of
newly deregulated wholesale electricity market.        California and San Diego and Trial Lawyers for
In conjunction with the Governor of the State of       Public Justice.
California, the California State Attorney General,
the California Public Utilities Commission, the        RACHEL L. JENSEN grew up in St. Petersburg,
California Electricity Oversight Board, a number       Florida. She received her Bachelor of Arts degree
of other state and local governmental entities and     in International Affairs from Florida State
agencies, and California’s large, investor-owned       University's honors program in 1997, graduating
electric utilities, plaintiffs secured a global        cum laude. She received her Juris Doctor degree
settlement for California consumers, businesses        from Georgetown University Law School in 2000.
and local governments valued at more than $1.1         During law school, Ms. Jensen served as
Billion.                                               Inaugural Editor-in-Chief of the First Annual
                                                       Review of Gender and Sexuality Law, a
Mr. Janecek has also litigated several Proposition     publication of the Georgetown Journal of Gender
65 actions, including People ex rel. Lungren v.        and the Law. She also taught Street Law at a
Super. Ct., 14 Cal. 4th 294 (1996), which was          public high school in Washington, D.C.
jointly prosecuted with the Attorney General’s
office. These actions resulted in the recovery of      Upon graduation, Ms. Jensen joined the law firm
more than $10 million in disgorgement and/or           of Morrison & Foerster in San Francisco before
civil penalties and warnings to consumers of their     clerking for the Honorable Warren J. Ferguson on
exposure to cancer causing agents and                  the Ninth Circuit Court of Appeals. Thereafter,
reproductive toxins. Mr. Janecek chaired several       she worked abroad as a law clerk in the Office of
of the litigation committees in California’s           the Prosecutor at the International Criminal
tobacco litigation, which resulted in the $25.5        Tribunal for Rwanda (ICTR) and at the
billion recovery for California and its local          International Criminal Tribunal for the Former
entities. Mr. Janecek also handled a constitutional    Yugoslavia (ICTY), respectively.
challenge to the State of California’s Smog
Impact Fee, in the case Ramos v. Dep’t of Motor        Ms. Jensen has prosecuted nationwide consumer,
Vehicles, No. 95AS00532 (Cal. Super. Ct.,              insurance and securities class actions against
Sacramento County). As a result of the Ramos           some of the largest companies in the United
litigation, more than a million California residents   States. Most recently, her practice has focused on
received full refunds, plus interest, totaling $665    hazardous children’s toys, helping to secure a
million.                                               nationwide settlement with toy manufacturing
                                                       giants Mattel and Fisher-Price that provided full
Mr. Janecek and Patrick J. Coughlin co-authored        consumer refunds and required greater quality
A Review of R.J. Reynolds’ Internal Documents          assurance programs. She has also helped to
Produced in Mangini v. R.J. Reynolds Tobacco           secure millions of dollars on behalf of
Co., No. 939359 – The Case that Rid California         policyholders against insurance brokers and
and the American Landscape of ‘Joe Camel’              carriers for engaging in bid-rigging and other
(January 1998), which, along with more than            conduct that betrayed their trust and resulted in
60,000 internal industry documents, was released       higher premiums and inferior coverage. Ms.
to the public through Congressman Henry                Jensen has also helped successfully prosecute
Waxman. He is also the author of California’s          cases against insurance companies for selling
Unfair Competition Act and Its Role in the             senior citizens deferred annuities that they would
Tobacco Wars (Fall 1997). Mr. Janecek is a             likely never benefit from.
member of the American Bar Association, the
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Ms. Jensen is licensed to practice law in the State      overcoming serious procedural and other barriers.
of California and is admitted to practice before all     . . . it appears plainly from the papers that you and
the federal district courts in the State.                your co-counsel have diligently, and at great
                                                         personal expense and through the devotion of
EVAN KAUFMAN focuses his practice in the area            many thousands of hours of your time, prosecuted
of complex litigation in federal and state courts        this case to a successful conclusion.”
including securities, corporate mergers and
acquisitions, derivative, and consumer fraud class       Mr. Kaufman earned his Bachelor of Arts degree
actions.                                                 from the University of Michigan in 1992. Mr.
                                                         Kaufman earned his Juris Doctor degree from
Mr. Kaufman has served as lead counsel or played         Fordham University School of Law in 1995,
a significant role in numerous actions, including:       where he was a member of the Fordham
In re TD Banknorth S’holders Litig. ($50 million         International Law Journal. Prior to joining the
recovery); In re Gen. Elec. Co. ERISA Litig. ($40        Firm, between 2001 and early 2005, Mr. Kaufman
million cost to GE, including significant                was associated with a prominent Manhattan
improvements to GE’s employee retirement plan,           plaintiffs' class action firm, where his practice
and benefits to GE plan participants valued in           focused on securities and consumer fraud class
excess of $100 million); In re Warner Chilcott           actions.
Ltd. Sec. Litig. ($16.5 million recovery); In re
Royal Group Tech. Sec. Litig. ($9 million                Mr. Kaufman is admitted to practice before the
recovery); In re Audiovox Deriv. Litig. ($6.75           courts of the State of New York, the United States
million recovery and corporate governance                District Courts for the Southern, Eastern, and
reforms); Candela Corp. ($3.85 million); In re           Northern Districts of New York, and the United
Hibernia Foods, PLC Sec. Litig. ($2.8 million            States Court of Appeals for the Second Circuit.
recovery from auditor of liquidated company); In         Mr. Kaufman is a member of the Nassau County
re MONY Group, Inc. S'holder Litig. (obtained            Bar Association.
preliminary injunction requiring disclosures in
proxy statement); N.J. v. Gemstar TV-Guide               CATHERINE J. KOWALEWSKI was born in
(recovered approximately 50% of New Jersey’s             Cleveland, Ohio. Ms. Kowalewski earned her
losses); Hudson Soft & Autobacs, Seven Co. v.            Bachelor of Business Administration degree in
CSFB (resolved for an undisclosed sum); and In           Accounting from Ohio University in 1994 and her
re Merrill Lynch & Co., Inc., Internet Strategies        Masters degree in Business Administration from
Sec. Litig. (resolved as part of a $39 million           Limburgs Universitair Centrum (currently known
global settlement).                                      as Hasselt University) in Diepenbeek, Belgium in
                                                         1995. Ms. Kowalewski earned her Juris Doctor
In the TD Banknorth litigation, the court                degree from the University of San Diego in 2001,
appointed Mr. Kaufman and the Firm to be lead            where she served as Lead Articles Editor of the
counsel for plaintiffs after rejecting as “wholly        San Diego Law Review. While in law school, Ms.
inadequate” a $3 million settlement objected to by       Kowalewski served as judicial extern to the
Mr. Kaufman and the Firm on behalf of their              Honorable Richard D. Huffman of the California
clients and the class. When the Firm later               Court of Appeal, 4th District, Division 1.
achieved a $50 million recovery for the class, the
court stated: “This is one of the cases – there’s        Ms. Kowalewski’s practice focuses on class
probably been a half a dozen since I’ve been a           actions on behalf of defrauded investors, primarily
judge that I handled which have – really through         in the area of accounting fraud. She has
the sheer diligence and effort of plaintiffs’ counsel    investigated and participated in the investigation
– resulted in substantial awards for plaintiffs, after   and litigation of many large accounting scandals,
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including Cardinal Health and Krispy Kreme, and        Court, and the Honorable James Meyers, Chief
numerous companies implicated in stock option          Judge, Southern District of California, United
backdating.                                            States Bankruptcy Court. Mr. Light was admitted
                                                       to the California Bar in 1992 and is admitted to
Ms. Kowalewski is admitted to the California Bar       practice before all federal courts in California.
(2001) and is licensed to practice before the
United States District Courts for the Northern,        Mr. Light is a member of the San Diego County
Central and Southern Districts of California. Ms.      Bar Association and is on the Attorney Fee
Kowalewski is a member of the San Diego                Arbitration Panel. Mr. Light also currently serves
County Bar, the State Bar of California, American      as a Judge Pro Tem for the San Diego County
Association for Justice, Consumer Attorneys of         Superior Court. Mr. Light practices in the Firm’s
San Diego and Consumer Attorneys of California.        settlement department, negotiating, documenting
Ms. Kowalewski is the President of Lawyers Club        and obtaining court approval of the Firm’s
of San Diego (2009-2010). Ms. Kowalewski is            complex securities, merger, consumer and
also a Certified Public Accountant (Ohio, 1998).       derivative actions. These settlements include: In
                                                       re AT&T Corp. Sec. Litig. (D.N.J. 2005) ($100
ARTHUR C. LEAHY graduated with a Bachelor of           million recovery); In re Infonet Corp. Sec. Litig.
Arts degree in Business from Point Loma College        (C.D. Cal. 2004) ($18 million recovery); and In re
in 1987. In 1990, Mr. Leahy graduated cum laude        Ashworth, Inc. Sec. Litig. (S.D. Cal. 2004)
and received a Juris Doctor degree from the            ($15.25 million recovery).
University of San Diego School of Law, where he
served as Managing Editor of the Law Review.           RYAN LLORENS was born in Inglewood,
While in law school, Mr. Leahy authored an             California. Mr. Llorens received his Bachelor of
article published in the San Diego Law Review          Arts degree in Organizational Studies from Pitzer
and other articles published in another law            College in Claremont, California in 1997, and his
journal. In addition, he served as a judicial extern   Juris Doctor degree from the University of San
for the Honorable J. Clifford Wallace of the           Diego School of Law in 2002. During law school,
United States Court of Appeals for the Ninth           he worked as a law clerk and Summer Associate
Circuit. After law school, Mr. Leahy served as a       at the Firm and interned for the Honorable
judicial law clerk for the Honorable Alan C. Kay       Cynthia A. Bashant, San Diego Superior Court.
of the United States District Court for the District   Following graduation from law school, Mr.
of Hawaii.                                             Llorens joined the Firm as an associate.

Mr. Leahy works on securities actions in which         Mr. Llorens' practice focuses on representing
his clients have recovered hundreds of millions of     shareholders in securities class actions. He is
dollars. Mr. Leahy is a member of the California       admitted to the California Bar and is licensed to
Bar and has been admitted in numerous federal          practice in all California State courts as well as all
courts throughout the country.                         U.S. District Courts of California.

JEFFREY D. LIGHT was born in Los Angeles,              THOMAS R. MERRICK specializes in complex
California in 1964. He earned his Bachelor of Arts     class action and antitrust litigation. Mr. Merrick
degree from San Diego State University in 1987         graduated from the University of California, Santa
and his Juris Doctor degree from the University of     Barbara, with high honors and distinction in the
San Diego in 1991, cum laude. Mr. Light was the        major (Political Science) in 1986 and graduated
recipient of the American Jurisprudence Award in       magna cum laude from California Western School
Constitutional Law. He served as law clerk to the      of Law in 1992, where he served as Editor-in-
Honorable Louise DeCarl Adler, U.S. Bankruptcy         Chief of both the California Western Law Review
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and California Western International Law               Southern District of California. While at the
Journal. He received numerous awards and               United States Attorney's Office, he worked on
distinctions, including several American               cases involving narcotics trafficking, bank
Jurisprudence Awards and the Trustees’ Award           robbery, murder-for-hire, alien smuggling, and
for top overall achievement in his law school          terrorism. He tried nearly 20 cases to verdict
class.                                                 before federal criminal juries and made numerous
                                                       appellate arguments before the Ninth Circuit
Prior to joining Robbins Geller Rudman & Dowd          Court of Appeals.
LLP, Mr. Merrick served as Deputy San Diego
City Attorney and worked as a general practice         Mr. Mitchell's practice focuses on securities fraud
attorney in Illinois. For most of his legal career,    and antitrust litigation. He is a member of the
however, he has represented consumers and              State Bar of California and is admitted to practice
policyholders in individual, representative and        before the Southern and Central Districts of
class action litigation involving insurance and        California and the Ninth Circuit Court of Appeals.
consumer rights. Most recently, Mr. Merrick was
on the successful trial teams in LeBrilla v.           BRIAN O. O’MARA earned his Bachelor of Arts
Farmers Group, Inc., Case No. 00CC07185                degree in Economics from the University of
(Super. Ct., Orange Cty), and Smith v. American        Kansas and his Juris Doctor degree from DePaul
Family Mutual Ins. Co., 289 S.W.3d 675 (Mo. Ct.        University, College of Law, where he was the
App. 2009) (upholding unanimous jury verdict in        recipient of a CALI Excellence Award in
plaintiffs’ favor). He represented the plaintiff in    Securities Regulation.
the precedent-setting case of Safeco Ins. Co. of
America v. Superior Court, 173 Cal. App. 4th 814       Mr. O'Mara's practice focuses on securities
(2009). He is also counsel for a class of direct       litigation and corporate governance. Since 2003,
purchaser plaintiffs in the In re Apple iPod iTunes    Mr. O’Mara has been lead or co-lead counsel in
Antitrust Litigation, Case No. 05-CV-00037,            numerous securities fraud and derivative actions,
currently pending in the Northern District of          including: In re Direct Gen. Sec. Litig.; In re St.
California.                                            Paul Travelers Cos., Inc. Deriv. Litig.; In re
                                                       Constar Int’l Sec. Litig.; In re Surebeam Corp.
Mr. Merrick is admitted to practice before all state   Sec. Litig.; Broudo v. Dura Pharms.; and In re
courts in California and Illinois and before all       NYSE Specialists Sec. Litig. Mr. O’Mara has been
District Courts in California and the Northern         responsible for a number of significant rulings,
District of Illinois, and is a member of the           including: In re NYSE Specialists Sec. Litig., 405
American, California and Illinois Bar                  F. Supp. 2d 281 (S.D.N.Y. 2005) ; In re Constar
Associations, and the Consumer Attorneys of            Int'l, Inc. Sec. Litig., No. 03-5020, 2008 U.S. Dist.
California.                                            LEXIS 16966 (E.D. Pa. Mar. 4, 2008); In re
                                                       Direct Gen. Corp. Sec. Litig., No. 05-0077, 2006
DAVID W. MITCHELL was born in Wilmington,              U.S. Dist. LEXIS 56128 (M.D. Tenn. Aug. 8,
Delaware in 1973. He graduated from the                2006); and In re Dura Pharms., Inc. Sec. Litig.,
University of Richmond in 1995 with a Bachelor         452 F. Supp. 2d 1005 (S.D. Cal. 2006).
of Arts degree in both Economics and History and
thereafter received his Juris Doctor degree from       Mr. O’Mara is the co-author of Whether Alleging
the University of San Diego School of Law in           ‘Motive and Opportunity’ can Satisfy the
1998.                                                  Heightened Pleading Standards for the Private
                                                       Securities Litigation Reform Act: Much Ado
Prior to joining the Firm, Mr. Mitchell served as      About Nothing, 1 DePaul Bus. & Com. L.J. 313
an Assistant United States Attorney in the             (2003).
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Prior to joining the Firm, Mr. O’Mara served as      Mr. Pepich’s practice has focused primarily on
law clerk to the Honorable Jerome M. Polaha of       securities class action litigation, but has also
the Second Judicial District Court of the State of   included a wide variety of complex civil cases,
Nevada. Mr. O’Mara is admitted to practice in all    including representing plaintiffs in mass tort,
state and federal courts in California and Nevada.   royalty, civil rights, human rights, ERISA and
                                                     employment law actions.
KEITH F. PARK graduated from the University of
California at Santa Barbara in 1968 and from         Mr. Pepich has participated in the successful
Hastings College of Law of the University of         prosecution of numerous securities class actions,
California in 1972.                                  including: Haw. Structural Ironworkers Pension
                                                     Trust Fund v. Calpine Corp., No. 1-04-CV-
Mr. Park has overseen the Court-approval process     021465 ($43 million recovery); Carpenters
in more than 1,000 securities class action and       Health & Welfare Fund v. Coca-Cola Co., No.
shareholder derivative settlements, including        1:00-CV-2838 ($137.5 million recovery); In re
actions involving: Enron ($7.3 billion recovery);    Fleming Cos. Inc. Sec. and Deriv. Litig., No. 5-
UnitedHealth ($925.5 million recovery and            03-MD-1530 ($95 million recovered); In re
corporate governance reforms); Dynegy ($474          Advanced Micro Devices Sec. Litig., No. C-93-
million recovery and corporate governance            20662 ($34 million recovery); In re Louisiana-
reforms); Dollar General ($162 million recovery);    Pacific Corp. Sec. Litig., No. C-95-707 ($65
Mattel ($122 million recovery); Prison Realty        million recovery); Gohler v. Wood, No. 92-C-181
($105 million recovery); Honeywell (in addition      ($17.2 million recovery); and In re Boeing Sec.
to the $100 million recovery, Honeywell's agreed     Litig., No. C-97-1715Z ($92 million recovery).
to adopt significant corporate governance changes
relating to compensation of senior executives and    Mr. Pepich was also a member of the plaintiffs’
directors, stock trading by directors, executive     trial team in Mynaf v. Taco Bell Corp., which
officers and key employees, internal and external    settled after two months of trial on terms
audit functions, and financial reporting and board   favorable to two plaintiff classes of restaurant
independence); Sprint (in addition to $50 million    workers for recovery of unpaid wages, and a
recovery, obtained important governance              member of the plaintiffs’ trial team in Newman v.
enhancements, including creation of Lead             Stringfellow where, after a nine-month trial in
Independent Director and expensing of stock          Riverside, California, all claims for exposure to
options); Hanover Compressor (on top of $85          toxic chemicals were ultimately resolved for $109
million recovery, obtained the following             million.
governance enhancements, among others: direct
shareholder nomination of Board and mandatory        THEODORE J. PINTAR received his Bachelor of
rotation of audit firm); 3COM ($259 million          Arts degree from the University of California at
recovery); Chiron ($43 million recovery);            Berkeley in 1984 where he studied Political
National Health Labs ($64 million recovery); and     Economies of Industrial Societies. Mr. Pintar
NME ($60.75 million recovery).                       received his Juris Doctor degree from the
                                                     University of Utah College of Law in 1987 where
He is admitted to practice in California and New     he was Note and Comment Editor of the Journal
York.                                                of Contemporary Law and the Journal of Energy
                                                     Law and Policy. Formerly, Mr. Pintar was
STEVEN W. PEPICH earned his Bachelor of              associated with the firm of McKenna Conner &
Science degree in Economics from Utah State          Cuneo in Los Angeles, California, where he
University in 1980 and his Juris Doctor degree       focused in commercial and government contracts
from De Paul University in 1983.                     defense litigation. Mr. Pintar is co-author of
                                                                     Robbins Geller Rudman & Dowd LLP
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Assuring Corporate Compliance with Federal            United States District Courts for the Northern,
Contract Laws and Regulations, Corporate              Central and Eastern Districts of California. Prior
Criminal Liability Reporter, Vol. 2 (Spring 1988).    to joining the Firm, Ms. Radcliffe clerked for the
                                                      Honorable Maria-Elena James, Magistrate Judge
Mr. Pintar has participated in the successful         for the United States District Court for the
prosecution of numerous securities fraud class        Northern District of California.
actions and derivative actions. Mr. Pintar was
part of the litigation team in the AOL Time           Ms. Radcliffe concentrates her practice in
Warner state and federal court securities opt-out     securities class action litigation in federal court.
actions, which arose from the 2001 merger of          Ms. Radcliffe has been significantly involved in
American Online and Time Warner. These cases          the prosecution of numerous securities fraud
resulted in a global settlement of $618 million.      claims, including actions filed against Flowserve
Mr. Pintar participated on the trial team in Knapp    Corp., NorthWestern Corp. and Ashworth, Inc.
v. Gomez, No. 87-0067-H(M) (S.D. Cal.), which         Ms. Radcliffe has also represented plaintiffs in
resulted in a plaintiff’s verdict.                    other complex actions, including a class action
                                                      against a major bank regarding the adequacy of
Mr. Pintar has also participated in the successful    disclosures made to consumers in California
prosecution of numerous insurance and consumer        related to Access Checks.
class actions, including: (i) actions against major
life insurance companies such as Manufacturer’s       JACK REISE earned his Bachelor of Arts degree in
Life ($555 million initial estimated settlement       History from Binghamton University.         He
value) and Principal Mutual Life Insurance            graduated cum laude from University of Miami
Company ($380+ million settlement value); (ii)        School of Law where he was an Associate Editor
actions against major homeowners insurance            on the University of Miami Inter-American Law
companies such as Allstate ($50 million               Review, and was the recipient of the American
settlement) and Prudential Property and Casualty      Jurisprudence Book Award in Contracts.
Co. ($7 million settlement); (iii) actions against
automobile insurance companies such as the Auto       Mr. Reise is devoted to protecting the rights of
Club and GEICO; and (iv) actions against              those who have been harmed by corporate
Columbia House ($55 million settlement value)         misconduct. Mr. Reise started his legal career
and BMG Direct, direct marketers of CDs and           representing individuals suffering the debilitating
cassettes.                                            affects of asbestos exposure back in the 1950s and
                                                      1960s. Mr. Reise currently concentrates his
Mr. Pintar has served as a panelist for numerous      practice on class action litigation, including:
Continuing Legal Education seminars on federal        securities fraud, shareholder derivative actions,
and state court practice and procedure. Mr. Pintar    consumer protection, antitrust, and unfair and
is a member of the State Bar of California and the    deceptive insurance practices.
San Diego County Bar Association.
                                                      Mr. Reise devotes a substantial portion of his
WILLOW E. RADCLIFFE earned her Bachelor of            practice to representing shareholders in actions
Arts degree from the University of California at      brought under the federal securities laws. Mr.
Los Angeles and graduated cum laude from the          Reise is currently serving as lead counsel in more
Seton Hall University School of Law. While in         than a dozen cases nationwide. Some recent
law school, Ms. Radcliffe interned at the National    notable actions include Abrams v. Van Kampen
Labor Relations Board in Newark, New Jersey.          Funds, No. 01-cv-07538 (N.D. Ill. 2001)
Ms. Radcliff is a member of the State Bar of          (involved a mutual fund charged with improperly
California, and is admitted to practice before the    valuating its net assets) and In re NewPower
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Holdings Sec. Litig., No. 02-cv-01550 (CLB)           Mr. Rice has taught for many years and currently
(S.D.N.Y. 2005) (settlement with several of the       serves as an adjunct professor at the University of
defendants for $26 million).                          San Diego School of Law.

Mr. Reise was admitted to the Florida Bar in          DARREN J. ROBBINS is a founding partner of
1995. He is admitted to practice before the           Robbins Geller Rudman & Dowd LLP and a
United States Court of Appeals for the First,         member of its Executive and Management
Fourth and Eleventh Circuits, as well as the          Committees. Mr. Robbins oversees various
Southern and Middle District Courts of Florida.       aspects of the Firm’s practice, including the
                                                      Firm’s institutional client outreach efforts and its
JOHN J. RICE graduated cum laude from Harvard         Mergers and Acquisitions practice. Mr. Robbins
University with a Bachelor of Arts degree in          has served as lead counsel in more than one
History and received his Juris Doctor degree from     hundred cases, which have yielded recoveries of
the University of Virginia. After law school, he      over $2 billion for injured shareholders.
was a judicial law clerk to the late United States
District Court Judge Judith N. Keep of the            One of the hallmarks of Mr. Robbins’ practice has
Southern District of California.                      been his focus on corporate governance reform.
                                                      Prime examples are the settlements Mr. Robbins
Mr. Rice brings significant trial experience to       negotiated in the UnitedHealth Group and
Robbins Geller Rudman & Dowd LLP, where he            Hanover Compressor securities fraud class
is a member of the Firm’s litigation team. In his     actions. In UnitedHealth Group, a securities
time at the Firm, he has prosecuted complex           fraud class action arising out of the options
securities cases and helped obtained recoveries for   backdating scandal, where the Firm’s client,
investors in numerous cases, including AOL Time       CalPERS, was able to successfully obtain
Warner, HealthSouth, Forest Labs, and                 unprecedented corporate governance changes, the
Healthways.                                           cancellation of more than 3.6 million options
                                                      granted to UnitedHealth’s former CEO, and a
Prior to joining the Firm, Mr. Rice prosecuted a      record $925-million cash recovery for
wide array of cases, ranging from complex white-      shareholders. The Hanover Compressor action
collar criminal to murder to Russian organized-       similarly resulted in landmark corporate
crime cases. Most recently, he worked as an           governance reforms in addition to a substantial
Assistant United States Attorney in the Southern      recovery for shareholders. In 2004, Mr. Robbins
District of California, specializing in public        was recognized as Attorney of the Year by
corruption cases. He has also served stints           California Lawyer for his particular expertise in
prosecuting organized crime for the United States     formulating corporate governance reforms.
Attorney’s Office in the Southern District of New
York and was nominated to serve as Branch Chief       In 2008, the Daily Journal named Mr. Robbins as
in the Northern Mariana Islands, prosecuting          one of the Top 100 Lawyers shaping the future.
public corruption and white-collar criminal cases.    And, in 2007, The American Lawyer recognized
Mr. Rice has been praised for his diligent efforts    Mr. Robbins as one of the “Young Litigators 45
to combat graft, corruption and collusion among       and Under” for making significant strides in
public and private officials in San Diego and has     securities litigation.
received numerous awards from law enforcement
agencies.                                             Mr. Robbins received his Juris Doctor degree
                                                      from Vanderbilt Law School, where he served as
                                                      the Managing Editor of the Vanderbilt Journal of
                                                      Transnational Law and received his Bachelor of
                                                                       Robbins Geller Rudman & Dowd LLP
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Science and Master of Arts degrees in Economics       actions in both state and federal court, including
from the University of Southern California.           securities class action matters, commercial
                                                      contract matters, and commercial real-estate
ROBERT J. ROBBINS earned his Bachelor of              litigation.
Science degree in Telecommunication Production
from the University of Florida. He then graduated     Mr. Robbins is licensed to practice law in the state
with high honors from the University of Florida       courts of Florida, as well as the United States
College of Law. At the University of Florida, Mr.     District Courts for the Northern, Middle, and
Robbins was a member of the Journal of Law and        Southern Districts of Florida, and the United
Public Policy, a legal research and writing           States Court of Appeals for the Eleventh Circuit.
teaching assistant, and a member of Phi Delta Phi.    Mr. Robbins is currently or has been a member of
In addition, Mr. Robbins earned a pro bono            the American Bar Association and the Palm
certificate for his volunteer work with the Circuit   Beach County Bar Association.
Court for the Eighth Judicial Circuit of Florida.
Upon graduation, Mr. Robbins was selected as a        HENRY ROSEN obtained his Bachelor of Arts
member of the Order of the Coif.                      degree in 1984 from the University of California,
                                                      after attending American College in Paris. In
Mr. Robbins focuses his practice on the               1988, Mr. Rosen received his Juris Doctor degree
representation of shareholders in class actions       from the University of Denver, where he was
brought pursuant to the federal securities laws.      Editor-in-Chief for the University of Denver Law
Mr. Robbins has been a member of the litigation       Review. Mr. Rosen served as Judicial Law Clerk
team responsible for the successful prosecution of    to the Honorable Jim R. Carrigan, United States
several securities and consumer class actions,        District Court, District of Colorado, from 1989 to
including: In Re Cryo Cell Int’l, Inc. Sec. Litig.    1990. He is a member of the Firm’s Hiring
($7 million settlement); In Re TECO Energy, Inc.      Committee and is also a member of the Firm’s
Sec. Litig. ($17.35 million settlement); In Re        Technology Committee, which focuses on
Newpark Res., Inc. Sec. Litig. ($9.24 million         applications to digitally manage documents
settlement); In Re Mannatech, Inc. Sec. Litig.        produced during litigation and internally generate
($11.5 million settlement); and Lewis v. Labor        research files.
Ready, Inc. ($11 million settlement). Mr.
Robbins, an ardent advocate for shareholders and      Major clients include Minebea Co., Ltd., a
consumers, is also counsel in Reese v. The            Japanese manufacturing company, represented in
McGraw-Hill Cos., Inc. and Kuriakose v. Fed.          securities fraud arbitration against a United States
Home Loan Mtg. Co. (Freddie Mac), both                investment bank. Mr. Rosen has significant
pending in the Southern District of New York,         experience prosecuting every aspect of securities
and many consumer class actions in Florida            fraud class actions and has obtained hundreds of
involving thousands of homeowners living on and       millions of dollars on behalf of defrauded
near the Pinecastle Jeep Range, a World War II-       investors.     Prominent cases include: In re
era military site and bombing range.                  Storagetek Sec. Litig., Case No. 92-B-750 (D.
                                                      Colo.); In re Access HealthNet Sec. Litig., Case
Prior to joining Robbins Geller Rudman & Dowd         No. SACV-96-1250-GLT(EEx) and Case No.
LLP, Mr. Robbins prosecuted securities and            SACV-97-191-GLT(EEx) (C.D. Cal.); In re
consumer class actions as an associate with Geller    Valence Sec. Litig., Case No. C-95-20459-
Rudman, PLLC. Mr. Robbins began his legal             JW(EAI) (N.D. Cal.); In re J.D. Edwards Sec.
career as a commercial litigator for one of the       Litig., Case No. 99-N-1744 (D. Colo.); In re
largest law firms in the United States. During that   Bergen Brunswig Sec. Litig. and Bergen Brunswig
time, Mr. Robbins aggressively litigated complex      Capital Litig., Case No. SACV-99-1462-
                                                                       Robbins Geller Rudman & Dowd LLP
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AHS(ANx) (C.D. Cal.); In re Advanced Lighting          Mr. Rosenfeld regularly practices in federal and
Sec. Litig., No. 1:99CV8936 (N.D. Ohio); and In        state courts throughout the United States and is
re Safeskin Sec. Litig., Case No. 99cv454-             admitted to practice in the states of New York and
BTM(LSP) (S.D. Cal.).                                  New Jersey, the Southern, Eastern and Western
                                                       Districts of New York, the District of New Jersey,
Mr. Rosen is admitted to the California Bar            the District of Colorado, the Eastern and Western
(1991) and the Colorado Bar (1988). He is a            Districts of Arkansas, the Eastern District of
member of the State Bar of California, the             Wisconsin and the First, Second and Fourth
American Bar Association (Litigation Section),         Circuit Courts of Appeal.
the Association of Trial Lawyers of America, the
California Trial Lawyers of America, California        Mr. Rosenfeld earned his Bachelor of Science
Trial Lawyers Association and the San Diego            degree in Accounting from Yeshiva University’s
Trial Lawyers Association.                             Sy Syms School of Business and his Juris Doctor
                                                       degree from the Benjamin N. Cardozo School of
DAVID A. ROSENFELD, a partner of the firm              Law.
resident in the Melville, NY and Manhattan
offices, has focused his practice of law for more      Mr. Rosenfeld is a member of the Federal Bar
than a decade in the areas of securities litigation    Council and J-LINK (a provider of pro bono legal
and corporate takeover litigation. He has been         services) and serves on the Advisory Board of
appointed as lead counsel in dozens of securities      Strafford’s Securities Class Action Reporter.
fraud cases and successfully recovered hundreds
of millions of dollars for defrauded shareholders.     ROBERT M. ROTHMAN has extensive experience
                                                       litigating cases involving investment fraud,
For example, Mr. Rosenfeld was appointed as            consumer fraud and antitrust violations. Mr.
lead counsel in the securities fraud lawsuit against   Rothman also lectures to institutional investors
First BanCorp, which provided shareholders with        throughout the world.
a $74.25 million recovery. He also served as lead
counsel in In re Aramark Corporation                   Mr. Rothman has served as lead counsel in
Shareholders Litigation, which resulted in a $222      numerous class actions alleging violations of
million increase in consideration paid to              securities laws, including cases against First
shareholders of Aramark and a dramatic reduction       Bancorp ($74.25 million recovery), Spiegel
to management’s voting power in connection with        ($17.5 million recovery), NBTY ($16 million
shareholder approval of the going-private              recovery), and The Children’s Place ($12 million
transaction (reduced from 37% to 3.5%).                recovery). Mr. Rothman actively represents
                                                       shareholders in connection with going private
Mr. Rosenfeld is actively prosecuting many cases       transactions and tender offers. For example, in
involving widespread financial fraud, ranging          connection with a tender offer made by Citigroup,
from options backdating to Bernie Madoff, as           Mr. Rothman secured an increase of more than
well as litigation concerning collateralized debt      $38 million in upfront cash benefits over what
obligations and credit default swaps.                  was originally offered to shareholders.

Mr. Rosenfeld often advises and lectures the           Mr. Rothman actively litigates consumer fraud
firm’s institutional investor clients on securities    cases. In a case alleging false advertising claims
litigation and has been responsible for numerous       where Mr. Rothman was the lead counsel, the
significant rulings in their appointment as lead       defendant agreed to a settlement valued in excess
plaintiffs.                                            of $67 million. Mr. Rothman also tries, arbitrates
                                                       and mediates cases. For example, he obtained a
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multi-million dollar verdict after the trial of a      Commission, Mr. Rudman has recovered
shareholders’ derivative case.                         hundreds of millions of dollars for shareholders,
                                                       including: $129 million recovery in In re Doral
In one ongoing securities matter that Mr.              Fin. Corp. Sec. Litig., No. 05 MD 1706
Rothman is litigating, the court took the time, in     (S.D.N.Y.); $74 million recovery in In re First
upholding plaintiffs’ complaint, to compliment         BanCorp Sec. Litig., No. 05-CV-2148 (D.P.R.);
the quality of the legal representation: “I’ve         $65 million recovery in In re Forest Labs., Inc.
thought about the arguments and the briefs. Let        Sec. Litig., No. 05-CV-2827 (S.D.N.Y.); and $50
me commend the lawyers. It was well argued on          million recovery in In re TD Banknorth S’holders
both sides, and well written briefs, and it’s a        Litig., No. 2557-VCL (Del. Ch.).
pleasure to have lawyering of this caliber in the
courthouse.” In re Orion Sec. Litig., No. 08-cv-       In the TD Banknorth litigation, the court
1328 (RJS), Transcript at 32 (S.D.N.Y. Aug. 19,        appointed Mr. Rudman and the Firm to be lead
2009). In another, now settled matter that Mr.         counsel for the plaintiff class only after rejecting
Rothman and the Firm litigated as lead counsel,        as “wholly inadequate” the settlement negotiated
the court stated that the appointment of lead          for the class by another law firm. When the Firm
counsel went a “long way” to resolving “a very         later achieved a $50 million recovery for the class,
difficult matter and a very complicated situation.”    the court stated: “This is one of the cases – there’s
Phillips v. Reckson Assoc. Realty Corp., No.           probably been a half a dozen since I’ve been a
12871/2006, Transcript at 3 (N.Y. Sup. Ct.             judge that I handled which have – really through
Nassau County Jan. 20, 2009).                          the sheer diligence and effort of plaintiffs’ counsel
                                                       – resulted in substantial awards for plaintiffs, after
Mr. Rothman is admitted to practice before the         overcoming serious procedural and other barriers.
courts of the State of New York, as well as the        . . . [I]t appears plainly from the papers that you
United States District Courts for the Southern and     and your co-counsel have diligently, and at great
Eastern Districts of New York. Mr. Rothman is a        personal expense and through the devotion of
member of the American Bar Association’s               many thousands of hours of your time, prosecuted
Sections of Litigation and Antitrust Law.              this case to a successful conclusion.” The court
                                                       also credited the Firm with raising the inadequacy
Mr. Rothman earned his Bachelor of Arts degree         of the initial settlement.
in Economics from the State University of New
York at Binghamton. He then earned his Juris           Mr. Rudman is an active speaker and writer on
Doctor degree, with Distinction, from Hofstra          securities law matters. Mr. Rudman has spoken at
University School of Law. During law school,           programs sponsored by the Practising Law
Mr. Rothman was a member of the law review             Institute, including: Securities Litigation &
and was awarded the Dean’s Academic                    Enforcement Institute 2009 and Response to Ponzi
Scholarship for completing his first year in the top   and Other Schemes: Alternative Investment Funds
one percent of his class. Prior to the Firm, Mr.       under Scrutiny 2009. In 2008 and 2009, Mr.
Rothman practiced commercial litigation with an        Rudman spoke at the D&O Symposium organized
international law firm.                                by the Professional Liability Underwriting
                                                       Society.
SAMUEL H. RUDMAN‘s practice focuses on
recognizing and investigating securities fraud, and    Mr. Rudman’s recent articles include: Meaning of
initiating securities and shareholder class actions    Second Circuit’s “W.R. Huff” for Investment
to vindicate shareholder rights and recover            Advisors, New York Law Journal, Jan. 30, 2009,
shareholder losses. A former attorney with the         which was quoted by Judge Juan R. Sánchez in
United States Securities and Exchange                  his decision granting class certification in In re
                                                                         Robbins Geller Rudman & Dowd LLP
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Herley Indus., Inc. Sec. Litig., No. 06-CV-2596        1997 and her Juris Doctor degree from the
(E.D. Pa.); Back to “Novak”: Confidential              University of Kentucky, College of Law in 2000.
Witnesses in Fraud Actions, New York Law               During law school, Ms. Schroder served as an
Journal, Oct. 20, 2008; and “Oscar”:                   intern for the Honorable Sara Walter Combs,
Misinterpretation    of    Fraud-on-the-Market         Kentucky Court of Appeals, 7th Appellate
Theory, New York Law Journal, July 17, 2008.           District. In 2006, Ms. Schroder helped campaign
                                                       for her father, Justice Wil Schroder, who was
Mr. Rudman received his Bachelor of Arts degree        elected to the Kentucky Supreme Court.
in Political Science from Binghamton University
and earned his Juris Doctor degree from Brooklyn       Ms. Schroder has significant experience
Law School. While attending law school, Mr.            prosecuting every aspect of securities fraud class
Rudman was a Dean’s Merit Scholar and a                actions and has obtained millions of dollars on
member of the Brooklyn Journal of International        behalf of defrauded investors. Prominent cases
Law and the Moot Court Honor Society. Upon             include: In re AT&T Corp. Sec. Litig. ($100
graduation from law school, Mr. Rudman joined          million recovery at trial); In re FirstEnergy Corp.
the Enforcement Division of the United States          Sec. Litig. ($89.5 million recovery); Rasner v.
Securities and Exchange Commission in its New          Sturm (FirstWorld Commc'ns); and In re
York Regional Office as a staff attorney, where he     Advanced Lighting Sec. Litig. Ms. Schroder also
was responsible for numerous investigations and        specializes in derivative litigation for breaches of
prosecutions of violations of the federal securities   fiduciary duties by corporate officers and
laws. Thereafter, Mr. Rudman joined one of the         directors. Significant litigation includes In re OM
largest corporate law firms in the country, where      Group S'holder Litig. and In re Chiquita S'holder
he represented public companies in the defense of      Litig. Currently, Ms. Schroder is representing
securities class actions and also handled white-       clients that have suffered losses from the Madoff
collar criminal defense matters.                       fraud in the Austin Capital and Meridian Capital
                                                       litigations.
SCOTT SAHAM was born in Detroit, Michigan in
1970. Mr. Saham received a Bachelor of Arts            Ms. Schroder’s practice also focuses on advising
degree in 1992 from the University of Michigan.        institutional investors, including public and multi-
Mr. Saham received a Juris Doctor degree from          employer pension funds, on issues related to
the University of Michigan Law School in 1995.         corporate fraud in the United States securities
Mr. Saham is licensed to practice law in both          markets. Ms. Schroder is a frequent lecturer on
California and Michigan. Mr. Saham's practice          securities fraud, shareholder litigation, and
areas include securities and other complex             options for institutional investors seeking to
litigation. Mr. Saham recently served as lead          recover losses caused by securities and/or
counsel prosecuting the In re Coca-Cola                accounting fraud.
Securities Litigation in the Northern District of
Georgia, which resulted in a $137.5 million            Ms. Schroder is a member of the California and
settlement after nearly 8 years of litigation. Prior   Kentucky Bars and is admitted to practice before
to joining the Firm, Mr. Saham served as an            the United States Supreme Court and before the
Assistant United States Attorney in the Southern       United States District Courts for the Southern,
District of California, where he tried over 20         Central, and Northern Districts of California, the
felony jury trials.                                    District of Colorado, and the Eastern District of
                                                       Kentucky.
STEPHANIE M. SCHRODER is a partner in the San
Diego office. Ms. Schroder earned her Bachelor         CHRISTOPHER P. SEEFER received his Bachelor
of Arts degree from the University of Kentucky in      of Arts degree from the University of California,
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Berkeley in 1984 and his Master of Business            as a barrister, he first practiced at the international
Administration degree from the University of           firm Jones Day in Cleveland, Ohio (1987-1990),
California, Berkeley in 1990. He received his          followed by practice at the Los Angeles office of
Juris Doctor degree from the Golden Gate               New York’s Stroock & Stroock & Lavan (1990-
University School of Law in 1998. Mr. Seefer           1993).       At those firms, Mr. Solomon’s
concentrates his practice in securities class action   representations included the defense of securities
litigation. Mr. Seefer was a Fraud Investigator        fraud and other white-collar crimes, antitrust,
with the Office of Thrift Supervision, Department      copyright, commercial and real estate litigation
of the Treasury (1990-1999) and a field examiner       and reinsurance arbitration. While practicing in
with the Office of Thrift Supervision (1986-1990).     Los Angeles, acting for plaintiffs, Mr. Solomon
                                                       took to trial and won complex commercial
Mr. Seefer is a member of the Bar of California,       contract and real estate actions in the Orange
the United States District Courts for the Northern,    County and Los Angeles Superior Courts,
Central, and Southern Districts of California, and     respectively.
the United States Court of Appeals for the Ninth
Circuit.                                               Since 1993, Mr. Solomon has spearheaded the
                                                       prosecution of many significant cases. He has
TRIG SMITH received his Bachelor of Science            obtained substantial recoveries and judgments for
degree and Master of Science degree from the           plaintiffs    through     settlement,     summary
University of Colorado, Denver, in 1995 and            adjudications and trial. He litigated, through trial,
1997, respectively. Mr. Smith received a Juris         In re Helionetics, where he won a unanimous
Doctor degree from Brooklyn Law School in              $15.4 million jury verdict in November 2000. He
2000. While at Brooklyn Law Mr. Smith was a            has successfully led many other cases, among
member of the Brooklyn Journal of International        them: Schwartz v. TXU ($150 million recovery
Law, which published his note entitled: The S.E.C.     plus significant corporate governance reforms); In
and Foreign Private Issuers, 26 Brook. J. Int'l L.     re Informix Corp. Sec. Litig. ($142 million
765 (2000). Mr. Smith is licensed to practice in       recovery); Rosen v. Macromedia, Inc. ($48
both California and Colorado. Mr. Smith's              million recovery); In re Comty. Psychiatric Ctrs.
practice areas include securities and other            Sec. Litig. ($42.5 million recovery); In re
complex litigation.                                    Advanced Micro Devices Sec. Litig. ($34 million
                                                       recovery); In re Tele-Commc’ns, Inc. Sec. Litig.
MARK SOLOMON earned his law degrees at                 ($33 million recovery); In re Home Theater Sec.
Trinity College, Cambridge University, England         Litig. ($22.5 million judgment); In re Diamond
(1985), Harvard Law School (1986), and the Inns        Multimedia Sec. Litig. ($18 million recovery);
of Court School of Law, England (1987). He is          Hayley v. Parker ($16.4 million recovery); In re
admitted to the Bar of England and Wales               Gupta Corp. Sec. Litig. ($15 million recovery); In
(Barrister), Ohio and California, as well as to        re Radius Sec. Litig.; In re SuperMac Tech., Inc.
various United States Federal District and             Sec. Litig. (combined recovery of $14 million);
Appellate Courts.     Mr. Solomon regularly            Markus v. The North Face ($12.5 million
represents both United States - and United             recovery); In re Brothers Gourmet Coffees, Inc.
Kingdom - based pension funds and asset                Sec. Litig. ($9 million recovery); Anderson v.
managers in class and non-class securities             EFTC ($9 million recovery); In re Flir Sys. Inc.
litigation. Mr. Solomon is a founding partner of       Sec. Litig. ($6 million recovery); In re Nike, Inc.
Robbins Geller Rudman & Dowd LLP.                      Sec. Litig. ($8.9 million recovery); Sharma v.
                                                       Insignia ($8 million recovery); and In re Medeva
Before studying law in England, Mr. Solomon            Sec. Litig. ($6.75 million recovery).
served as a British police officer. After qualifying
                                                                         Robbins Geller Rudman & Dowd LLP
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Mr. Solomon chaired the American Bar                  Legal Officer, United Stats Navy, VT-25, Chase
Association Directors and Officers Liability Sub-     Field, Beeville, Texas, 1966-1969; and Deputy
Committee and the Accountants Liability Sub-          Legislative Counsel, Legislature of California,
Committee between 1996 and 2001.                      Sacramento, 1965-1966.

SANFORD SVETCOV has been a partner in the             Mr. Svetcov is certified as a Specialist in
Appellate Practice Group at Robbins Geller            Appellate practice by the State Bar of California
Rudman & Dowd LLP’s San Francisco office              Board of Legal Specialization. He was selected
since joining the Firm in July 2000. Mr. Svetcov      by the Attorney General for the Department of
has briefed and argued more than 300 appeals in       Justice’s John Marshall Award for Excellence in
state and federal court, including Braxton v. Mun.    Appellate Advocacy in 1986 and is a member and
Court, 10 Cal.3d 138 (1973) (First Amendment);        past President of the American Academy of
Procunier v. Navarette, 434 U.S. 555 (1977)           Appellate Lawyers (1998), and a member of the
(Civil Rights); Parker Plaza v. UNUM Ins., 941        California Academy of Appellate Lawyers.
F.2d 349 (5th Cir. 1991) (Real Estate); Catellus v.
United States, 34 F.3d 748 (9th Cir. 1994)            In 1999 and 2002, Chief Justice Rehnquist
(CERCLA); United States v. Hove, 52 F.3d 233          appointed Mr. Svetcov to three-year terms on the
(9th Cir. 1995) (Criminal Law); Kelly v. City of      Federal Appellate Rules Advisory Committee. He
Oakland, 198 F.3d 779 (9th Cir. 1999)                 is also an ex officio member of the Ninth Circuit
(Employment Law); United States v. Henke, 222         Rules Advisory Committee on Rules and Internal
F.3d 633 (9th Cir. 2000) (Securities Fraud);          Operating Procedures. His other memberships
Moore v. Liberty Nat'l Life Ins. Co., 267 F.3d        and service commitments to the legal profession
1209 (11th Cir. 2001) (Civil Rights); In re           include: American Academy of Appellate
Cavanaugh, 306 F.3d 726 (9th Cir. 2002)               Lawyers; Ninth Circuit Advisory Committee on
(Securities Fraud); Dehoyos v. Allstate Corp., 345    Rules and Internal Operating Procedures; Federal
F.3d 290 (5th Cir. 2003) (Civil Rights); In re        Appellate Rules Advisory Committee; the
Monumental Life Ins. Co., 343 F.3d 331 (5th Cir.      California Academy of Appellate Lawyers; the
2003) (Class Certification); Nursing Home             Bar Association of San Francisco (Appellate
Pension Fund v. Oracle Corp., 380 F.3d 1226           Courts section); the American Bar Association
(9th Cir. 2004) (Securities Fraud); Inst. Investors   (Appellate Judges Conference) Committee on
v. Avaya, Inc., 564 F.3d 242 (3d Cir. 2009)           Appellate Practice; and the Northern California
(Securities Fraud); Lormand v. United States          Federal Bar Association, Board of Directors.
Unwired, Inc., 565 F.3d 228 (5th Cir. 2009)
(Securities Fraud); and Alaska Elec. Pension Fund     Mr. Svetcov earned his Bachelor of Arts degree,
v. Flowserve Corp., 572 F.3d 221 (5th Cir. 2009)      cum laude, from Brooklyn College in 1961 and
(Securities Fraud).                                   his Juris Doctor degree from the University of
                                                      California, Berkeley, in 1964. He is a member of
Mr. Svetcov was a partner with the firm of            the Bars of the State of California, the United
Landels Ripley & Diamond, LLP, in San                 States Supreme Court, the United States Court of
Francisco, from 1989 to 2000. His extensive legal     Appeals for the First through Eleventh Circuits
experience includes service as: Chief, Appellate      and the United States District Court for the
Section, United States Attorney’s Office, San         Northern District of California.
Francisco, 1984-1989; Attorney-in-Charge,
Organized Crime Strike Force, San Francisco,          For two decades, he as been active as a teacher
1981-1984; Chief Assistant United States              and lecturer at continuing legal education
Attorney, San Francisco, 1978-1981; Deputy            programs, including those of the ABA Appellate
Attorney General, State of California, 1969-1977;     Practice Institutes (1990-2000), Fifth Circuit Bar
                                                                      Robbins Geller Rudman & Dowd LLP
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Association Appellate Practice Seminars (1991-        competition cases, including In re LifeScan, Inc.
2003), the Ninth Circuit Federal Bar Association      Consumer Litig. (N.D. Cal.), which settled for $45
Appellate Practice Seminar, and the N.I.T.A.          million; the Bank Privacy Cases (S.F. Sup. Ct.),
Appellate Advocacy Seminar and Fifth Circuit          which resulted in better bank privacy policies,
Bar Association Appellate Practice Seminars           funding to non-profit groups advocating for
(1991-1999). He has served as an adjunct              privacy rights, and benefits to credit cardholders;
professor at Hastings College of Law and an           In re Dynamic Random Access Memory (DRAM)
instructor in Appellate Advocacy at the United        Antitrust Litig. (N.D. Cal.), which settled for more
States Attorney General’s Advocacy Institute          than $300 million; In re NASDAQ Market-Makers
(1980-1989).                                          Antitrust Litig. (S.D.N.Y.), which settled for
                                                      $1.027 billion, and In re Airline Ticket Comm’n
Mr. Svetcov is also active in community affairs.      Antitrust Litig. (D. Minn.), which settled for more
He has been a member of the San Francisco             than $85 million.
Jewish Community Relations Council from 1982-
2000, its President from 1991-1992, and during        A frequent lecturer on antitrust law, California’s
the years 1993-1995, he also served on the            unfair competition law, and complex litigation
Northern California Hillel Council.                   matters, Ms. Sweeney has published several
                                                      articles, contributed to books and treatises, and
BONNY E. SWEENEY is a partner in the San Diego        testified before the California Judiciary
office of Robbins Geller Rudman & Dowd LLP,           Committee on these topics. Recent publications
where she specializes in antitrust and unfair         include THE NEXT ANTITRUST AGENDA: THE
competition class action litigation. She is a         AMERICAN          ANTITRUST        INSTITUTE’S
former Chair of the Antitrust and Unfair              TRANSITION REPORT ON COMPETITION
Competition Law Section of the State Bar of           POLICY TO THE 44TH PRESIDENT OF THE
California and has been an Advisory Board             UNITED STATES (Albert A. Foer, ed. 2008) (co-
Member of the American Antitrust Institute since      author); The ‘Federalization’ of the Cartwright
2004. In 2007, Ms. Sweeney was honored by             Act, 17 COMPETITION 139 (Fall 2008); State
Competition Law 360 in its “Outstanding Women         Common Law Torts, Business Torts and Unfair
in Antitrust” series.                                 Competition Law, ANTITRUST And UNFAIR
                                                      COMPETITION LAW TREATISE (4th ed.,
Ms. Sweeney is co-lead counsel in several multi-      forthcoming 2008) (co-author); and An Overview
district antitrust class actions pending in federal   of Section 2 Enforcement and Developments, 2008
courts around the country, including In re            WIS. L. REV. 231 (2008).
Payment Card Interchange Fee and Merch. Disc.
Antitrust Litig. (E.D.N.Y.), and In re Currency       In 2003, Ms. Sweeney was honored with the
Conversion Fee Antitrust Litig. (S.D.N.Y.). In        Wiley M. Manuel Pro Bono Services Award and
Currency Conversion, Ms. Sweeney helped               the San Diego Volunteer Lawyer Program
recover $336 million for class members through a      Distinguished Service Award for her work on
proposed settlement that is awaiting approval         behalf of welfare applicants in Sanchez v. County
from the federal court.                               of San Diego.
Ms. Sweeney was one of the trial lawyers in Law       Ms. Sweeney graduated summa cum laude from
v. NCAA/Hall v. NCAA/Schreiber v. NCAA (D.            Case Western Reserve University School of Law
Kan.), in which the jury awarded $67 million to       in 1988, where she served as editor of the Law
three classes of college coaches. She has             Review and was elected to the Order of the Coif.
participated in the successful prosecution and        She earned a Master of Arts degree from Cornell
settlement of numerous other antitrust and unfair     University in 1985, a Chinese Language
                                                                       Robbins Geller Rudman & Dowd LLP
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Certificate from the Beijing Language Institute in    Ms. Taylor is a member of the California Bar
1982, and a Bachelor of Arts degree from Whittier     Association, San Diego County Bar Association,
College in 1981.                                      Consumer Attorneys of California, Consumer
                                                      Attorneys of San Diego, Lawyer’s Club, and is on
A litigator since 1988, Ms. Sweeney is admitted       the Board of Directors for the San Diego
to practice before all courts in California and       Volunteer Lawyer Program. Ms. Taylor is also an
Massachusetts, and before the United States           active member of the Junior League of San Diego,
Supreme Court. She is a member of the Antitrust       and a founding member of the Girls Think Tank,
Section of the American Bar Association and the       currently serving on its Advisory Board.
Antitrust and Unfair Competition Law Section of
the California Bar Association.                       RYAN K. WALSH is an experienced intellectual
                                                      property litigator whose practice is primarily
SUSAN GOSS TAYLOR graduated from                      focused in the area of patent litigation. Mr.
Pennsylvania State University in 1994 with a          Walsh’s experience has included disputes
double major in International Politics and            involving a variety of technologies, from basic
Russian. Ms. Taylor earned her Juris Doctor           mechanical applications to more sophisticated
degree from The Catholic University of America,       technologies in the medical device and wireless
Columbus School of Law in 1997. While in law          telecommunications fields. Mr. Walsh has
school, Ms. Taylor was a member of the Moot           appeared as lead counsel in complex cases before
Court team and was a student attorney in the D.C.     federal appellate and district courts, state trial
Law Students in Court Program, where she was          courts, and in arbitration proceedings. Recent
responsible for defending juveniles and indigent      notable cases include multi-defendant patent
adults in criminal proceedings. Ms. Taylor was        litigation involving wireless mesh technology and
admitted to the Bar in California in 1997.            wireless LAN technology.
Ms. Taylor has served as a Special Assistant          Mr. Walsh has been recognized often by his peers
United States Attorney for the Southern District of   in Atlanta Magazine’s “Super Lawyers” survey as
California, where she obtained considerable trial     a “Rising Star” in the field of Intellectual Property
experience prosecuting drug smuggling and alien       Litigation, and he writes and speaks on topics
smuggling cases.                                      related to patent litigation. Mr. Walsh is a magna
                                                      cum laude graduate of the University of Georgia
Ms. Taylor entered private practice in 1999,          School of Law, where he was a Bryant T.
initially focusing on antitrust and consumer fraud    Castellow Scholar and a member of the Order of
class actions. Ms. Taylor has served as counsel       the Coif. He received his undergraduate degree
on the Microsoft, DRAM and Private Equity             from Brown University.
antitrust litigation teams, as well as on a number
of consumer actions alleging false and misleading     Throughout his career, Mr. Walsh has been active
advertising and unfair business practices against     in the Atlanta legal community. He is currently
major corporations such as General Motors,            the First Vice President of the Atlanta Legal Aid
Saturn, Mercedes-Benz USA, LLC, BMG Direct            Society, where he sits on the ALAS Board and
Marketing, Inc., and Ameriquest Mortgage              Executive Committee.
Company. As a partner with Robbins Geller
Rudman & Dowd LLP, Ms. Taylor has also been           DAVID C. WALTON earned his Bachelor of Arts
responsible for prosecuting securities fraud class    degree in Accounting from the University of Utah
actions and has obtained recoveries for investors     and his Juris Doctor degree from the University of
in litigation involving WorldCom, Qwest and           Southern California Law Center in 1993. He was
AOL Time Warner.                                      a staff member of the Southern California Law
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Review and a member of the Hale Moot Court              that, Mr. Wilens was an associate in the New
Honors Program.                                         York office of Proskauer Rose LLP, a nationally
                                                        recognized firm, where he litigated complex
Mr. Walton is a member of the Bar of California,        actions on behalf of numerous professional sports
a Certified Public Accountant (California 1992), a      leagues, including: the National Basketball
Certified Fraud Examiner, and is fluent in              Association, the National Hockey League and
Spanish. Mr. Walton focuses on class actions and        Major League Soccer. Mr. Wilens has served as
private actions on behalf of defrauded investors,       an adjunct professor at Florida Atlantic University
particularly in the area of accounting fraud. He        and Nova Southeastern University, where he
has investigated and participated in the litigation     taught undergraduate and graduate level business
of many large accounting scandals, including            law classes.
Enron, WorldCom, AOL Time Warner, Krispy
Kreme, Informix, HealthSouth, Dynegy, Dollar            SHAWN A. WILLIAMS is a partner in the Firm's
General and numerous companies implicated in            San Francisco, California office. Mr. Williams'
stock option backdating. In 2003-2004, Mr.              practice focuses on securities class actions and
Walton served as a member of the California             shareholder derivative actions. Mr. Williams was
Board of Accountancy, which is responsible for          among the lead class counsel for the Firm in
regulating the accounting profession in California.     notable cases, including: In re Harmonic Inc. Sec.
                                                        Litig., No. 00-2287 (N.D. Cal.); In re Krispy
DOUGLAS WILENS is a partner in the Firm’s Boca          Kreme Doughnuts, Inc. Sec. Litig., No. 04-0416
Raton, Florida office. Mr. Wilens is involved in        (M.D.N.C.); and In re Veritas Software Corp. Sec.
all aspects of securities class action litigation,      Litig., No. 03-0283-MMC (N.D. Cal.).
focusing on lead plaintiff issues arising under the
Private Securities Litigation Reform Act. Mr.           Mr. Williams is also among the Firm's lead
Wilens is also involved in the Firm’s appellate         attorneys prosecuting shareholder derivative
practice, participating in the successful appeal of a   actions, in particular, numerous stock option
motion to dismiss before the Fifth Circuit Court of     backdating actions, securing tens of millions of
Appeals in Lormand v. US Unwired, Inc., No 07-          dollars in cash recoveries, and negotiating the
30106 (5th Cir. 2009) (reversal of order granting       implementation of comprehensive corporate
motion to dismiss).                                     governance enhancements for companies
                                                        victimized by fraudulent stock option practices.
Mr. Wilens earned his Bachelor of Science degree        See, e.g., In re McAfee, Inc. Deriv. Litig., No. 06-
in Accounting from the University of Florida. He        3484-JF (N.D. Cal.); In re Marvell Tech. Group
graduated with honors from the University of            Ltd. Deriv. Litig., No. 06-3894-RMW (N.D. Cal.);
Florida College of Law where he received a              and The Home Depot, Inc. Deriv. Litig., No.
“Book Award” for the highest grade in his legal         2006-cv-122302 (Ga. Super. Ct. Fulton County).
drafting class. Mr. Wilens is licensed to practice
law in the state courts of Florida and New York,        Prior to joining the Firm in 2000, Mr. Williams
as well as the Eleventh Circuit Court of Appeals,       served for five years as an Assistant District
and the United States District Courts for the           Attorney in the Manhattan District Attorney's
Southern and Eastern Districts of New York, and         Office where he tried over 20 cases to New York
the Southern, Middle and Northern Districts of          City juries, and led white collar fraud grand jury
Florida.                                                investigations.

Prior to joining the Firm, Mr. Wilens learned the       Mr. Williams received his Bachelor of Arts
basics of class action practice at various boutique     degree in English from The State University of
firms located in Boca Raton, Florida. Prior to          New York at Albany in 1991. He earned his Juris
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Doctor degree from the University of Illinois in       DEBRA J. WYMAN was born in La Mesa,
1995.                                                  California in 1967. Ms. Wyman specializes in
                                                       securities litigation and has litigated numerous
Mr. Williams is admitted to the New York State         cases against public companies in the state and
Bar and the State Bar of California.                   federal courts which resulted in hundreds of
                                                       millions of dollars in recoveries to investors. In
DAVID T. WISSBROECKER focuses his practice on          late 2004, Ms. Wyman was a member of the trial
securities class action litigation in the context of   team in In re AT&T Corp. Sec. Litig., which was
mergers and acquisitions, representing both            tried in the District Court in New Jersey, and
individual shareholders and institutional investors.   which settled after two weeks of trial for $100
Mr. Wissbroecker combines aggressive advocacy          million. Currently, Ms. Wyman is litigating the
with a detailed knowledge of the law to achieve        complicated accounting fraud matter against
effective results for his clients in both state and    HealthSouth Corporation, one of the largest and
federal courts nationwide.                             long-running corporate frauds in history.
Mr. Wissbroecker has successfully litigated            Ms. Wyman received her Bachelor of Arts degree
matters resulting in monetary settlements in           from the University of California, Irvine in 1990
excess of $150 million dollars over the last two       and her Juris Doctor degree from the University
years, including: In re PETCO Animal Supplies;         of San Diego School of Law in 1997. Ms.
In re Dollar Gen.l Corp. S’holders Litig.; Hattan      Wyman was admitted to the California Bar in
v. Restoration Hardware Inc.; and In re Elec.          1997 and is licensed to practice before all the
Data Sys. Class Action Litig. Most recently, Mr.       California State Courts, as well as all the United
Wissbroecker was appointed as lead counsel for         States District Courts in California and the
the Affiliated Computer Services, Inc. shareholder     Eleventh Circuit Court of Appeals. She is a
litigation in Texas where he secured substantial       member of the California Bar Association and the
modifications to the merger agreement between          San Diego County Bar Association.
Affiliated and Xerox, as reported in The New York
Times in an article by Steven M. Davidoff entitled                     OF COUNSEL
“A Look at Xerox’s Big Concessions in Its ACS
Deal.”                                                 AELISH MARIE BAIG earned her Bachelor of Arts
                                                       degree in International Relations from Brown
Mr. Wissbroecker graduated, cum laude, from            University in 1992. Ms. Baig obtained her Juris
Arizona State University in 1998 with Bachelor of      Doctor degree, cum laude, in 1998 from the
Arts degrees in History and Art History. In 2003,      Washington College of Law at American
Mr. Wissbroecker earned his Juris Doctor degree        University, where she was a senior editor of the
from the University of Illinois College of Law,        Administrative Law Review. Upon graduating,
magna cum laude. Following law school, Mr.             Ms. Baig clerked for one year for the Honorable
Wissbroecker served as a staff attorney for the        Judge Alfred Lindeman at the United States
United States Court of Appeals for the Seventh         Department of Labor, Office of Administrative
Circuit, and then as a law clerk for the Honorable     Law Judges.
John L. Coffey, Circuit Judge for the Seventh
Circuit. Mr. Wissbroecker is the author of Six         Ms. Baig joined the firm of Lawless & Lawless in
Klimts, a Picasso and a Schiele: Recent Litigation     1999, where she litigated primarily employment
Attempts to Recover Nazi Stolen Art, 14                discrimination cases on behalf of plaintiffs. Ms.
DEPAUL-LCA J. ART & ENT. L. 39 (2004).                 Baig has successfully briefed and argued
                                                       numerous dispositive motions in state and federal
                                                       trial courts, as well as in the Court of Appeals.
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Notably, Ms. Baig prepared all briefing in the        (“VIP”), an organization based on the Big
trial, appellate and California Supreme Court for a   Brothers’ paradigm, in which attorneys are
sexual harassment/retaliation case entitled Miller    matched with parolees from the California Youth
v. The California Department of Corrections,          Authority in an effort to offer positive mentoring.
ultimately obtaining a unanimous decision from        She also served on VIP's local and state-wide
the California Supreme Court in the plaintiffs’       boards.
favor. Ms. Baig has second chaired a number of
jury trials which resulted in awards or favorable     Ms. Bowman is a member of the California Bar
settlements for her clients.                          (1990), and is admitted to the Supreme Court of
                                                      the State of California, the United States District
Ms. Baig joined the Firm in July 2004. She            Court for the Southern District of California, the
presently litigates consumer and securities fraud     United States Court of Appeals for the Ninth
class actions. She is a member of the California      Circuit, and the Supreme Court of the United
Bar and is admitted to practice before the United     States.
States District Court for the Northern District of
California and the Ninth Circuit Court of Appeals.    BRUCE BOYENS earned his Juris Doctor degree
                                                      from the University of Kentucky College of Law,
ELISABETH A. BOWMAN practice areas include            while working in various industrial jobs to support
class action consumer protection and antitrust. In    his family. He also earned a Certificate in
addition, Ms. Bowman oversees and assists in the      Environmental Policy and Management from
preparation of Robbins Geller Rudman & Dowd           Harvard University. Mr. Boyens has served as Of
LLP’s litigation graphics.                            Counsel to the Firm since 2001. A private
                                                      practitioner in Denver, Colorado since 1990, Mr.
Ms. Bowman assisted in the successful                 Boyens specializes in consulting with labor
prosecution of the following trials: Long v. Wells    unions on issues relating to labor and
Fargo Co.; Yourish v. Ca. Amplifier; In re            environmental law, labor organizing, labor
Helionetics, Inc. Sec. Litig.; Schwartz v. Visa;      education, union elections, internal union
Douglas Shooker v. Gary Winnick; and In re            governance and alternative dispute resolutions.
AT&T Corp. Sec. Litig.
                                                      In this capacity, he was a Regional Director for
Ms. Bowman received her Bachelor of Fine Arts         the International Brotherhood of Teamsters
degree from the University of Alaska at               elections in 1991 and 1995. He developed and
Anchorage in 1986. She majored in Fine Arts and       taught collective bargaining and labor law courses
Psychology. While a student at the U of A, she        for the George Meany Center, the United Mine
received a grant from the Ford Foundation to          Workers of America, Transportation Workers
participate in the artists in residency program at    Local 260, the Kentucky Nurses Association,
the Visual Arts Center, Alaska. Ms. Bowman            among others. Previously, he was an Attorney
received her Juris Doctor degree from the             Instructor at the University of Tennessee Legal
University of San Diego in 1989. During the           Clinic in Knoxville, Tennessee (1977-1978) and
summer of 1987, she attended USD’s Institute on       an Assistant Professor at the West Virginia
International and Comparative Law in Oxford,          Institute of Technology in Montgomery, West
England.                                              Virginia (1975).

Ms. Bowman was in private practice as a criminal      He served as a special arbitrator of securities
defense attorney for eight years, handling both       fraud claims in Kentucky in the matter of SEC v.
trials and appeals in state and federal courts. Ms.   Prudential Sec., Inc., (D. D.C.) Case No. 93-2164
Bowman is a member of Volunteers in Parole            (1993).
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He served as the Western Regional Director and          which a partial settlement of $554 million has
Counsel for the United Mine Workers from 1983-          been recovered to date.
1990, where he was the chief negotiator in over
30 major agreements for the United Mine                 Formerly, Mr. Coughlin was an Assistant United
Workers, and represented the United Mine                States Attorney in the District of Columbia and
Workers in all matters before the National Labor        the Southern District of California, handling
Relations Board. From 1973-1977, he served as           complex white-collar fraud matters. During this
General Counsel to District 17 of the United Mine       time, Mr. Coughlin helped try one of the largest
Workers Association and also worked as an               criminal RICO cases ever prosecuted by the
underground coal miner during that time.                United States, United States v. Brown, Case No.
                                                        86-3056-SWR, as well as an infamous oil fraud
From 1978-1982, he served as the Assistant              scheme resulting in a complex murder-for-hire
Regional Director/Inspection and Enforcement            trial, United States v. Boeckman, Case No. 87-
(Kentucky, Tennessee, Alabama and Georgia) for          0676-K.
the United States Department of the Interior,
Office of Surface Mining in Knoxville,                  Mr. Coughlin’s additional trials involving
Tennessee.                                              securities violations include cases against Wells
                                                        Fargo and California Amplifier. Both cases
He has authored several articles in the areas of        settled in trial. Cases that settled on the eve of
labor and environmental law, including:                 trial include cases against Alcatel and America
Development of Foreign Coal by American                 West. Mr. Coughlin has tried more than 50 jury
Companies, The National Coal Issue, West                and non-jury trials, including a large private
Virginia Law Review (Spring 1985), Export of            RICO trial against the major tobacco companies
Coal, Jobs and Capital and Its Effects on the           on behalf of hundreds of thousands of Ohio Taft-
American Coal Industry, Ninth Annual Seminar in         Hartley health and welfare fund participants. Mr.
Mineral Law, University of Kentucky College of          Coughlin also helped end the Joe Camel ad
Law (October 1984), and the Guide to Black Lung         campaign, a cartoon ad campaign that targeted
Benefits (December 1972). He has served as a            children and secured a $12.5-billion recovery for
member of the Editorial Board of the Journal of         the cities and counties of California in the
Mineral Law & Policy, University of Kentucky            landmark 1998 state settlement with the tobacco
College of Law, from 1988-1999.                         companies.

He is a member of the Tennessee and West                MARK DEARMAN is a native Floridian. Mr.
Virginia Bars.                                          Dearman received his undergraduate degree from
                                                        the University of Florida and his Juris Doctor
PATRICK J. COUGHLIN is the Firm’s Chief Trial           degree from Nova Southeastern University. Upon
Counsel, and has been lead counsel for several          graduation from law school in 1993, he worked in
major securities matters, including one of the          the Miami office of Ruden, McClosky, Smith,
largest class action securities cases to go to trial,   Schuster & Russell. After spending several years
In re Apple Computer Sec. Litig., Case No. C-84-        defending Fortune 500 companies in all aspects
20148(A)-JW (N.D. Cal.).                                of litigation, with an emphasis in complex
                                                        commercial litigation, consumer claims, and
Additional prominent securities class actions           products liability, Mr. Dearman founded the firm
prosecuted by Mr. Coughlin include the Enron            of Dearman & Gerson where he continued to
litigation, in which $7.3 billion was recovered; the    defend many publicly traded corporations for over
Qwest litigation, in which a $445 million recovery      12 years. During the past 17 years of practice,
was obtained; and the HealthSouth litigation, in
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Mr. Dearman obtained extensive jury trial             Mr. Galloway represents and/or provides
experience throughout the United States.              consulting services for the following: National
                                                      Wildlife Federation, Sierra Club, Friends of the
Mr. Dearman holds an AV rating by Martindale-         Earth, United Mine Workers of America, Trout
Hubbell, the highest rating available. He was also    Unlimited, National Audubon Society, Natural
recognized by his peers in 2004 and 2006 as being     Resources Defense Council, German Marshal
in the top 1.5% of Florida Civil Trial Lawyers as     Fund, Northern Cheyenne Indian Tribe and
published in Florida Trend's Florida Legal Elite.     Council of Energy Resource Tribes. He is a
Mr. Dearman is licensed to practice law in the        member of the District of Columbia and Colorado
state courts of Florida, as well as in the United     State Bars.
States District Courts for the Southern, Middle,
and Northern Districts of Florida.                    BYRON S. GEORGIOU received his Bachelor of
                                                      Arts degree with Great Distinction and with
Mr. Dearman's extensive defense background and        Honors in Social Thought and Institutions, from
trial experience is a unique asset which Robbins      Stanford University in 1970 attending on an
Geller Rudman & Dowd LLP utilizes in                  Alfred P. Sloan full academic scholarship. After a
protecting the rights of those who have been          year co-founding and teaching 7th and 8th graders
harmed by corporate misconduct.                       at the Mariposa School, which has thrived for 35
                                                      years as an alternative primary through middle
L. THOMAS GALLOWAY received a Bachelor of             school in rural Mendocino County, he attended
Arts degree in History/Latin from Florida State       Harvard Law School, graduating magna cum
University and received his Juris Doctor degree       laude in 1974. He was admitted to the California
from the University of Virginia Law School in         Bar in 1974 and served for one year as law clerk
1972, where he was a member of the Editorial          to the Honorable Robert F. Peckham, Chief Judge
Board of the University of Virginia Law Review.       of the United States District Court for the
                                                      Northern District of California. He is a member
Mr. Galloway is the founding partner of Galloway      of the Bar of the United States Supreme Court, the
& Associates, a law firm that concentrates in the     United States Court of Appeals for the Ninth
representation of institutional investors – namely,   Circuit and the United States District Courts for
public and multi-employer pension funds.              the Northern, Eastern, Central and Southern
                                                      Districts of California.
Mr. Galloway has authored several books and
articles, including: The American Response to         Mr. Georgiou was recently appointed as one of 10
Revolutionary Change: A Study of Diplomatic           members nationally to the Financial Crisis Inquiry
Recognition (AEI Institute 1978); America’s           Commission, which will report to the Congress in
Energy: Reports from the Nation (Pantheon             December 2010 its conclusions as to the causes of
1980); Contributor, Coal Treatise (Matthew            the global financial crisis.
Bender 1981); Contributor, Mining and the
Environment: A Comparative Analysis of Surface        Mr. Georgiou served from 1975-1980 in various
Mining in Germany, Great Britain, Australia, and      capacities with the California Agricultural Labor
the United States, 4 Harv. Envtl. L. Rev. 261         Relations Board, defending the constitutionality
(Spring 1980); A Miner’s Bill of Rights, 80 W.        of the law up through the United States and
Va. L. Rev. 397 (1978); and Contributor, Golden       California Supreme Courts, and prosecuting
Dreams, Poisoned Streams (Mineral Policy Center       unfair labor practice cases enforcing the collective
Washington D.C. 1997).                                bargaining rights of farm workers, who had been
                                                      excluded from labor protection under the National
                                                      Labor Relations Act.
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From 1980-1983, Mr. Georgiou served as Legal             Mr. Gravo attended Ohio State University as an
Affairs Secretary to California Governor Edmund          undergraduate before attending the University of
G. Brown Jr., responsible for litigation by and          San Diego School of Law. He came to Alaska in
against the Governor, judicial appointments,             1977, served briefly as an intern with the
liaison with the Attorney General, Judiciary and         Municipality of Anchorage and then clerked a
State Bar, legal advice to the Governor and              year for Superior Court Judge J. Justin Ripley.
members of his Cabinet, and exercise of the              After his clerkship with Judge Ripley, he went
Governor's powers of extradition and clemency.           back to the work for the Municipality of
                                                         Anchorage, where he first served as the executive
From 1983-1994, he was Managing Partner and              assistant to the Municipal Manager and then as
co founder of the San Diego law firm of                  the first lobbyist for the then Mayor of
Georgiou, Tosdal, Levine & Smith, a general civil        Anchorage, George M. Sullivan. Mr. Gravo has
practice, with emphasis on litigation, appearances       been described as one of the "top lobbyists in the
before executive and legislative governmental            state" by Alaska's major daily newspaper, The
bodies, and representation of labor organizations        Anchorage Daily News.
and their members, including contract
negotiations and enforcement for many California         His legislative clients include the Anchorage
public and private sector labor organizations.           Economic Development Corporation, the
                                                         Anchorage Convention and Visitors Bureau, UST
In 1994, he co-founded and served as President of        Public Affairs, Inc., the International Brotherhood
American Partners Capital Group, concentrating           of Electrical Workers, Alaska Seafood
on serving the needs of institutional investors          International, Distilled Spirits Council of
through capital formation programs in a variety of       America, RIM Architects, Anchorage Police
alternative asset categories.                            Department Employees Association, Fred Meyer
                                                         and the Automobile Manufacturer’s Association.
In 1981, Mr. Georgiou was honored as Public
Official of the Year by the California Trial             HELEN J. HODGES received her Bachelor of
Lawyers Association and served as Chair of the           Science degree in accounting from Oklahoma
Governor's Task Force on Alcohol, Drugs and              State University in 1979. While attending
Traffic Safety, one of the nation's first vehicles for   Oklahoma State, Ms. Hodges obtained her private
enacting tough drunk driver legislation, sponsored       pilot’s license and in 1980 was a member of
by the Mothers Against Drunk Driving (MADD).             Oklahoma State’s flying team, which won top
                                                         honors at the National Intercollegiate Flying
Mr. Georgiou has been with the Firm since 2000           Association competition. Ms. Hodges became a
and serves as the primary liaison with a number of       certified public accountant in 1982 and received
the Firm's principal institutional clients and has       her Juris Doctor degree from the University of
been actively involved in the historic litigations       Oklahoma in 1983, where she was the Managing
seeking recoveries for defrauded investors in            Editor of the Law Review. She was admitted to
Enron, Dynegy, AOL Time Warner and                       the State Bars of Oklahoma in 1983 and
WorldCom.                                                California in 1987.
MITCHELL D. GRAVO concentrates his practice in           Ms. Hodges was a staff accountant with Arthur
lobbying and government relations. He represents         Andersen & Co. and served as the law clerk for
clients before the Alaska Congressional                  the Penn Square cases in the Western District of
delegation, the Alaska Legislature, the Alaska           Oklahoma. Ms. Hodges has been involved in
State Government and the Municipality of                 numerous securities class actions, including:
Anchorage.                                               Knapp v. Gomez, Civ. No. 87-0067-H(M) (S.D.
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Cal.), in which a plaintiffs’ verdict was returned    employee benefits law. Ms. Juda was also
in a Rule 10b-5 class action; Nat’l Health Labs,      associated with union-side labor law firms in
which was settled for $64 million; Thurber v.         Washington, D.C., where she represented the
Mattel, which was settled for $122 million and        trustees of Taft-Hartley pension and welfare funds
Dynegy, which settled for $474 million. In the        on qualification, compliance, fiduciary and
past several years, Ms. Hodges focused on the         transactional issues under ERISA and the Internal
prosecution of Enron, where a record recovery         Revenue Code.
($7.3 billion) was obtained for investors.
                                                      Using her extensive experience representing union
Ms. Hodges is rated AV by Martindale-Hubbell          pension funds, Ms. Juda advises Taft-Hartley fund
(the highest rating available) and she was selected   trustees regarding their options for seeking redress
as a Super Lawyer in Southern California Super        for losses due to securities fraud. Ms. Juda
Lawyers 2007 – San Diego Edition. Ms. Hodges          currently advises trustees of funds providing
was elected to the Oklahoma State University          benefits for members of unions affiliated with the
Foundation Board of Governors in 2009.                Building and Construction Trades Department of
                                                      the AFL-CIO, including funds sponsored by the
DAVID J. HOFFA is Of Counsel to the Firm and a        Operative Plasterers and Cement Masons
part of the Institutional Outreach Program. He        International Association of America and Canada,
received his Bachelor of Arts degree from             International Union of Painters and Allied Trades,
Michigan State University, and his Juris Doctor       United Union of Roofers, Waterproofers and
degree from Michigan State University College of      Allied Workers and International Union of
Law.                                                  Elevator Constructors. Ms. Juda also represents
                                                      workers in ERISA class actions involving breach
Working closely with the Firm’s partners, Mr.         of fiduciary duty claims against corporate plan
Hoffa is an integral part of the Firm’s client        sponsors and fiduciaries.
outreach and business development programs. He
advises public and multi-employer pension funds       Ms. Juda is licensed to practice in Maryland
around the country on issues related to corporate     (1992) and the District of Columbia (1995). She
fraud in the U.S. securities markets and “best        is a member of the National Coordinating
practices” in the corporate governance of publicly    Committee for Multi-Employer Plans, the
traded companies. Mr. Hoffa is based in the           International Foundation of Employee Benefit
Firm's Washington, D.C. office.                       Plans, the Employee Benefits Committee of the
                                                      American Bar Association’s Section of Labor and
He is admitted in Michigan and the District of        Employment Law and the AFL-CIO Lawyers’
Columbia.                                             Coordinating Committee.
NANCY M. JUDA concentrates her practice in            JEFFREY W. LAWRENCE received his Bachelor of
employee benefits law and works in the Firm’s         Arts degree, magna cum laude, from Tufts
Institutional Investors Department. Ms. Juda          University in 1976. In 1979, Mr. Lawrence
received her Juris Doctor degree from American        graduated magna cum laude with a Juris Doctor
University in 1992 and her undergraduate degree       degree from Boston School of Law. He was a
from St. Lawrence University in 1988.                 staff member of the Boston University Law
                                                      Review from 1977-1978, and its editor from 1978-
Prior to joining Robbins Geller Rudman & Dowd         1979.
LLP, Ms. Juda was employed by the United Mine
Workers of America Health & Retirement Funds,         From September 1979 to September 1980, Mr.
where she began her practice in the area of           Lawrence served as a law clerk to the Honorable
                                                                       Robbins Geller Rudman & Dowd LLP
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Walter Jay Skinner, United States District Court,     Ms. Menon received her Juris Doctor degree from
District of Massachusetts. He was admitted to the     Indiana University, School of Law, Bloomington,
Massachusetts Bar in 1979 and to the Bar of           Indiana, and her bar affiliations and court
California in 1991. He is licensed to practice        admissions include: District of Columbia; New
before the United States Court of Appeals, First      York; Colorado; Indiana; and the United States
and Ninth Circuits, the United States District        Supreme Court.
Court, District of Massachusetts and the Northern
District of California.                               MARK MILLKEY received his Bachelor of Arts
                                                      degree in English from Yale University in 1981,
From 1983-1994, Mr. Lawrence was an Assistant         his Masters of Arts degree in English from the
United States Attorney, Criminal Division, where      University of Virginia in 1983, and his Juris
he obtained extensive trial experience in white-      Doctor degree from the University of Virginia in
collar crimes, ranging from money-laundering to       1987.
stock fraud.
                                                      Prior to joining Robbins Geller Rudman & Dowd
RUBY MENON practice focuses on providing a            LLP, between 1996 and early 2009, Mr. Millkey
variety of legal and consulting services to single    was associated with two prominent Manhattan
and mutli-employer pension funds. She also            plaintiffs' class action firms, where his practice
serves as a member of the firm’s advisory team        focused on consumer-fraud class actions against
and liaison between the firm’s many individual        life insurance companies and complex securities
and institutional investor clients in the United      class actions. In 1995, Mr. Millkey assisted in a
States and abroad.                                    double derivative action involving a utility
                                                      regarding overcharges for the provision of
For over 12 years Ms. Menon served as the chief       electricity. And between 1987 and 1994, Mr.
legal counsel to two large multi-employer             Millkey represented defendant corporations in
retirement plans, developing her expertise in         complex commercial litigations.
many areas of employee benefits administration,
including legislative initiatives and regulatory      Mr. Millkey has significant experience in the area
affairs, investments, tax, fiduciary compliance and   of derivative litigation and contributes extensively
plan administration. One of her successful            to the prosecution of litigations. For example,
projects as General Counsel to the State of           Mr. Millkey contributed in a major litigation
Indiana’s Public Employees’ Retirement Fund           against MetLife which resulted in a benefit to the
was to help develop the legal strategy and            class of approximately $1.7 billion, and assisted in
advocacy for the State’s Referendum lifting the       a securities class action against Royal Dutch/Shell
long-standing prohibitions on pension funds’          which settled for a minimum cash benefit to the
investments in equity instruments.                    class of $130 million and a contingent value of
                                                      more than $180 million. Mr. Millkey also has
She has lectured in law, ethics and                   significant appellate experience with the federal
communications, and is a frequent instructor for      court system and the state courts of New York.
several certificate and training programs and
seminars for pension fund trustees, administrators    Mr. Millkey is a member of the Bars of New York
and other key decision makers of pension and          and Georgia and the United States District Courts
employee benefit plans. She is a member of            for the Southern and Northern Districts of New
several legal and professional organizations in the   York and the Northern District of Georgia.
U.S. and abroad.
                                                      PAMELA M. PARKER received her Bachelor of
                                                      Arts degree in Political Science and French, with
                                                                       Robbins Geller Rudman & Dowd LLP
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a concentration in International Politics, from the    and Tenth Circuits and the appellate courts of
State University of New York at Binghamton, and        California, Alabama, Ohio and Tennessee. She is
was elected to Phi Beta Kappa. Ms. Parker              a Lawyer Representative to the Ninth Circuit
received a Juris Doctor degree from Harvard Law        Judicial Conference.
School, cum laude, in 1982. While at Harvard,
Ms. Parker was an Articles Editor of the Civil         Ms. Parker is admitted to practice in California
Rights/Civil Liberties Law Review.            After    and New York. She has been an active member
graduation, she served as a law clerk to the           of the Federal Bar Association, the San Diego
Honorable Frank J. Battisti, Chief Judge of the        County Bar Association and the Lawyers Club of
United States District Court, Northern District of     San Diego, and also holds memberships with the
Ohio. Upon leaving the clerkship, Ms. Parker           American Bar Association and California Women
worked as an associate with the New York firm of       Lawyers. She sits on the Board of Directors for
Paul Weiss Rifkind Wharton & Garrison. In              the Legal Aid Society of San Diego.
1988, Ms. Parker became associated with the New
York firm of Lankenau Kovner & Bickford,               ROXANA PIERCE is an international transactional
concentrating her practice in representation of        lawyer whose practice focuses on negotiations,
publications, libel defense, and First Amendment       contracts, international trade, real estate
law.                                                   transactions, and project development. She has
                                                       represented clients in over 65 countries with
For 13 years, Ms. Parker’s practice has included       extensive experience in the Middle East, Asia,
appellate matters and environmental, consumer          Russia, the former Soviet Union, the Caribbean
fraud and securities fraud litigation. Ms. Parker      and India. She is presently acting as liaison to
participated in the successful prosecution of          several international funds in the area of securities
several important actions, including: In re The        litigation.
Exxon Valdez, Case No. A89-095 (D. Ala.), in
which she served as a member of the trial support      Ms. Pierce has counseled international clients
team, and which resulted in a $5 billion jury          since 1994. She has spearheaded the contract
verdict; Pinney v. Great Western Bank, Case No.        negotiations for hundreds of projects, including
CV-95-2100-I(RNBx) (C.D. Cal.), in which she           several valued at over $1 billion, and typically
served as one of the principal attorneys for           conducts her negotiations with the leadership of
plaintiffs and which resulted in a settlement of       foreign governments and the leadership of
$17.2 million; and Does I v. The Gap, Inc., Case       Fortune 500 corporations, foreign and domestic.
No. 01 0031 (D. N. Mariana Islands), in which
she was the lead prosecuting attorney and which        Ms. Pierce is a member of the District of
resulted in a $20 million settlement, including a      Columbia Bar and the West Virginia State Bar.
precedent-setting Monitoring Program to monitor        She is admitted to practice before the Supreme
labor and human rights practices in Saipan             Court of Appeals of West Virginia, District of
garment factories. In July 2003, Ms. Parker was        Columbia Court of Appeals, and the United States
named Trial Lawyer of the Year by the Trial            Court of Appeals, Fourth Circuit. Ms. Pierce has
Lawyers for Public Justice in recognition of her       been awarded a Certification of Accomplishment
work on the case in the Northern Mariana Islands.      by the Export-Import Bank of the United States
                                                       for her accomplishments in international finance.
Ms. Parker is a member of the Appellate Practice       In addition, Ms. Pierce is a member of the
Group of Robbins Geller Rudman & Dowd LLP.             American Bar Association, the ABA International
She has worked on a variety of appellate matters       Law Advisory Panel, the American Society of
before numerous courts, including the United           International Law, and the Maryland Association
States Courts of Appeal for the Fifth, Sixth, Ninth,   of Realtors.
                                                                        Robbins Geller Rudman & Dowd LLP
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After receiving honors for her achievements in the     MDL No. 551(D. Ariz.), the largest securities
study of French at the Sorbonne University in          class action ever litigated.
France, Roxana Pierce attended Pepperdine
University, where she earned a Bachelor of Arts        Mr. Simon is an Adjunct Professor of Law at
in International Affairs and Intercultural Relations   Duke University, the University of San Diego,
in 1988. Ms. Pierce next earned a Paralegal            and the University of Southern California Law
Certificate with a focus on corporate law in 1989      Schools.     He has lectured extensively on
from the University of San Diego before obtaining      securities, antitrust and complex litigation in
her Juris Doctorate from Thomas Jefferson School       programs sponsored by the American Bar
of Law in San Diego, where her study of the law        Association Section of Litigation, the Practicing
focused on international practice.                     Law Institute, and ALI-ABA, and at the UCLA
                                                       Law School, the University of San Diego Law
Ms. Pierce is fluent in English and Farsi and has a    School, and the Stanford Business School. He is
working knowledge of French and Turkish. She           an Editor of California Federal Court Practice and
is a volunteer for several local children’s            has authored a law review article on the Private
organizations. She organizes an annual mailing of      Securities Litigation Reform Act of 1995.
supplies to orphanages in several African
countries. She is a parent volunteer at The Woods      Mr. Simon received his Bachelor of Arts degree
Academy. She also serves on various committees         from Union College in 1970 and his Juris Doctor
in the community.                                      degree from Duke University School of Law,
                                                       Order of the Coif and with distinction, in 1973.
LEONARD B. SIMON is admitted to practice in            He served as law clerk to the Honorable Irving
California, New York, and the District of              Hill, United States District Judge for the Central
Columbia.                                              District of California, in 1973-1974.

Mr. Simon's practice has been devoted heavily to       LAURA S. STEIN received her Bachelor of Arts
litigation in the federal courts, including both the   degree in 1992 and her Juris Doctor degree in
prosecution and the defense of major class actions     1995 from the University of Pennsylvania. She is
and other complex litigation in the securities and     a member of the Bar in Pennsylvania, New Jersey
antitrust fields. He has also handled a substantial    and Washington D.C. Since 1995, Ms. Stein has
number of complex appellate matters, arguing           practiced in the areas of securities class action
cases in the United States Supreme Court, several      litigation, complex litigation and legislative law.
federal Courts of Appeal, and several California
appellate courts. He has also represented large,       Ms. Stein is Special Counsel to the Institute for
publicly traded corporations.                          Law and Economic Policy (ILEP), a think tank
                                                       which develops policy positions on selected issues
Mr. Simon served as plaintiffs' co-lead counsel in     involving the administration of justice within the
In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec.        American legal system. Speakers at ILEP’s
Litig., MDL No. 834 (D. Ariz.) (settled for $240       yearly symposiums have included the most
million) and In re NASDAQ Market-Makers                prominent legal scholars, judges, government
Antitrust Litig., MDL No. 1023 (S.D.N.Y.)              officials and noted academics in the United States,
(settled for more than one billion dollars). He is     including United States Senator Jon Kyl, the
currently in a leadership position in the private      Honorable Harvey Goldschmid, Dwight Professor
Microsoft Antitrust Litigation, and in the             of Law at Columbia University School of Law,
California Utilities Antitrust Litigation. He was      former SEC Commissioner, President Joel
centrally involved in the prosecution of In re         Seligman of the University of Rochester, formerly
Washington Pub. Power Supply Sys. Sec. Litig.,         Dean of the Washington University School of
                                                                        Robbins Geller Rudman & Dowd LLP
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Law, Professor James Cox of Duke University         Regional Meeting of the International
School of Law, Professor Lucian Bebchuk of          Brotherhood of Electrical Workers, the Ohio
Harvard Law School, Former SEC Chairman             Building Trades, the New York Pipetrades and the
Arthur Levitt and SEC Commissioner Roel             Pennsylvania Treasurers Association among many
Campos, among many other distinguished              others. Ms. Stein has also addressed the
speakers. Each year ILEP publishes the papers       Pennsylvania, Nevada and Virginia AFL-CIO
presented at its symposia in prominent law          conventions, as well as hundreds of public and
reviews, such as the Columbia Law Review, Duke      Taft-Hartley pension fund trustee boards across
Law Journal, Hastings Law Journal, Vanderbilt       the country.
Law Review, Arizona Law Review and Wisconsin
Law Review. Ms. Stein has served as Counsel to      Ms. Stein resides in Los Angeles, California with
the Annenberg Institute of Public Service at the    her husband, Samuel Goldfeder, an attorney and
University of Pennsylvania.                         NBA sports agent, and their two young children,
                                                    Michael and Sabrina.
In a unique partnership with her mother, attorney
Sandra Stein, of counsel to Robbins Geller          SANDRA STEIN received her Bachelor of Science
Rudman & Dowd LLP, the Steins are the Firm’s        degree from the University of Pennsylvania and
and the nation’s top asset recovery experts. The    her Juris Doctor degree from Temple University
Steins focus on minimizing losses suffered by       School of Law, having attended both universities
shareholders due to corporate fraud and breaches    on full scholarship. She is a member of the Bar in
of fiduciary duty. The Steins also seek to deter    Pennsylvania and Washington, D.C. Ms. Stein
future violations of federal and state securities   concentrates her practice in securities class action
laws by reinforcing the standards of good           litigation, legislative law and antitrust litigation.
corporate governance. The Steins work with over     She served as Counsel to United States Senator
500 institutional investors across the nation and   Arlen Specter of Pennsylvania. During her
abroad, and their clients have served as lead       service in the United States Senate, Ms. Stein was
plaintiff in successful cases where billions of     a member of Senator Specter’s legal staff and a
dollars were recovered for defrauded investors      member of the United States Senate Judiciary
against such companies as: AOL Time Warner,         Committee staff.
TYCO, Cardinal Health, AT&T, Hanover
Compressor, 1st Bancorp, Enron, Dynegy, Inc.,       Ms. Stein is the Founder of the Institute for Law
Honeywell International and Bridgestone, to name    and Economic Policy (ILEP), a think tank which
a few.                                              develops policy positions on selected issues
                                                    involving the administration of justice within the
Ms. Stein has been active in a number of            American legal system. Speakers at ILEP’s
organizations, including the National Association   yearly symposiums have included the most
of Shareholder and Consumer Attorneys               prominent legal scholars, judges, government
(NASCAT), National Association of State             officials and noted academics in the United States,
Treasurers (NAST), the AFL-CIO Lawyers              including United States Senator Jon Kyl, the
Coordinating      Committee,      the   National    Honorable Harvey Goldschmid, Dwight Professor
Coordinating Committee for Multi-Employer           of law at Columbia University School of Law,
Plans (NCCMP) and the International Foundation      former SEC Commissioner, President Joel
for Employer Benefit Plans (IFEBP), among           Seligman of the University of Rochester, formerly
others.                                             Dean of the Washington University School of
                                                    Law, Professor James Cox of Duke University
Ms. Stein has addressed the Florida Public          School of Law, Professor Lucian Bebchuk of
Pension Trustees Association, the Third District    Harvard Law School, Former SEC Chairman
                                                                     Robbins Geller Rudman & Dowd LLP
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Arthur Levitt, and SEC Commissioner Roel             Coordinating  Committee,       the    National
Campos, among many other distinguished               Coordinating Committee for Multi-Employer
speakers. Each year ILEP is invited to publish the   Plans (NCCMP) and the International Foundation
papers presented at its symposia in prominent law    for Employer Benefit Plans (IFEBP), among
reviews, such as Columbia Law Review, Duke           others.
Law Journal, Hastings Law Journal, Vanderbilt
Law Review, Arizona Law Review and Wisconsin         Ms. Stein has addressed the National Association
Law Review.                                          of Auditors, Controllers and Treasurers on the
                                                     subject of corporate governance and its role as a
Ms. Stein served on the Board of Advisors of the     positive force in future class action securities
Annenberg Institute of Public Service at the         settlements.    She has also spoken before
University of Pennsylvania. She has produced         numerous AFL-CIO conventions and hundreds of
numerous public service documentaries for which      public and multi-employer pension funds.
she was nominated for an Emmy and received an
ACE award, cable television’s highest award for      JOHN J. STOIA, JR. received his Bachelor of
excellence in programming. Ms. Stein is a            Science degree from the University of Tulsa in
recipient of the National Federation of Republican   1983. While working on his degree, Mr. Stoia
Women’s "Best of America" award and has been         was elected President of the National Political
honored by the White House, California State         Science Honor Society and graduated with highest
Senate and California State Assembly for her         honors. In 1986, Mr. Stoia received his Juris
civic leadership.                                    Doctor degree from the University of Tulsa and
                                                     graduated in the top of his class. In 1987, Mr.
In a unique partnership with her daughter, Laura     Stoia graduated in the top of his class from the
Stein, also an attorney at Robbins Geller Rudman     Georgetown University Law Center in
& Dowd LLP, the Steins are the Firm’s and the        Washington, D.C., receiving his Masters of Law
nation’s top asset recovery experts. The Steins      in Securities Regulation. Thereafter, Mr. Stoia
focus on minimizing losses suffered by               served as an enforcement attorney with the United
shareholders due to corporate fraud and breaches     States Securities and Exchange Commission prior
of fiduciary duty. The Steins also seek to deter     to going into private practice. Mr. Stoia is one of
future violations of federal and state securities    the founding partners of what is now Robbins
laws by reinforcing the standards of good            Geller Rudman & Dowd LLP.
corporate governance. The Steins work with over
500 institutional investors across the nation and    Mr. Stoia worked on dozens of nationwide
abroad, and their clients have served as lead        complex securities class actions, including In re
plaintiff in successful cases where billions of      Am. Cont’l Corp./Lincoln Sav. & Loan Sec. Litig.,
dollars were recovered for defrauded investors       MDL No. 834 (D. Ariz.), which arose out of the
against such companies as: AOL Time Warner,          collapse of Lincoln Savings & Loan and Charles
TYCO, Cardinal Health, AT&T, Hanover                 Keating’s empire. Mr. Stoia was a member of
Compressor, 1st Bancorp, Enron, Dynegy, Inc.,        plaintiffs’ trial team, which obtained verdicts
Honeywell International and Bridgestone, to name     against Mr. Keating and his co-defendants in
a few.                                               excess of $3 billion and settlements of over $240
                                                     million.
Ms. Stein has been active in a number of
organizations, including the National Association    Mr. Stoia has been responsible for over $10
of Shareholder and Consumer Attorneys                billion in recoveries on behalf of victims of
(NASCAT), National Association of State              insurance fraud due to deceptive sales practices
Treasurers (NAST), the AFL-CIO Lawyers               such as “vanishing premiums,” “churning,” and
                                                                      Robbins Geller Rudman & Dowd LLP
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discrimination in the sale of burial or debit          Department of Insurance against five of the
insurance.                                             largest Employee Benefit Insurance companies
                                                       (MetLife, Prudential, Hartford, Cigna and
Mr. Stoia has been involved in over 40 nationwide      UnumProvident) for violating California
class actions brought by policyholders against         Insurance Regulations for failing to disclose
United States and Canadian life insurance              payments of contingent commissions to brokers in
companies seeking redress for deceptive sales          California and other improper activities. The
practices during the 1980s and 1990s. Mr. Stoia        People of the State of California v. Universal Life
was lead or co-lead counsel and actively involved      Res., Case No. GIC838913 (Cal. Super. Ct., San
in nationwide cases against, among others,             Diego County). All five defendants have agreed
Prudential ($4+ billion), Manufacturer’s Life          to sweeping changes in their disclosure practices
($1.19 billion), New York Life ($600+ million),        within California as a result of that action.
Transamerica Life Insurance Company ($250+
million), General American Life Insurance              Mr. Stoia represented numerous large institutional
Company ($85+ million), Metropolitan Life ($2          investors who suffered hundreds of millions of
billion), American General and subsidiaries            dollars in losses as a result of major financial
($500+ million), Allianz ($55+ million), Principal     scandals, including AOL/Time Warner and
Mutual Life ($380+ million) and Pacific Life           WorldCom.
Insurance Company ($200+ million).
                                                       Currently, Mr. Stoia is court-appointed co-lead
Mr. Stoia was also involved in numerous cases          counsel in eight nationwide class actions against
brought against life insurance companies for           sellers of deferred annuities to senior citizens.
racial discrimination involving the sale of debit or
“industrial life” insurance policies during the 20th   Mr. Stoia is also co-lead counsel on behalf of
century. Mr. Stoia was lead counsel in McNeil v.       purchasers of and those exposed to hazardous toys
Am. Gen. Life Ins. Accident Ins. Co., the first        (lead paint and magnets) manufactured and/or
major settlement involving discrimination claims       distributed by Mattel, Fisher Price and retailers
which resulted in a $234 million recovery for          such as Target, Wal-Mart and Toys R Us. That
class members. Mr. Stoia resolved other race-          case ultimately settled for in excess of $50 million
based insurance cases, including Brown v. United       and provided full relief to class members,
Life Ins. Co. ($40 million), Morris v. Life Ins. Co.   donations to children’s charities and injunctive
of Ga. ($55 million), and Thompson v.                  relief against Mattel that provides sweeping
Metropolitan Life ($145 million).                      changes to Mattel’s toy manufacturing processes
                                                       worldwide.
Mr. Stoia initiated the first cases against the
property and casualty insurance brokerage              Mr. Stoia was selected as Litigator of the Month
industry and insurers exposing undisclosed             by The National Law Journal (July 2000). He is
kickbacks known as “contingent commissions”            also a member of ALI-ABA’s Commercial Law
and illegal bid-rigging activities. He is one of the   Advisory Panel and the Public Justice Class
lead plaintiffs’ counsel in the consolidated MDL       Action Preservation Project Committee. Mr. Stoia
proceedings pending in the United States District      was also selected as a Super Lawyer in Southern
Court for the District of New Jersey (In re            California Super Lawyers 2007 and 2008. He
Employee-Benefit Ins. Brokerage Antitrust Litig.,      was also voted a California Super Lawyer for
Case No. 2:05-cv-1079(FSH), and In re Ins.             2007-2010.
Brokerage Antitrust Litig., Case No. 2:04-cv-
5184(FSH), MDL No. 1663). He was also the              Mr. Stoia is also a frequent lecturer on numerous
lead trial counsel representing the California         legal topics:
                                                                        Robbins Geller Rudman & Dowd LLP
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Speaker, New York City: ABA Meeting: Deferred       Speaker, ATLA Winter Convention – Securities
Annuity Sales Practices (August 8, 2008);           Fraud: Rights and Remedies of Shareholders
                                                    (2006);
Speaker, San Francisco: Consumer Attorneys of
California    College     of     Trial     Arts     Co-Chair and Speaker, ALI-ABA Program 11th
San Francisco Trial Lawyers Association – Class     Annual: Financial Services and Insurance Industry
Action Hurdles From the Plaintiff’s Perspective     Litigation (2006);
(March 5, 2008);
                                                    Speaker, Quebec, Canada: Barreau du Quebec
Speaker, New York City: PLI Annual Conference       Class Action Seminar – Class Action Fairness Act
on Class Action Litigation (July 12, 2007);         (October 21, 2005);

Speaker,    Bermuda:    2007     International      Speaker, New York City: ACI Consumer Finance
Reinsurance Summit (June 6-8, 2007);                Class Actions Conference (September 26, 2005);

Speaker, Chicago: Insurance Industry and            Speaker, Toronto, Canada: ATLA Annual
Financial Services Litigation (May 10-11, 2007);    Convention – Insurance Law Section,
                                                    Broker/Dealer Liability (July 24, 2005);
Speaker, San Diego, CA: Association of Life
Insurance Counsel (May 7, 2007);                    Speaker, New York City: ALI-ABA Program:
                                                    Financial Services and Insurance Industry
Co-Chair and Speaker, 12th Annual ALI-ABA           Litigation (March 18, 2005); and
Conference on Life Insurance and Financial
Services Industry Litigation (2007);                Speaker, ALI-ABA, Practicing Law Institute and
                                                    American Trial Lawyers Association seminars
Speaker, Washington, DC: The Federalist             and conferences: ALI-ABA Program: Life and
Society’s Corporations, Securities & Antitrust      Health Insurance Litigation (2004).
Practice Group – Class Action Fairness Act: Two
Years Later (February 14, 2007);                                 SPECIAL COUNSEL
Speaker, Conference on Insurance Industry           BRUCE GAMBLE is a member of the Firm’s
Litigation 2007 (ALI-ABA);                          institutional investor client services group. Mr.
                                                    Gamble serves as liaison with the Firm’s
Speaker, New York City: PLI Class Action            institutional investor clients in the United States
Litigation Prosecution and Defense Strategies       and abroad, advising them on securities litigation
(July 27-28, 2006);                                 matters. Mr. Gamble formerly served as Of
                                                    Counsel to the Firm, providing a broad array of
Speaker, Kona, Hawaii: IBA West Blue Ribbon         highly specialized legal and consulting services to
Conference on Contingent Commissions (May 1,        public retirement plans. Prior to that, Mr. Gamble
2006);                                              was General Counsel and Chief Compliance
                                                    Officer for the District of Columbia Retirement
Co-Chair and Speaker, Washington, DC: Co-
                                                    Board, where he served as chief legal advisor to
Chair; ALI-ABA Conference on Life Insurance
                                                    the Board of Trustees and staff. Mr. Gamble’s
and Financial Services Industry Litigation (March
                                                    experience also includes serving as Chief
30-31, 2006);
                                                    Executive Officer of two national trade
Speaker, ATLA Annual Convention – Insurance         associations and several senior level staff
Law Section, Broker/Dealer Liability (2006);        positions on Capitol Hill.
                                                                     Robbins Geller Rudman & Dowd LLP
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Mr. Gamble earned his Bachelor of Science in            years, including: (1) public accounting where he
Economics from the University of Louisville and         was responsible for providing clients with a wide
his Juris Doctor degree from Georgetown                 range of accounting and auditing services; (2)
University Law Center. Mr. Gamble formerly              private accounting with Drexel Burnham
served as a member of the Executive Board and           Lambert, Inc., where he held positions with
co-chair of the investment section of the National      accounting and financial reporting responsibilities
Association of Public Pension Attorneys                 as a Vice President; and (3) various positions with
(NAPPA), a professional and educational                 the United States Securities and Exchange
organization whose membership consists                  Commission (“SEC”). Mr. Aronica has extensive
exclusively of attorneys who represent public           experience in securities regulation and litigation.
pension funds.                                          At the SEC, Mr. Aronica reviewed and analyzed
                                                        financial statements and related financial
Mr. Gamble is admitted to practice in the District      disclosures contained in public filings for
of Columbia, New York, Pennsylvania, and                compliance with generally accepted accounting
before the United States Supreme Court.                 principles, generally accepted auditing standards,
                                                        and the accounting and auditing rules, regulations
TRICIA L. MCCORMICK earned her Bachelor of              and policies of the SEC. Mr. Aronica was also an
Arts degree from the University of Michigan in          Enforcement Division Branch Chief, responsible
1995 and her Juris Doctor degree, cum laude,            for managing a group of investigators and
from the University of San Diego in 1998.               accountants who initiated, developed and
                                                        executed numerous investigations involving
Ms. McCormick's practice focuses primarily on           financial fraud, accounting improprieties and
the prosecution of securities class actions. She is a   audit failures. Mr. Aronica has been instrumental
member of the California Bar (1998), and is             in the prosecution of numerous financial and
admitted to practice before the United States           accounting fraud civil litigation claims against
District Courts for the Southern and Central            companies which include Lucent Technologies,
Districts of California.                                Oxford Health Plans, Computer Associates,
                                                        Aetna, WorldCom, Tyco, Vivendi, AOL Time
Ms. McCormick has litigated numerous cases
                                                        Warner, Ikon, Thomas & Betts, InaCom and
against public companies in the state and federal
                                                        Royal Ahold. In addition, Mr. Aronica helped
courts which resulted in hundreds of millions of
                                                        prosecute numerous claims against each of the
dollars in recoveries to investors. She is also a
                                                        major United States public accounting firms.
member of a team that is in constant contact with
clients who wish to become actively involved in         ANDREW J. RUDOLPH is a Certified Fraud
the litigation of securities fraud. In addition, Ms.    Examiner and a Certified Public Accountant
McCormick is active in all phases of the firm’s         licensed to practice in California. He is an active
lead plaintiff motion practice.                         member of the American Institute of Certified
                                                        Public Accountants, California’s Society of
         FORENSIC ACCOUNTANTS                           Certified Public Accountants, and the Association
                                                        of Certified Fraud Examiners. His 20 years of
R. STEVEN ARONICA is a Certified Public
                                                        public accounting, consulting and forensic
Accountant licensed in the States of New York
                                                        accounting experience includes financial fraud
and Georgia and is a member of the American
                                                        investigation, auditor malpractice, auditing of
Institute of Certified Public Accountants, the
                                                        public and private companies, business litigation
Institute of Internal Auditors and the Association
                                                        consulting, due diligence investigations and
of Certified Fraud Examiners. He has been
                                                        taxation. Mr. Rudolph is the National Director of
employed in the practice of accounting for 25
                                                                         Robbins Geller Rudman & Dowd LLP
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Robbins Geller Rudman & Dowd LLP’s Forensic
Accounting Department, which provides the Firm
with in-house forensic accounting expertise in
connection with securities fraud litigation against
national and foreign companies. Mr. Rudolph is
the Director of Forensic Accounting at the Firm
and has given numerous lectures and assisted with
articles on forensic investigations and financial
statement fraud. Mr. Rudolph has directed
hundreds of financial statement fraud
investigations which were instrumental in the
recovered billions of dollars for defrauded
investors. Prominent cases include Qwest,
HealthSouth, WorldCom, Boeing, Honeywell,
Vivendi, Aurora Foods, Informix and Platinum
Software.

CHRISTOPHER YURCEK is one of the Firm’s
senior forensic accountants and provides in-house
forensic accounting and litigation expertise in
connection with major securities fraud litigation.
Mr. Yurcek is a Certified Public Accountant with
19 years of accounting, forensic examination and
consulting experience in areas including financial
statement audit, fraud investigation, auditor
malpractice, turn-around consulting, business
litigation, and business valuation. Mr. Yurcek
was responsible for overseeing the firm’s forensic
accounting investigation in In re Enron Corp. Sec.
Litig. Mr. Yurcek provides the firm with in-house
forensic accounting expertise and directs
accounting investigations in connection with well-
publicized securities fraud litigation, including
cases such as Enron, Vesta, Informix, Mattel,
Coca Cola Company and Media Vision. Mr.
Yurcek’s experience included providing forensic
accounting expertise to bankruptcy trustees and
audit and accounting services at a national CPA
firm.     Mr. Yurcek speaks at professional
accounting seminars on topics such as financial
statement fraud and fraud prevention and has co-
authored articles on these subjects. Mr. Yurcek is
a member of the American Institute of Certified
Public Accountants and the California Society of
CPAs.


                                                        Robbins Geller Rudman & Dowd LLP
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      EXHIBIT B
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                                  Diversified Ambulance
                            Robbins Geller Rudman & Dowd LLP
                                   LODESTAR REPORT
                               lnception - January 18,2011
                                        HOURLI
NAME ANDSTATUS                               RATE   HOURS      LODESTAF

Davidson, Stuart (Partner)               $605.0c      EU.UT    $48,400.00
Geller. Paul lPartner)                   $735.0C       75(      $5,512.50
Varti ns. Ch ristooher lAssociate)       $285.0C       7.71     92.208.75
O'Brien, Cullin (Associate)              $495.0C      36.0C    $17,820.00
Puerto. Patricia (Paraleoal)             $295.0C       8.2Í     92.433.75
Reoan. Allison (Paraleqal)               $280.0c       3.5C       $980.00
Ellman, Steven (lnvestiqator)            $3Uþ.0t       8.0c     $3,080.00

                                     TOTAL           151.00    $80,435.00
Case 8:09-cv-02058-JDW-TGW Document 45-1 Filed 02/02/11 Page 99 of 100 PageID 678




     EXHIBIT C
Case 8:09-cv-02058-JDW-TGW Document 45-1 Filed 02/02/11 Page 100 of 100 PageID 679




                                           Diversified Ambulance
                                     Robbins Geller Rudman & Dowd LLP
                                               EXPENSE REPORT
                                           lnception - January 18,2011

                                                                     Total Expenses To
                                       Expenses                            Date

        Photocopying                                                              $540.25
        Postage                                                                     $3.93
        Telephone                                                                   $1.51

        M   esse   nq   er/Co   u   rie r/Ove rn iq ht                             $10.56
        Filinq Fees                                                               $350.00
        Attornev Service Fee                                                      $270.00
        Leoal Research                                                            $392.21

        Mea ls/Travel/Tra ns po rtatio n                                          8512.48
        TOTAL                                                                 $2,080.94
